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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                               Criminal Action
               Plaintiff,                      No. 1:23-cr-00138-RBW-1

      vs.                                      May 8, 2024
                                               9:00 a.m.
 RICHARD COOK,

             Defendant.                  Washington D.C.
 _______________________________________________________________


                     TRANSCRIPT OF THE JURY TRIAL
                BEFORE THE HONORABLE REGGIE B. WALTON
                     UNITED STATES DISTRICT JUDGE



 APPEARANCES:

 For the Government:

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 For the Defendant:

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            Washington, DC 20002
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1     (APPEARANCES CONTINUED:)

2

3     Court Reporter:

4               Stacy Johns, RPR, RCR
                Official Court Reporter
5
                Proceedings recorded by mechanical stenography,
6               transcript produced by computer-aided transcription

7

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1                             P R O C E E D I N G S

2

3               COURTROOM DEPUTY:     This is criminal matter 23-131-1,

4     United States of America versus Richard Cook.

5               May I have counsel identify yourselves for the record,

6     beginning with the government.

7               MS. AKERS:    Good morning, Your Honor.      Ashley Akers

8     and Sean Brennan for the United States.        Special Agent

9     Christopher Anderson and Rachel Marcelin are also at counsel

10    table.

11              THE COURT:    Good morning.

12              MS. WEST:    Good morning, Your Honor.      Kira Anne West

13    for Mr. Richard Cook, who's present, being assisted by

14    Ms. Nicole Cubbage.

15              THE COURT:    Good morning.    I did receive from the

16    government the documents that were at issue regarding

17    January 6, 2021, a copy of the redacted version and the

18    unredacted version and, as the government represented other

19    than contact information, nothing of substance and therefore, I

20    agree with the government that the redactions are appropriate,

21    but I'll make these a part of the record and they'll be sealed.

22              The courtroom deputy said one of the jurors approached

23    her this morning, and she is a journalist.         I don't know for

24    which publication or what service she works for.          But she said

25    her job wants her to attend a Trump rally -- when did she say?
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1                COURTROOM DEPUTY:    This weekend.

2                THE COURT:   This weekend.     We may be finished by then.

3     I don't know if that's going to be the case or not.          But what

4     is your position if we're not finished as to whether she should

5     be permitted to attend that?

6                MS. AKERS:   I think it's likely that we'll be

7     finished, Your Honor.     If we're not finished, my initial

8     inclination, although it might be helpful to think on this for

9     a few, is probably that she shouldn't attend that, since it's

10    in some way relevant to the case, not really the government's

11    case but more so Mr. Cook's defense, as I understand it will

12    be.   That's sort of speculation because we haven't gotten to

13    that point in the trial yet, though.

14               THE COURT:   We'll readdress it before this weekend.

15               MS. WEST:    I'm sorry, sir.    I didn't hear you.

16               THE COURT:   I said we'll readdress it before this

17    weekend.

18               MS. WEST:    I wanted the Court to know I agree with the

19    government.    We worked all night last night, Ms. Akers and I,

20    and I think we whittled this down to we're going to finish with

21    all our witnesses today.

22               I had one issue.    I didn't know if the deputy told

23    you, Your Honor.     With regard to your comment about the

24    gentleman at the end of the row.

25               I just want to say when I was doing cross-examination
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1     of Mr. Loyd, Assistant Deputy Loyd, that I heard snoring -- I

2     didn't hear snoring.     I heard heavy breathing.      I have asthma

3     and so it concerned me, and I turned around and he was asleep.

4               I didn't say anything to the Court, but we believe

5     that he should be excused.      We looked at our juror notes.           He

6     said that he works all night at Pepsi.        He's on the night

7     shift.   We're moving now to excuse him from the panel.             I

8     discussed it with Ms. Akers, who said she defers to the Court.

9               THE COURT:    You said you want him excused now or at

10    the end of the trial?     I didn't see him disrupting proceedings

11    or -- I'll just assume or give the impression that he was one

12    of the alternates and release him at the end of trial.

13              MS. WEST:    Yes, sir.

14              THE COURT:    Okay.   Let's bring the jury in.

15        (Jury enters the courtroom at 9:12 AM)

16              THE COURT:    Good morning.    You may be seated.         I

17    apologize for the fact that somebody wasn't there to let you

18    back into the court.     But unfortunately, Congress cut the

19    marshal service budget significantly, and as a result of that

20    they don't have all the personnel that they need and that's why

21    we didn't have anybody at the door.        We'll try and make sure

22    that doesn't occur during the rest of your stay.

23              MS. WEST:    May I proceed, Your Honor?

24              THE COURT:    Yes.

25                              CROSS-EXAMINATION
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      Bogner - CROSS


1     BY MS. WEST:

2     Q.   Good morning.

3     A.   Good morning.

4     Q.   Is it Sergeant Bogner?

5     A.   It is.

6     Q.   Okay.    I have one question for you.     You testified, sir,

7     you remember that you were in the tunnel area?

8     A.   Yes.

9     Q.   Wouldn't you agree with me that it was very difficult to

10    move?

11    A.   It was definitely very difficult to move and there were

12    ebbs and flows in that.      It wasn't constant.     But there were

13    periods where it was difficult to move, yes.

14    Q.   And if you could move, you couldn't move very much, if at

15    all; isn't that true?

16    A.   You're referring to me, myself?

17    Q.   Anybody in the tunnel.

18    A.   I think there are varying degrees, depending on who you

19    were and where you were.      For myself, there were periods of

20    time where that's true.

21                MS. WEST:    Nothing further.   Pass the witness.

22                Thank you, Sergeant Bogner.

23                THE COURT:   Redirect.

24                MR. BRENNAN:   No, Your Honor.

25                THE COURT:   Let me just ask:    Sergeant, do you recall
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      Bogner - CROSS


1     the tunnel and what the dimensions were?        I mean, how far would

2     it be from the entrance of the tunnel to the first door, if you

3     recall?

4                THE WITNESS:   I wouldn't be able to give you an exact,

5     like, foot measurement.

6                THE COURT:   Could you point to a location in the

7     courtroom?

8                THE WITNESS:   There's those two sets of doors.

9     There's the inner set of brass doors, the outer set of brass

10    doors and then that wooden archway.        If we look at those three

11    landmarks.    If I'm standing at the inner set of doors, it

12    wouldn't be more than the distance to the door that's over

13    there on the side.      It was less than the distance to the wall.

14               THE COURT:   What about the entrance to the tunnel to

15    the first outer door?

16               THE WITNESS:   I would say maybe to your computer

17    monitor.

18               THE COURT:   Right here?

19               THE WITNESS:   That would be about the distance between

20    the two sets of doors, would be my guess, approximately.

21               MS. WEST:    Your Honor, for the record, could we ask

22    him to estimate that in feet?

23               THE COURT:   Could you estimate -- I don't know if

24    you're good at that.

25               THE WITNESS:   I'm not good at that.      It would be
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      Hawa - DIRECT


1     difficult for me to give a number.

2                 THE COURT:   I would estimate we're talking about

3     probably eight to nine feet to the monitor.         And probably to

4     the door, I don't know, 40 feet maybe.

5                 Okay.    Thank you.

6                 I'm sorry, any questions from the jury?       Yes.

7                 You have to write it.

8                 JUROR:   No questions.

9                 THE COURT:   Thank you, sir.

10                Next witness.

11                MS. AKERS:   United States calls United States Secret

12    Service inspector Lanelle Hawa.

13                              LANELLE HAWA, Sworn

14                                DIRECT EXAMINATION

15    BY MS. AKERS:

16    Q.   Good morning, Inspector Hawa.

17    A.   Good morning.

18    Q.   Can you please state and spell your name and introduce

19    yourself to the jury.

20    A.   Yes.   Lanelle Hawa.     It's L-A-N-E-L-L-E.    Last name is

21    Hawa, H-A-W-A.

22    Q.   And Lanelle Hawa, where do you work?

23    A.   United States Secret Service.

24    Q.   What's your title?

25    A.   Inspector.
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      Hawa - DIRECT


1     Q.   Inspector Hawa, how long have you worked for the Secret

2     Service?

3     A.   Approximately 26 years.

4     Q.   What part of the Secret Service do you currently work for?

5     A.   I'm in the inspection division.

6     Q.   What part of the Secret Service were you assigned on

7     January 6, 2021?

8     A.   I was assigned to the liaison division.

9     Q.   Can you tell the jury what your responsibilities were in

10    the liaison division?

11    A.   Sure.   The liaison division, there's a handful of agents

12    who are assigned to work at various agencies and departments in

13    the national Capitol region.       In this instance, I was assigned

14    to the U.S. Capitol.

15         And our purpose is to be at these facilities to facilitate

16    visits of our protectees, the people we protect, to these

17    agencies or departments and then help with the access control,

18    getting them onto the properties and then helping them move

19    about the properties for their meetings or whatever business

20    they're conducting there.

21    Q.   Where are there any protectees who you were responsible for

22    on January 6, 2021?

23    A.   Yes.

24    Q.   And who were those people?

25    A.   I was responsible for the visit of Vice President Michael
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      Hawa - DIRECT


1     Pence, the Second Lady and their daughter Charlotte to the U.S.

2     Capitol on January 6th.

3     Q.   What does the liaison department do to prepare for a visit

4     to the United States Capitol of the Vice President and his wife

5     and daughter?

6     A.   There's obviously some advance meetings, meetings that are

7     held prior to the visit, going over security plans, providing

8     information to our counterparts, the U.S. Capitol Police, as

9     well as the Senate and House Sergeant at Arms offices,

10    depending on where their protectees are going to be visiting at

11    the Capitol.    Again, including staff members, other Secret

12    Service agents.     Just being prepared with where they'll be

13    going that day, access control and the security obviously.

14    Q.   Are you familiar with a document that's called the United

15    States Secret Service Head of State Notification Worksheet?

16    A.   Yes.

17    Q.   What is that?

18    A.   That's a sheet that we use in the Secret Service,

19    specifically for those of us assigned to the Capitol.           We use

20    that sheet, again, to provide information to our counterparts

21    at the U.S. Capitol Police and the House and Senate Sergeant at

22    Arms offices, anyone who's involved in the visits or the need

23    to know.    And again, providing more specific detail with regard

24    to the visit of our protectees.

25                MS. AKERS:   We're going to pull up Government
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      Hawa - DIRECT


1     Exhibit 201 for the witness, please.

2     BY MS. AKERS:

3     Q.   Are you familiar with this document, Inspector Hawa?

4     A.   Yes.

5                 MS. AKERS:   The government moves the admission of 201.

6                 MS. WEST:    No objection, Your Honor.

7                 THE COURT:   Admitted.

8          (Government's Exhibit 201 received in evidence.)

9                 MS. AKERS:   Going to publish to the jury.

10    BY MS. AKERS:

11    Q.   Now, that the jury can see this, can you explain what we're

12    looking at here, Inspector?

13    A.   Sure.   This is the head of state worksheet that I mentioned

14    we utilize, a Secret Service document.         We usually use this

15    sheet for visits to the Capitol of the President or the Vice

16    President or a visiting head of state.

17         And then, again, it just provides additional or more

18    specific information with regards to points of contact, times,

19    locations, itinerary, and then just some contact numbers for

20    those of us who will be involved in the visit.

21    Q.   What was the date of the visit from this head of state

22    worksheet, Exhibit 201?

23    A.   January 6, 2021.

24    Q.   And who were the visitors' names on here?

25    A.   Vice President Michael Pence, Mrs. Pence and their daughter
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      Hawa - DIRECT


1     Charlotte Pence.

2     Q.   And just to confirm, were those three people protectees

3     that the United States Secret Service by law is required to

4     protect?

5     A.   Yes.

6     Q.   On the bottom this page, 201, do you see where it says

7     itinerary?

8     A.   Yes.

9     Q.   Can you explain to the jury what that refers to?

10    A.   Yes.   So that's, again, it's an itinerary.        It can be --

11    sometimes it's a firm itinerary.        Sometimes there's TBDs, which

12    you see on this, to be determined times or movements or

13    locations.

14         In this instance, this itinerary was basically geared

15    towards an arrival and then some movement by the Vice

16    President, the Second Lady and their daughter Charlotte.             Just,

17    again, outlines their movements that day, what was anticipated

18    between the Senate and the House.

19         And again, the Vice President was coming to the Capitol for

20    the -- to participate in the certification of the Electoral

21    College votes.     So that information is also on here.

22    Q.   Is it fair to say the Secret Service had a plan for how the

23    day would proceed as it relates to the protection of the Vice

24    President?

25    A.   Yes.
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      Hawa - DIRECT


1                 MS. AKERS:   We're going to pull up now Government

2     Exhibit 202, for the witness.

3     BY MS. AKERS:

4     Q.   On the right-hand side of the screen, do you see what's

5     been marked in the bottom right corner as Government

6     Exhibit 202?

7     A.   I do.

8                 MS. WEST:    No objection.

9                 THE COURT:   I'll admit it.

10         (Government's Exhibit 202 received in evidence.)

11                MS. AKERS:   We'll publish that to the jury.

12    BY MS. AKERS:

13    Q.   Now that the jury can see what we're looking at on the

14    right-hand side of the screen, can you explain to the jury what

15    that document is?

16    A.   Yes.    That's an email that I drafted the day prior on

17    January 5th, 2021.       Attached to this email is the worksheet

18    that we just discussed.      Again, this email serves as a

19    notification of the visit that was coming up for the Vice

20    President, Mrs. Pence and their daughter Charlotte.

21         And this is sent to members of the Capitol Police, Senate

22    and House Sergeant at Arms offices and members of the Secret

23    Service.

24    Q.   Why does the Secret Service coordinate with the United

25    States Capitol Police when a protectee is visiting the Capitol?
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      Hawa - DIRECT


1     A.   We have to coordinate with them because the Capitol Police

2     mans the posts around the Capitol.        So they have to be aware of

3     our arrival points, our departure points, what to expect and

4     anticipate as far as our motorcade movements on or across the

5     Plaza.

6          They also provide counterparts to work with us when we have

7     protectees visiting the Capitol.        So it gives the officers who

8     are assigned to assist us an idea, again, of the itinerary and

9     then just more specific details about the visit.

10    Q.   Based on your understanding, was one of the reasons there

11    was a restricted perimeter around the Capitol because of the

12    Vice President's visit on January 6, 2021 to the United States

13    Capitol?

14    A.   It was one of the reasons, yes.

15                MS. AKERS:   We can take those down, please,

16    Ms. Marcelin.

17    BY MS. AKERS:

18    Q.   Inspector Hawa, does the United States Secret Service

19    prepare any plans in case of an emergency when the Vice

20    President visits anywhere, the United States Capitol, for

21    instance?

22    A.   Yes.   Any time we have a protectee visiting a site, any

23    site, we will always have what we call an emergency action plan

24    in place.    That plan is basically an alternate plan.         So if

25    there's a need to deviate from our original plan or itinerary,
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      Hawa - DIRECT


1     then we have an emergency backup plan, if you will, a secondary

2     plan.

3          It can be for any emergency, whether it's a medical

4     emergency, a terrorist threat.       It can be a national disaster

5     or something like what happened on January 6, 2021.

6     Q.   Would you say that if the Secret Service implements the

7     emergency action plan, that would be a deviation from the

8     original plan?

9     A.   Yes, that's correct.

10    Q.   And on January 6, 2021, did you personally meet Vice

11    President Pence at the Capitol?

12    A.   I did.

13    Q.   Do you remember approximately what time?

14    A.   It was about 12:30 p.m.

15    Q.   And if we could -- if you could tell the jury where,

16    approximately, Vice President Pence went upon his arrival to

17    the Capitol?

18    A.   Sure.    So motorcade arrived on the Senate side of the

19    Capitol, which is the north side, northeast side.          And from

20    there we moved to the Vice President's ceremonial office, which

21    is on the second floor of the main Capitol building.

22         He was in there for a few minutes and then walked over to

23    the Senate Chamber, which is where he met with the other

24    senators prior to moving over to the other side, to the House

25    Chamber, for the start of the certification of the Electoral
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      Hawa - DIRECT


1     College votes.

2     Q.   Was that process that you just described as planned

3     originally?

4     A.   Yes.

5     Q.   Did there come a point in the day when the original plans

6     for the movement of the Vice President were abrupted?

7     A.   Yes.

8     Q.   Can you explain to the jury what happened?

9     A.   Sure.   So we moved -- the Vice President and senators as a

10    group moved over to the House chamber just before 1:00 p.m.

11    The certification of the Electoral College votes commenced

12    right about 1:00 p.m.      And then there was an objection to one

13    of the state's votes.      I believe it was Arizona.

14         And when that happened, the House and the Senate separate.

15    They go into their separate chambers.        And we were moving --

16    probably about 1:15 p.m. we were moving back across to the

17    Senate Chamber, the Vice President and the senators.

18         And as we were heading over that way, I could hear a

19    scuffle or some ruckus on my Capitol police officer's radio

20    frequency.    They wear their radios on their uniforms.         And I

21    inquired what was the scuffle, what was I hearing, and he began

22    to provide me some information, letting me know that there had

23    been a security breach on the west side of the Capitol.

24         Some of these unauthorized individuals, protesters, had

25    breached our security perimeter on the west side and made their
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      Hawa - DIRECT


1     way across the west lawn to the inauguration platform that was

2     being built for the upcoming inauguration.

3          And there was a scuffle between these unauthorized

4     individuals and Capitol Police.       There were calls for backup,

5     for assistance.     They were being overrun.      It was a sheer

6     numbers game at that point.       And then these unauthorized

7     individuals were attempting to gain access into the Capitol,

8     breaking glass, trying to get the doors open.

9          So at that point we began to assess the situation and we

10    moved over to -- continued to move over to the Senate side, to

11    the Senate Chamber, and eventually the Vice President ended up

12    in his ceremonial office on the Senate side.

13    Q.   Did the breach of the restricted perimeter that you just

14    described impact the Secret Service's function of protecting

15    the Vice President of the United States?

16               MS. WEST:    Objection.   Legal conclusion.

17               THE COURT:    I don't see that as a legal conclusion.

18    Factual determination.      Overruled.

19               THE WITNESS:    Yes.   It definitely impacted our

20    concerns for the Vice President, the Second Lady and their

21    daughter Charlotte.      Again, this is where we started to

22    initiate or bring into action our emergency action plan, based

23    on, again, the situation that was at hand.         And as the breaches

24    continued to occur within the main Capitol building, decisions

25    started to be made.
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      Hawa - DIRECT


1     BY MS. AKERS:

2     Q.   You mentioned that the Vice President was moved to his

3     ceremonial office, correct?

4     A.   Yes.

5     Q.   Then was there a point when the Vice President was moved to

6     an undisclosed secure location?

7     A.   Yes.

8                 MS. AKERS:   Can we please pull up Government

9     Exhibit 204.

10                MS. WEST:    Objection, Your Honor.    Can we pick up the

11    phone.

12         (The following was held sidebar, outside the hearing of the

13    jury:)

14                MS. WEST:    So I noted my objection much earlier to

15    this exhibit.     This shows Vice President Pence being taken out

16    of the building.     First of all, my client wasn't even on the

17    grounds at this time, anywhere close to the tunnel, which is

18    where the government says all the activity took place.           The

19    timestamp is 2:25.       And he never went inside the building.

20    This is just to inflame the emotions of the jury with showing

21    Vice President Pence being taken out of the building.

22                THE COURT:   Government.

23                MS. AKERS:   My initial reaction is I believe this is

24    already in evidence.      Sean moved this into evidence with

25    Mr. Loyd and I have marked as it's admitted.          And the second
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      Hawa - DIRECT


1     point is --

2                 THE COURT:   Let me just ask the -- is this -- yes, I'm

3     being told by the courtroom clerk it is in evidence.

4                 MS. WEST:    Exhibit 204?

5                 THE COURT:   Yes.

6                 MS. WEST:    I don't have that on my sheet.      Okay, Your

7     Honor.

8                 THE COURT:   Very well.

9          (Sidebar concluded.     The following was held in open court:)

10    BY MS. AKERS:

11    Q.   All right, Inspector Hawa.       We're looking at Government

12    Exhibit 204, which is already in evidence.         Do you recognize

13    this video?

14    A.   I do.

15    Q.   How do you recognize it?

16    A.   In the video, I've seen it before and I was there.

17    Q.   Are you able to recognize anyone at zero seconds into the

18    video?

19    A.   Yes.

20    Q.   Who can you recognize?

21    A.   Myself, I'm at the base of the stairs near the portrait,

22    and the individual at the top of the stairs is one of the

23    agents assigned to the Vice President's detail.

24    Q.   What location does this video depict?

25    A.   So this is the lobby area that's outside -- it's just
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      Hawa - DIRECT


1     outside of the Vice President's ceremonial office and the

2     Senate Chamber.     If you were to go into the doors you see on

3     the right of the screen, to the right would be -- is the Vice

4     President's ceremonial office and to the left is the back side

5     of the Senate Chamber.

6     Q.   And what time is this video?

7     A.   2:25:47 p.m.

8                 MS. AKERS:   Can we please play until 14 seconds.

9          (Video played.)

10    BY MS. AKERS:

11    Q.   Stopping at 14 seconds.      Are you able to identify the

12    person with the gray hair and black mask who I just put a

13    circle around in the middle of the screen?

14    A.   Yes.

15    Q.   Who is that?

16    A.   That's Vice President Pence.

17    Q.   Can you explain to the jury what just happened in the last

18    14 seconds?

19    A.   Yes.   So we made a determination that for the safety of the

20    Vice President, Second Lady and their daughter, that we made a

21    decision to move them to a more secure location.          At this point

22    in the day there had been several breaches, not just on the

23    exterior perimeter, but also on the main Capitol building.

24         The protesters had gotten into the Capitol on the House

25    side.   They were in the Capitol on the Senate side.          There were
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      Hawa - CROSS


1     some who had gotten in not far from this location where we are

2     in this video, and it was determined that we needed to move the

3     Vice President and his family to a more secure location, for

4     fear of being trapped in that area by the Senate Chamber.

5     Q.   Just to be clear, was this movement that you just described

6     here part of the original plan for the Vice President's

7     protection on that day?

8     A.   It wasn't part of the original itinerary.         It was our

9     emergency action plan in the event of an emergency.

10               MS. AKERS:    Thank you, Inspector Hawa.      No further

11    questions.

12               THE COURT:    Cross-examination?

13               MS. WEST:    Yes, Your Honor.

14                               CROSS-EXAMINATION

15    BY MS. WEST:

16    Q.   Good morning, Inspector Hawa.

17    A.   Good morning.

18    Q.   Good to see you.

19    A.   Good to see you.

20    Q.   Just a few questions.      The first exhibit the government

21    showed you, Government Exhibit Number 201, had some times that

22    were called TBD, to be determined, right?

23    A.   That's correct.

24    Q.   Because when you're protecting somebody like the Vice

25    President or the President or some foreign dignitary, those
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      Hawa - CROSS


1     times it's a constant flow; is that right?

2     A.   It could be.    It depends on the event that they're

3     attending.

4     Q.   Secret Service agents have ear pieces that allow you to

5     communicate, like a radio that police officers use?

6     A.   Yes.    We have radios that we monitor.

7     Q.   Right.   Were you monitoring radios that day?

8     A.   Yes, I was.

9     Q.   Okay.    So it's normal to have a plan like this.        This plan

10    wasn't just for January 6th.       You'd have this plan for the Vice

11    President no matter where he goes?

12    A.   What plan?

13    Q.   Any kind of plan like the one in Exhibit 201.

14    A.   Yes.    We always have a plan in place and itineraries.

15    Q.   Government Exhibit 201, it talked about the motorcade.          Do

16    you remember that question?

17    A.   I don't believe I was asked about a motorcade.

18    Q.   I'm sorry, about the exhibit that talks about the

19    motorcade?

20    A.   Yes.

21    Q.   So you had a motorcade of several cars that day on the

22    Capitol grounds; is that correct?

23    A.   That is correct.

24    Q.   Please tell the jury why the motorcade is there.

25    A.   It's the -- those are the vehicles that brought the Vice
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 23 of 284        23

      Hawa - CROSS


1     President to the Capitol.

2     Q.   Right.   And that's normal, right?

3     A.   It -- they can use motorcade.       They can travel by

4     helicopter.    But that day, yes, it's typical for them to use a

5     motorcade to arrive at the Capitol.

6     Q.   And that motorcade eventually left the Capitol when there

7     was a breach; is that right?

8     A.   It left the plaza but it remained on Capitol grounds.

9     Q.   I'm not going to ask you where.

10         Now, what kind of vehicles, those big black limousines,

11    what would you call those motorcade vehicles?

12    A.   I'm not sure I understand your question.

13    Q.   Are they Cadillacs?     Are they Lincolns?     What is it?

14    A.   There's different vehicles within the motorcade.          Some are

15    Cadillacs.    Some are Suburbans.

16    Q.   Isn't it true that the Secret Service outfits their

17    vehicles a lot different than what -- perhaps the vehicle I

18    drive?

19               MS. AKERS:    Objection.   Relevance and foundation.

20               THE COURT:    Pick up.

21         (The following was held sidebar, outside the hearing of the

22    jury:)

23               THE COURT:    Since the motorcade has nothing to do with

24    this event -- as I understand he wasn't removed from the

25    Capitol.    He refused to go.     So I just don't see how this is
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 24 of 284       24

      Hawa - CROSS


1     relevant.

2                MS. WEST:    I'm trying, Your Honor.     I'm getting there.

3     I'm going to ask her -- and I asked her this in the last trial

4     I had.   There's a transcript of it in Jencks.         If the motorcade

5     was equipped with horns that could give an announcement to get

6     out of the way.     And she said, yes, those cars are, in fact,

7     equipped with --

8                THE COURT:    Were the cars located somewhere near where

9     your client was, so that if they had used it or whatever it was

10    it would have notified him?       As I understand it, the vehicles

11    were somewhere in the basement.

12               MS. WEST:    Actually, the vehicles were outside on the

13    ground on the plaza.      But I don't need to ask the question

14    because the client --

15               THE COURT:    I just don't see how it's relevant.         I

16    don't see how -- I assume this equipment was not used in any

17    way to notify anybody.

18               MS. WEST:    That's right.

19               THE COURT:    I'll sustain the objection.

20               MS. WEST:    Okay.

21         (Sidebar concluded.     The following was held in open court:)

22    BY MS. WEST:

23    Q.   Inspector Hawa, you said that plans were interrupted and

24    you moved to have -- moved to House Chamber at 1 p.m.?

25    A.   The plans were not interrupted at that point.         That was per
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 25 of 284    25

      Hawa - CROSS


1     the itinerary, to move from the Senate Chamber to the House

2     Chamber at 1 p.m., which was the start of the certification of

3     the Electoral College votes.

4     Q.   Okay.    I just want to make sure I get the timeline right.

5          So you testified that there was an objection to the state's

6     vote, and you thought it was Arizona?

7     A.   That's correct.

8     Q.   Would you explain that to me?       I'm not sure I understand.

9     A.   My understanding -- again, we are not in the chambers with

10    our protectees.     As liaison agents, we typically stand outside

11    the chambers.

12         But my understanding was during this process someone

13    objected to the votes for the State of Arizona, and we were

14    told that when that happened the House and the Senate Chambers,

15    the House members and the Senators would separate and the House

16    members would remain in the House Chamber and the senators

17    would move to the Senate Chamber.        They could conduct their

18    business as appropriate.      Then there would be a point when they

19    came back together and then move to the next stage and discuss

20    whatever business they had.

21    Q.   Right.   So when you say someone objected, what you mean is

22    a member of congress?

23    A.   That's correct.

24    Q.   You said approximately at 1 p.m. they made -- you made your

25    way because -- and started to be concerned because you heard a
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 26 of 284     26

      Hawa - CROSS


1     ruckus on the uniform radio of an officer standing next to you?

2     A.   No.   So approximately 1:15 was when he had to separate --

3     again, there was an objection.       So approximately 1:15.      We were

4     walking with the Vice President and the senators back over to

5     the Senate side.     And then during that movement is when I was

6     getting information about the security breaches.

7     Q.   Okay.   So it wasn't 1:00; it was 1:15?

8     A.   Correct.   1:00 is when the certification of the Electoral

9     College votes began.

10    Q.   Okay.   So when you heard the ruckus over the radio, was

11    that at about 1 p.m.?

12    A.   That was approximately 1:15 p.m.

13    Q.   Okay.   And the reason for that was because someone had

14    breached the Capitol by the west lawn; is that right?

15    A.   Multiple people had breached the security perimeter that

16    was established on the west side.

17    Q.   You say that was 1:15?

18    A.   It was approximately 1:15 when I was hearing the radio

19    traffic.     So sometime between 1:00 and 1:15 I imagine is when

20    that breach was occurring.

21    Q.   So at this time, interestingly, on January 6th, Donald

22    Trump was still president, right?

23    A.   That's correct.

24    Q.   So there was a security detail not only that you were doing

25    for Vice President Mike Pence but there was a security detail
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 27 of 284      27

      Hawa - CROSS


1     for Trump; is that right?

2                MS. AKERS:    Objection.

3                THE COURT:    Sustained.

4     BY MS. WEST:

5     Q.   You testified, and I want to make sure I have this right,

6     that at 2:25 there were people in the building in several

7     different areas; is that right?

8     A.   That is correct.

9     Q.   Protesters in the House and Senate side and some close to

10    where the video was?

11    A.   That is correct.

12    Q.   So your concern at that time was for the people that were

13    inside the building, to move Vice President Pence?

14    A.   We were concerned to move Vice President Pence and his

15    family for their safety.      Again, because we had no idea who

16    these uninvited individuals were.        They had used unconventional

17    means to access the building.       They hadn't been screened in any

18    kind of a security screening.       So we didn't know if they had

19    any weapons on them.

20    Q.   Right.

21    A.   Again, there was multiple security concerns.         So we moved

22    the Vice President's family for their safety.

23    Q.   Thank you very much, Inspector Hawa.

24    A.   Of course.

25               THE COURT:    Any redirect?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 28 of 284   28

      Hawa - REDIRECT


1                MS. AKERS:    Briefly.

2                              REDIRECT EXAMINATION

3     BY MS. AKERS:

4     Q.   Inspector Hawa, you just testified there were multiple

5     security concerns, correct?

6     A.   That's correct.

7     Q.   And you testified one of them was people inside the

8     building, right?

9     A.   That is correct.

10    Q.   Was another security concern also people outside the

11    building who --

12               MS. WEST:    Objection.

13               THE COURT:    Sustained.

14               Rephrase.

15    BY MS. AKERS:

16    Q.   Other than the people who broke inside the building, what

17    other security concerns did the United States Secret Service

18    have on January 6th?

19    A.   Our security concerns were initiated by the initial breach

20    that occurred on the exterior.        We had a perimeter set up

21    around the Capitol that day, hard barriers, bike racks,

22    permanent barriers that existed, and they were posted with U.S.

23    Capitol Police officers.      And signage notifying individuals

24    that the area was closed by order of the Capitol Police Board.

25         So we had our security measures in place and individuals
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 29 of 284    29

      Hawa - REDIRECT


1     breached that security perimeter.        That initiated the process

2     of initiating the emergency action plan, gathering more

3     information and then ultimately making the decision, in

4     addition to the breaches that occurred inside the U.S. Capitol

5     on that day.

6     Q.   And why is it concerning to the United States Secret

7     Service when things like that happen?

8     A.   Sure.   So any time that we have security perimeters

9     established, law enforcement posted, and again, you have

10    individuals who are taking extreme means to either ignore those

11    restrictions, ignore orders by law enforcement personnel, use,

12    again, unconventional means to access a building that was

13    locked, breaking windows, breaking down doors, not going

14    through a security screening process, those are, I think, for

15    obvious reasons, cause for concern for us when we're trying to

16    protect the individuals we protect.

17    Q.   And did the Secret Service's assessment of those things

18    that were happening impact how you protected the Vice President

19    on January 6, 2021?

20    A.   It impacted the need to --

21               MS. WEST:    Objection.    Beyond direct.

22               THE COURT:    Sustained.

23               MS. AKERS:    No further questions.     Thank you.

24               THE WITNESS:    Of course.

25               THE COURT:    Any questions from the jury?
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      Anderson - DIRECT


1          (Note passed to Judge Walton.)

2                THE COURT:    Pick up, please.

3          (The following was held sidebar, outside the hearing of the

4     jury:)

5                THE COURT:    The question is:    Did you inform Vice

6     President Pence of the breach of the Capitol before you began

7     the emergency plan?

8                Any objection?

9                MS. WEST:    I don't think it's irrelevant.

10               MS. AKERS:    No objection.    But I agree with Ms. West.

11               THE COURT:    Very well.   I won't ask it.

12         (Sidebar concluded.     The following was held in open court:)

13               THE COURT:    As I indicated, sometimes when a question

14    is submitted by a juror, I make a conclusion that the question

15    can't be asked.     And I've made that decision regarding the

16    question.    So the juror who submitted it will have to disregard

17    the fact that it was submitted and not speculate or guess as to

18    what the response would have been.

19               Anything else?    Thank you.

20               Next witness.

21               MS. AKERS:    United States calls Federal Bureau of

22    Investigation Special Agent Christopher Anderson.

23                         CHRISTOPHER ANDERSON, Sworn

24                               DIRECT EXAMINATION

25    BY MS. AKERS:
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 31 of 284   31

      Anderson - DIRECT


1     Q.   Good morning, sir.     Can you please introduce yourself to

2     the jury and spell your last name for the court reporter?

3     A.   Good morning.    I'm Special Agent Christopher Anderson with

4     the FBI.    My last name is A-N-D-E-R-S-O-N.

5     Q.   Special Agent Anderson, how long have you worked for the

6     FBI?

7     A.   Approximately three years.

8     Q.   Have you been a special agent all three years?

9     A.   Yes.

10    Q.   What was your job before being a special agent?

11    A.   Before that I was a patrol officer, local police

12    department.

13                THE COURT:   Which police department?

14                THE WITNESS:   Anne Arundel County.

15    BY MS. AKERS:

16    Q.   Which state do you live in?

17    A.   Right now I'm in Florida.

18    Q.   Before we get to the conduct of Mr. Cook on January 6th, I

19    want to cover a few things with you.

20                MS. AKERS:   Can we please pull up Government

21    Exhibit 115.

22    BY MS. AKERS:

23    Q.   Are you familiar with this document, sir?

24    A.   Yes.

25    Q.   And what is this?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 32 of 284   32

      Anderson - DIRECT


1     A.   This is a -- I believe this is something that came out from

2     the mayor's office regarding the events on January 6th, where a

3     curfew was instated.

4                MS. WEST:    Your Honor, can I confirm --

5                THE COURT:    Yes.

6          (Off-the-record discussion.)

7                MS. AKERS:    The government moves the admission of

8     Exhibit 115.

9                THE COURT:    Any objection?

10               MS. WEST:    Yes, Your Honor.

11         (The following was held sidebar, outside the hearing of the

12    jury:)

13               MS. WEST:    Your Honor, we spoke about this last night.

14    I object to only the second page, which has the language that

15    on January 5th, 2020 [sic], a number of weapons arrests were

16    made.    The protest transformed from peaceful to violent,

17    barricades at the Capitol were stormed, blah, blah, blah.

18    Protestors brought their own stink bombs, deployed them,

19    sprayed pepper spray, threw bricks, bottles and bicycle racks

20    at persons.    This is all from Muriel Bowser, a person who has

21    no personal knowledge of what happened.

22               First of all, he's not charged with anything on

23    January 5th.

24               THE COURT:    What's the government's purpose for

25    seeking to try and use this?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 33 of 284     33

      Anderson - DIRECT


1                MS. AKERS:    Sure, Your Honor.     This establishes that

2     there was a curfew set in Washington, D.C.         We've redacted

3     almost all of the document, which is a business record, but the

4     paragraph that Ms. West is referring to explains why a curfew

5     was enacted.    Because a curfew was enacted, Safeway stores and

6     other stores and commerce had to close, which is an element of

7     proving our civil disorder.

8                Now, the government has redacted almost all of this

9     document, except for the one paragraph which is supported by

10    the evidence that we've already introduced in this trial as to

11    why the curfew was implemented.

12               THE COURT:    Except there is a lot more in that

13    document than what the jury has now heard about.

14               MS. AKERS:    But, Your Honor, the government has

15    redacted almost all of it, except for the paragraph that said

16    barricades were stormed and people have entered the Capitol,

17    which the government has already proved.         It also says that

18    there was pepper spray, bottles, bricks and bicycle racks,

19    which has already been proved by the government.          It says

20    Capitol Police and MPD have been injured, which has already

21    been proved by the government.       And it says bomb threats have

22    been called in, which has already been proved by the

23    government.

24               So the only thing we did not redact has already been

25    established in this record.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 34 of 284     34

      Anderson - DIRECT


1                MS. WEST:    This is highly prejudicial.      This is the

2     mayor of this city agreeing with what the government's

3     theory --

4                THE COURT:    Well, I mean, I think it's relevant to

5     bring up the fact that she did issue the curfew, and I think

6     there should be at least some indication as to why she did

7     that.   It seems to me there could be an agreement reached that

8     based upon the events that were taking place at the Capitol,

9     she imposed the curfew, without bringing in the specific

10    statements about why.      That's what's important, is the fact

11    that there was a curfew imposed based upon what was occurring.

12               So I'll require that you-all -- if you can, reach some

13    type of agreement, a stipulation about that something

14    consistent with what I just indicated.

15               MS. WEST:    Yes, sir.

16               MS. AKERS:    Your Honor, could we have just one moment

17    to confer?    We might be able to resolve this.

18               THE COURT:    Yes.

19               MS. AKERS:    Thank you.

20         (Off-the-record discussion.)

21         (Sidebar concluded.     The following was held in open court:

22               MS. AKERS:    Your Honor, we haven't instructed the jury

23    yet on stipulations, but the parties have a stipulation to

24    propose for the jury's consideration.        Is now an appropriate

25    time or should we wait?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 35 of 284         35

      Anderson - DIRECT


1                THE COURT:    Is this a stipulation of fact or

2     stipulation of testimony?

3                MS. AKERS:    A stipulation of fact, sir.

4                THE COURT:    Very well.   As I indicated when we started

5     the trial in my preliminary instructions, that the two

6     principal ways that evidence is presented to a jury is through

7     the testimony of witnesses and through the introduction of

8     exhibits.

9                There are other ways that evidence can be presented

10    and one of those is what is called a stipulation of fact.            And

11    that is an agreement between the parties as to particular

12    facts, and you may consider those facts as undisputed evidence.

13    So what's going to be indicated to you now is a stipulation of

14    fact, which you can consider as undisputed evidence.

15               MS. AKERS:    The parties have stipulated to the

16    following:    The mayor of Washington, D.C. ordered a curfew

17    commencing at 6 p.m. on Wednesday, January 6, 2021, and ending

18    at 6 a.m. on January 7th, 2021, because of the events that

19    occurred on Capitol grounds on January 6, 2021.

20               That's the end of the stipulation.       We'll proceed.

21               THE COURT:    Very well.

22               MS. AKERS:    Ms. Marcelin, can we please pull up --

23    well, give me just one minute.

24    BY MS. AKERS:

25    Q.   Special Agent Anderson, are you familiar with the chain of
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 36 of 284   36

      Anderson - DIRECT


1     stores called Safeway?

2     A.   Yes.

3     Q.   And what are Safeway stores?

4     A.   They are grocery stores.

5     Q.   Are there Safeway stores in Washington, D.C., to your

6     knowledge?

7     A.   Yes.

8     Q.   And in other states?

9     A.   Yes.

10    Q.   And did the government request any business records from

11    Safeway after the events of January 6, 2021?

12    A.   Yes.

13    Q.   We're pulling up Government Exhibit 117.

14                MS. AKERS:   And moving for the admission of such.

15                MS. WEST:    No objection, Your Honor.

16                THE COURT:   Very well.   Admitted.

17         (Government's Exhibit 117 received in evidence.)

18    BY MS. AKERS:

19    Q.   Special Agent Anderson, can you tell the jury what document

20    we're looking at?

21    A.   So this is a certificate of authenticity, something that

22    goes along with when we subpoena records from a company.

23    It's -- as you can see in the first paragraph right here, this

24    is coming from somebody named Amy Burke, who is employed by

25    Albertsons Companies, which is the parent company of Safeway.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 37 of 284   37

      Anderson - DIRECT


1     This person is the vice president, counsel and a custodian of

2     records.    So any records that are provided from this person are

3     known to be true and accurate.

4     Q.   And is it true that this person, Amy Burke, who provided a

5     certificate of authenticity included two documents that are

6     enumerated as items one and two in this document?

7     A.   Yes.

8     Q.   Is that first the Safeway early-closure notice for

9     Washington, D.C. stores on 1/6/2021?

10    A.   Yes.

11    Q.   Is the second --

12                MS. WEST:    Objection.   Leading.

13    BY MS. AKERS:

14    Q.   What is the second document that is certified to be

15    authentic, as indicated on this document?

16    A.   The second document is titled, Safeway Mid-Atlantic Daily

17    Sales Report for Washington, D.C. stores, with redacted,

18    January 5th, 2021, through January 7th, 2021.

19    Q.   Based on your investigation, are you familiar with these

20    documents?

21    A.   Yes.

22                MS. AKERS:   Ms. Marcelin, can you please pull up

23    Government Exhibit 117.1.

24                The government moves for admission.

25                THE COURT:   What number was that again?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 38 of 284    38

      Anderson - DIRECT


1                MS. AKERS:    117.1.

2                THE COURT:    Any objection?

3                MS. WEST:    No, Your Honor.    No objection.

4                THE COURT:    Admitted.

5          (Government's Exhibit 117.1 received in evidence.)

6     BY MS. AKERS:

7     Q.   Now that this is being shown to the jury, Special Agent

8     Anderson, can you tell us what we're looking at here?

9     A.   This is an email from somebody in Albertsons, as you can

10    see right here.     And it is sent to various store managers

11    within the company.

12    Q.   What date was this sent?

13    A.   This was sent on January 6, 2021, 3:43 p.m.

14    Q.   And what was the subject line of this email?

15    A.   Subject line is:     Washington, D.C. curfew tonight, 1/6/21,

16    6 p.m. to 6 a.m., Capitol lockdown.

17    Q.   In practical terms, what was the effect of the curfew on

18    Washington, D.C. Safeway stores?

19               MS. WEST:    Objection.    The document speaks for itself.

20    Leading.

21         (The following was held sidebar, outside the hearing of the

22    jury:)

23               THE COURT:    All right.   Assuming he wouldn't have any

24    personal knowledge of that.       So I think it's probably right

25    that the document has to speak for itself.         I'll sustain the
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 39 of 284   39

      Anderson - DIRECT


1     objection.

2          (Sidebar concluded.     The following was held in open court:)

3                THE COURT:    Objection sustained.

4     BY MS. AKERS:

5     Q.   Special Agent Anderson, can you please read the first two

6     sentences in the document that I've put a yellow mark by?

7     A.   Sure.

8          The document states that there is in place a 6 p.m. to

9     6 a.m. citywide curfew throughout Washington, D.C. tonight,

10    Wednesday, 1/6/21.      All D.C. stores will close at 4 p.m. with

11    plans to reopen at 6 a.m. to 7 a.m., and night crews will not

12    be in place.

13               MS. AKERS:    Can we please pull up Government

14    Exhibit 117.2.

15               And while we do that, the government moves its

16    admission.

17               MS. WEST:    Which one?

18               MS. AKERS:    117.2.

19               MS. WEST:    May I confer with counsel, Your Honor?

20               THE WITNESS:    Yes.

21         (Off-the-record discussion.)

22               MS. WEST:    May we pick up the phone, Your Honor?

23         (The following was held sidebar, outside the hearing of the

24    jury:)

25               MS. AKERS:    This document, Government Exhibit 117.2,
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 40 of 284         40

      Anderson - DIRECT


1     is a three-page document.       The first page is January 5th, the

2     second page is January 6th, the third page is January 7th.            I

3     don't have any objection to the pages January 6th and

4     January 7th.    But the Tuesday, January 5th --

5                THE COURT:    How would January 5th be relevant?

6                MS. AKERS:    Well, Your Honor, it provides context

7     because it shows that the day before and the day after the

8     sales were a certain way.       On January 6th, they were a

9     completely different way.       So it shows an effect on commerce.

10    It's a business record.

11               THE COURT:    I'll overrule the objection.

12         (Sidebar concluded.     The following was held in open court:)

13               MS. AKERS:    If we could publish that to the jury,

14    please.

15               THE COURT:    It will be admitted.

16               MS. AKERS:    Thank you, Your Honor.

17         (Government's Exhibit 117.2 received in evidence.)

18    BY MS. AKERS:

19    Q.   Special Agent Anderson, can you tell the jury what we're

20    looking at on Page 1 of Government Exhibit 117.2?

21    A.   This is something from Safeway.       It's a document showing

22    the list of stores in D.C., right here on the left side.             And

23    you see there are columns with red and black numbers.           Those

24    show the actual sales of the day projected and then a

25    difference in some of these numbers compared to the sales one
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 41 of 284       41

      Anderson - DIRECT


1     year prior.

2     Q.   So let's break this down a little bit more.         Page 1, what

3     is the date of the data from this document?

4     A.   This one is from Tuesday, January 5th, 2021.

5     Q.   And the first two columns that I'm circling, one says

6     actual total dollar sign, correct?

7     A.   Yes.

8     Q.   And that's redacted, right?

9     A.   Yes.

10    Q.   And what is the second column, what is that labeled?

11    A.   Those are the actual -- actual ID percentages.          Those are

12    the actual store percentage sales.

13    Q.   And on January 5th, 2021, are you able to see what the

14    actual ID percentages were in that first column for each store?

15    A.   Yes.

16    Q.   And what is the difference between the red numbers and the

17    black numbers?

18    A.   The red numbers are negative and the black ones are

19    positive.

20    Q.   On January 5th, 2021, what was the trend of the actual

21    sales for the stores, generally?

22    A.   It's a mix between some positive and some negative sales.

23    Q.   And how do you know that?

24                MS. WEST:   Objection, speculation.     The document

25    speaks for itself.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 42 of 284      42

      Anderson - DIRECT


1                 THE COURT:   Overruled.

2                 THE WITNESS:   The -- you see there's one, two, three,

3     four, four positive sales recorded for the stores.           And then

4     seven negative for the stores.

5     BY MS. AKERS:

6     Q.   And can you indicate on the screen for the jury which

7     column you're looking at, just to be clear?

8     A.   Yes.   Those numbers came from the actual sales.

9     Q.   If we could go to Page 2, please.

10         Looking at Page 2, what is the date of this document?

11    A.   This one is Wednesday, January 6, 2021.

12    Q.   And does it also list all of the stores in Washington, D.C.

13    on the left-hand column?

14    A.   Yes.

15    Q.   And what is the trend of sales on January 6, 2021, as

16    indicated on this document?

17    A.   As we can see here in this column that it is overwhelmingly

18    negative for the day.

19    Q.   Meaning what?

20    A.   Showing that they showed significant losses for the day.

21    Q.   And if we could please go to Page 3.

22         What is the date of Page 3 on the Safeway document?

23    A.   This is Thursday, January 7th, 2021.

24    Q.   One day later than the prior page?

25    A.   Yes.
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1     Q.   What do you notice about the trend of sales on this day, as

2     indicated by the second column, which is the first unredacted

3     column?

4     A.   There are only three stores that show negative sales.

5     Overall, it's positive.

6                 MS. AKERS:   We can take that down, Ms. Marcelin.

7     BY MS. AKERS:

8     Q.   As part of your duties with the FBI, are you assigned to

9     the investigation of Richard Cook?

10    A.   Yes.

11    Q.   What is your role in that investigation?

12    A.   The lead case agent.

13    Q.   What are your responsibilities as the lead case agent?

14    A.   I handle all investigative matters related to the case with

15    Richard Cook.

16    Q.   How did the FBI become familiar with the identity of

17    Richard Cook?

18    A.   We received photos and videos from the day of January 6th,

19    and from those videos and photos we created a BOLO.

20    Q.   What is a BOLO?

21    A.   A BOLO stands for "be on the lookout."        It's something

22    that's sent out to members of the community to help ID a

23    person.

24                MS. AKERS:   Can we please pull up Government

25    Exhibit 805.
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1     BY MS. AKERS:

2     Q.   Do you recognize this photo?

3     A.   Yes.   It's BOLO 185.

4                 MS. AKERS:   The government moves the admission of 805.

5                 THE COURT:   Any objection?

6                 MS. WEST:    Yes, Your Honor.   May I confer with AUSA

7     Akers?

8                 THE COURT:   Yes.

9          (Off-the-record discussion.)

10                MS. WEST:    No objection, Your Honor.

11                THE COURT:   It will be admitted.

12         (Government's Exhibit 805 received in evidence.)

13    BY MS. AKERS:

14    Q.   Do you recognize the person depicted on Government

15    Exhibit 805?

16                MS. WEST:    We agreed to his identification, Your

17    Honor.   We stipulate to that.

18    BY MS. AKERS:

19    Q.   Do you recognize --

20                THE COURT:   She can ask the question.

21                THE WITNESS:   Yes, I recognize this individual as

22    Richard Cook.

23    BY MS. AKERS:

24    Q.   Are you able to identify Richard Cook in the courtroom here

25    today?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 45 of 284        45

      Anderson - DIRECT


1     A.   Yes.   He's sitting at the defense table wearing a white

2     button-up shirt, blue tie and khaki pants.

3                 MS. AKERS:   Your Honor, may the record reflect the

4     identification of the defendant.

5                 THE COURT:   Yes.

6     BY MS. AKERS:

7     Q.   Special Agent Anderson, after the FBI circulated a BOLO, a

8     be on the lookout, what was the next investigate step?

9     A.   We then conducted an open-source search through a facial

10    recognition program to ID Richard Cook.         We conducted an

11    interview of somebody who was familiar with Mr. Cook.           We also

12    received a tip and we -- also, Richard Cook also came to a

13    police station and talked with the FBI.

14                MS. WEST:    Your Honor, I'd request the photo be taken

15    down.

16                MS. AKERS:   Ms. Marcelin, can you please take the

17    exhibit down.

18    BY MS. AKERS:

19    Q.   Special Agent Anderson, during the course of your

20    investigation, did you learn the whereabouts of Richard Cook on

21    January 6, 2021?

22    A.   Yes.   From the photos and videos, placed him at the Capitol

23    on January 6th.

24                MS. AKERS:   If we can pull up Government Exhibit 112,

25    which is in evidence.      And go to Page 10, please.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 46 of 284   46

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1     BY MS. AKERS:

2     Q.   Are you familiar with this depiction, sir?

3     A.   Yes.   It's a rendering of the Capitol on January 6th.

4     Q.   And can you identify for the jury the relevant location

5     with regard to Mr. Cook's conduct that you investigated on

6     January 6, 2021?

7     A.   Yes.   It was right in this dark archway.

8     Q.   And you put a circle around the sort of very middle of the

9     screen, a dark archway in the middle, correct?

10    A.   Yes.

11                MS. AKERS:   Can you clear that.

12    BY MS. AKERS:

13    Q.   And have you watched video footage from January 6th where

14    you've identified Mr. Cook?

15    A.   Yes.

16                MS. AKERS:   Can we please pull up Government

17    Exhibit 508, for the witness.

18    BY MS. AKERS:

19    Q.   Special Agent Anderson, have you watched this video in

20    preparation for your testimony?

21    A.   Yes.

22    Q.   At approximately what time was it recorded?

23    A.   It was about 3:05 p.m.

24    Q.   What was the location of this video?

25    A.   This is just outside -- just outside the tunnel on the West
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 47 of 284   47

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1     Front.

2     Q.   And do you know the date of this recording?

3     A.   It's January 6, 2021.

4                 MS. AKERS:   The government moves the admission of 508.

5                 MS. WEST:    May I confer briefly, Your Honor?

6                 THE COURT:   Yes.

7                 JUROR:   When they pull up the monitor on defense

8     table, we can see before --

9                 THE COURT:   They're saying they can see what's on the

10    defense.    You need to turn it.

11                MS. WEST:    No objection, Your Honor.

12                THE COURT:   Very well.   Admitted.

13         (Government's Exhibit 508 received in evidence.)

14    BY MS. AKERS:

15    Q.   Now that the jury is also looking at our exhibit, is this a

16    video exhibit from January 6, 2021?

17    A.   Yes.

18                MS. AKERS:   And can we please play until 15 seconds.

19         (Video played.)

20    BY MS. AKERS:

21    Q.   Are you able to identify anyone in this video exhibit,

22    Special Agent Anderson?

23    A.   Yes.   There's Richard Cook.     I'm circling him on the screen

24    on the lower right side in the black jacket.

25    Q.   Around 3:05 p.m., what is Richard Cook doing?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 48 of 284    48

      Anderson - DIRECT


1     A.   He is standing with the crowd outside the tunnel on the

2     West Front, yelling and --

3                 MS. WEST:    Objection.   This video speaks for itself.

4                 THE COURT:   Overruled.

5     BY MS. AKERS:

6     Q.   Go ahead.

7     A.   He is standing outside with the crowd on the West Front,

8     right outside the tunnel, screaming and yelling with the crowd.

9     Q.   Did there come a point in time when Mr. Cook entered the

10    tunnel of the United States Capitol building?

11    A.   Yes.

12                MS. AKERS:   Can we please pull up Government

13    Exhibit 705.

14    BY MS. AKERS:

15    Q.   Are you familiar with this video exhibit, Special Agent

16    Anderson?

17    A.   Yes.

18    Q.   Does this video exhibit depict anyone who you're familiar

19    with?

20    A.   Yes.   It's Richard Cook.

21                MS. AKERS:   The government moves the admission of 705.

22                THE COURT:   Any objection?

23                MS. WEST:    No, Your Honor.

24                THE COURT:   Admitted.

25         (Government's Exhibit 705 received in evidence.)
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 49 of 284    49

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1                 MS. AKERS:   The government also moves the admission of

2     507.2, .3 and .4, which are screenshots from this video

3     footage.

4                 THE COURT:   Any objection?

5                 MS. WEST:    No, Your Honor.

6                 THE COURT:   Very well.   Admitted.

7          (Government's Exhibits 507.2, 507.3, 507.4 received in

8     evidence.)

9                 MS. WEST:    If she could say those exhibit numbers

10    again, I would appreciate it.

11                MS. AKERS:   507.2, .3 and .4.

12                MS. WEST:    Thank you.

13                MS. AKERS:   All right.   Now that this is published to

14    the jury, can we please pull ahead to 12:05.

15    BY MS. AKERS:

16    Q.   Special Agent Anderson, as part of our preparation for

17    trial, were you able to compare different video footages that

18    depict the same time but from different vantage points?

19    A.   Yes.

20    Q.   And on the right-hand side of the screen, what is the

21    source of the video footage in Exhibit 705?

22    A.   This is a CCTV footage from the Capitol inside the tunnel.

23    It's up in the ceiling above the doors, facing out to the West

24    Front.

25    Q.   And on the left-hand side, is that a different video?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 50 of 284        50

      Anderson - DIRECT


1     A.   Yes.

2     Q.   What is the source of that video?

3     A.   It's a third party.

4     Q.   Again, are these depicting the same time period, just

5     different vantage points?

6     A.   Yes.

7     Q.   Can you please identify for the jury what location we're

8     looking at at 12:05?

9     A.   On the right side, which is the CCTV footage, this is

10    inside the tunnel.       The camera is placed up near the ceiling,

11    above the doors, facing outward to the West Front.           And on the

12    left side, the third-party footage, it is an opposite view on

13    the West Front facing toward the tunnel.

14    Q.   What time are we at at 12:05?

15    A.   We are at 3:08 p.m. and 41 seconds.

16                MS. AKERS:   Can we please play until 12:27.

17         (Video played.)

18                MS. AKERS:   We stopped at 12:27.

19    BY MS. AKERS:

20    Q.   Are you able to identify anyone on the left-hand side of

21    the screen?

22    A.   Yes.   The individual circled in yellow, wearing a black

23    jacket, is Richard Cook.

24    Q.   Were you able to put a yellow circle around the person you

25    identified as Richard Cook throughout this video?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 51 of 284       51

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1     A.   Yes.

2     Q.   Where is Mr. Cook in relation to the tunnel at

3     3:09:04 p.m.?

4     A.   He is outside on the West Front, to the left of the tunnel,

5     looking inside.

6                 MS. AKERS:   Can we please play until 13:38.

7          (Video played.)

8     BY MS. AKERS:

9     Q.   We stopped at 13:38.     And can you tell us what was relevant

10    about your investigation in that clip of the video?

11    A.   Yes.   So, as we see, there's some people that are working

12    their way out of the tunnel.       Mr. Cook is seen standing

13    outside, looking inward toward the tunnel.         And when there's an

14    opening, Mr. Cook voluntarily walks forward.          You can see that

15    he kind of squints his eyes and brings his arm to his face.          I

16    believe he experienced the effects of --

17                MS. WEST:    Objection.

18                THE COURT:   Sustained.

19                MS. WEST:    The video speaks for itself.

20                THE COURT:   Sustained.

21                MS. AKERS:   Can we please pull back to 12:28 and play

22    again until 12:38.

23         (Video played.)

24    BY MS. AKERS:

25    Q.   At this time has Mr. Cook entered the tunnel?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 52 of 284   52

      Anderson - DIRECT


1     A.   No.

2                MS. AKERS:    Can we please go ahead to 13:30 and play

3     until 13:37.

4          (Video played.)

5     BY MS. AKERS:

6     Q.   Did Mr. Cook enter the tunnel at this time?

7     A.   No.   It appears he experienced the --

8                MS. WEST:    Objection.   The video speaks for itself.

9                MS. AKERS:    Your Honor, can we get on the phone

10    please.

11         (The following was held sidebar, outside the hearing of the

12    jury:)

13               MS. AKERS:    Your Honor, he's saying it appears.

14               THE COURT:    He can say he squinted his eyes but it's

15    for the jury to decide why he did that.         If he wasn't there, he

16    wouldn't know why he was doing that.        So I'll sustain the

17    objection.

18         (Sidebar concluded.     The following was held in open court:)

19               MS. AKERS:    Starting at 13:37, can we please play

20    until 15:23.

21         (Video played.)

22               MS. AKERS:    We stopped at 15:23.

23               Can you actually go forward a couple frames,

24    Ms. Marcelin.     Okay we'll just stop there.      We're at 15:23

25    still.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 53 of 284     53

      Anderson - DIRECT


1     BY MS. AKERS:

2     Q.   What was relevant about that clip from your investigation,

3     Special Agent Anderson?

4     A.   It showed that there's a group forming inside the tunnel.

5     They're coming together and pushing against the police line.

6     Q.   Were you able to hear anything on the video?

7     A.   Yes.   People were screaming, I believe:       We need fresh

8     people.     We're almost through.

9     Q.   And --

10    A.   Our house.

11    Q.   Apologies.

12    A.   And they're screaming:      Our house.

13    Q.   Were you able to notice anything about the flow of traffic

14    at this point?

15    A.   Yes.   There are some people leaving, going down the

16    staircase away from the tunnel.

17    Q.   For the next few seconds I want to direct your attention to

18    the left-hand side of the screen.        I'm putting a circle around

19    a gentleman with blonde hair.       And if you could look on that

20    side of the screen.

21                MS. AKERS:   Until 5:30, we'll play.

22         (Video played.)

23    BY MS. AKERS:

24    Q.   Was there anything relevant about that time period?

25    A.   I believe he was saying:      Are you going in or not?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 54 of 284       54

      Anderson - DIRECT


1     Q.   Were you able to see on the right-hand side of the screen,

2     at 3:12:07 p.m., are you able to identify anyone?

3     A.   Yes.   In the yellow circle I can see Mr. Cook.

4                 MS. AKERS:   Can we please play until 15:37.

5          (Video played.)

6     BY MS. AKERS:

7     Q.   What was relevant about this portion?

8     A.   You can see that Mr. Cook ran in to join the crowd pushing

9     against the police.

10    Q.   And in your view of the video?

11                MS. WEST:    Objection.   Objection.   Speculation.      I ask

12    the Court to discard -- I should say it on the phone.

13         (The following was held sidebar, outside the hearing of the

14    jury:)

15                MS. WEST:    Again, Your Honor, he's narrating what he

16    believes Mr. Cook is doing.       He did not ask Mr. Cook.      He has

17    never spoken to Mr. Cook about what he did inside the tunnel.

18    So it's pure speculation and I ask for an instruction to the

19    jury to disregard his testimony in that regard.

20                MS. AKERS:   This is not speculation.      I asked what

21    happened in the video.      He's not guessing.     He's explaining and

22    providing context for the jury.       Otherwise, Your Honor, there

23    are thousands of people in these videos.         The jury is going to

24    be guessing what to look at.

25                I'm asking him what is relevant to his investigation
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 55 of 284        55

      Anderson - DIRECT


1     and he's explaining based on video footage, not a guess, what

2     was relevant to his investigation of Mr. Cook.

3                MS. WEST:    The video speaks for himself.

4                THE COURT:    He actually, I guess -- ultimately, I

5     guess, the objective was to push against the police, but he's

6     pushing against somebody else, not actually the police.

7                MS. AKERS:    Your Honor, that's not what he said.        He

8     testified that Mr. Cook entered the tunnel.

9                THE COURT:    He also said he was pushing.      He also said

10    he was pushing against the police.        That's what he just said.

11               MS. AKERS:    And he's reviewed this video footage and

12    there are police shown at the opposite end of where Mr. Cook is

13    pushing.    It's supported by exactly what he's looking at.

14               THE COURT:    I think the jury could reach that

15    conclusion.    I think that would be an appropriate conclusion

16    for them to reach.      But I don't think he can say, based upon

17    what he's observing.      He can say he saw him seemingly pushing

18    in the direction of the police.       He can't say he was pushing

19    the police because he wasn't actually doing that, although I

20    think the jury could conclude that he was aiding and abetting

21    those who were actually in the front pushing the police.

22               MS. AKERS:    Your Honor, he's not definitively stating

23    either.    I asked him why is this relevant to your

24    investigation, and he explained what he believes is relevant.

25    If she wants to cross-examine him.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 56 of 284    56

      Anderson - DIRECT


1                THE COURT:    He's not competent to say that he was --

2     it's like an eyewitness.      An eyewitness can say what they

3     actually saw but they can't speculate as to what the objective

4     was unless they -- they just can't.

5                He say can he saw him pushing other individuals and

6     that those other individuals appeared to be pushing the police,

7     and then the jury has got to decide whether or not that amounts

8     to aiding and abetting.

9                MS. WEST:    Your Honor, I would object to the word

10    "pushing."    How do we know that Mr. Cook is pushing --

11               THE COURT:    It appears like -- I don't see anybody

12    behind him.    I mean, it seems that that's his own volition that

13    he's doing that.

14               MS. AKERS:    Your Honor, I think it's an entirely

15    relevant question to say why is this relevant to your

16    investigation and let him describe and provide context to the

17    video we're watching.

18               THE COURT:    The video speaks for itself.      I think it's

19    obvious what he's doing and I don't think he needs to narrate

20    on what he's doing because all you're doing is creating an

21    appellate issue.     The jury is not dumb.      They can see what he's

22    doing.   I'll sustain the objection.

23         (Sidebar concluded.     The following was held in open court:)

24               THE COURT:    I'll sustain the objection.      Disregard the

25    characterization that he was pushing against the police.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 57 of 284   57

      Anderson - DIRECT


1                 MS. AKERS:   Can we please pull back to 15:30.

2     BY MS. AKERS:

3     Q.   Looking at the left-hand side of the screen, Special Agent

4     Anderson, where is Mr. Cook in relation to the tunnel?

5     A.   He is just outside the tunnel on the left-hand side, if

6     you're facing it.

7     Q.   And can we please play seven seconds until 15:37.

8          (Video played.)

9     Q.   Seven seconds later, where is Mr. Cook in relation to the

10    tunnel?

11    A.   Mr. Cook went from outside the tunnel on the left-hand side

12    to inside the tunnel.

13    Q.   Based on your review of the video footage, in what manner

14    did Mr. Cook enter the tunnel?

15    A.   Voluntarily.

16                MS. AKERS:   Can we please play until 16:29.

17         (Video played.)

18    BY MS. AKERS:

19    Q.   We stopped at 16:29.     Is this now 3:13:06 p.m.?

20    A.   Yes.

21    Q.   And the last approximate one minute, where did Mr. Cook

22    remain?

23    A.   Inside the tunnel.

24                MS. AKERS:   Can we continue playing until 17:09.

25         (Video played.)
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 58 of 284      58

      Anderson - DIRECT


1     BY MS. AKERS:

2     Q.   We stopped at 17:09.     Was there anything relevant to your

3     investigation in that clip, Special Agent Anderson?

4     A.   Yes.   The police seemed to be making ground on the group --

5                 MS. WEST:    Objection.   Speculation.

6          (The following was held sidebar, outside the hearing of the

7     jury:)

8                 THE COURT:   What's he going to say?      What's he going

9     to say?     Government counsel, what's he going to say?

10                MS. AKERS:   I apologize.    I think he's going to say it

11    appears that he exited the tunnel and spoke words to the effect

12    of "small steps, small steps," which is clearly depicted in the

13    video.

14                THE COURT:   I can't see that he's making those

15    statements.    I mean, I think it's clear that he exits the

16    tunnel and he says something, but I can't discern what he's

17    actually saying.     So I don't know how he's able to say that.

18                MS. AKERS:   Because the video shows Mr. Cook saying

19    that, and he's the agent who's watched this dozens of times, is

20    familiar with Mr. Cook and can testify --

21                THE COURT:   If he can.   I don't know if he -- again,

22    if it's clear that he's saying that, I think that's fair game.

23    But I don't know.       I'm going to take a ten-minute recess and

24    we'll come back and I'll watch it without the jury being here

25    to see if --
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      Anderson - DIRECT


1                MS. AKERS:    Your Honor -- understood, Your Honor.

2     This is -- I mean, if Ms. Cook is saying that Special Agent

3     Anderson is crazy and out to lunch, she can cross-examine him

4     on this.    He has a right to testify about his relevant

5     investigation.

6                THE COURT:    It's just like an eyewitness.       If an

7     eyewitness observes something, they obviously can say what they

8     observed.    If they heard something that the defendant said --

9     but I don't know if he can say what he said.          But I don't know.

10    I didn't have a chance to really view this.

11               Is it clear that he is, in fact, saying what clearly

12    is being said -- I mean, it's clear that he did leave the

13    tunnel and I think he's qualified to say on the tape he sees

14    him leaving the tunnel.      But I couldn't discern that Mr. Cook

15    was saying what he's saying he said.

16               If it's clear, then that's fine.       An eyewitness can

17    say what they heard a defendant say.        But again, I can't

18    tell -- I couldn't tell if that's, in fact, what he was saying.

19               So I'll take a break.     When we come back, I'll view

20    this outside the presence of the jury to see if it's consistent

21    with what you say the defendant is indicating.

22         (Sidebar concluded.     The following was held in open court:)

23               THE COURT:    We'll take a ten-minute recess.

24         (Jury exits the courtroom at 10:27 AM)

25         (A recess was taken at 10:27 AM)
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 60 of 284      60

      Anderson - DIRECT


1                THE COURT:    Okay.   Can we play the tape again, so I

2     can see that portion.

3                MS. AKERS:    Sure.   For the record, this is Government

4     Exhibit 705, and we're going to play for the Court, once

5     plaintiff's table gets the control, from 17:00 to 17:08.

6          (Video played.)

7                THE COURT:    I can't really make out what he said.

8     Play it again.     I can't make out what he said.

9                MS. AKERS:    Sure.   Your Honor, we conferred at the

10    break.   I don't know if there was confusion about the

11    objection.    I don't think either party believes something

12    different than what Mr. Anderson is going to testify to.

13               THE COURT:    Is that correct?

14               MS. WEST:    It is, Your Honor.     We don't dispute that

15    he said "baby steps, baby steps."

16               THE COURT:    Okay then, fine.

17               MS. WEST:    My impression was he was going to say,

18    "What is baby steps?"

19               THE COURT:    If you agree that that's what he said,

20    that's fine.

21               MS. WEST:    It's "small steps."     Ms. Akers is correct.

22               THE COURT:    Okay.   Fine.

23               MS. WEST:    Oh, can I address the Court?

24               Mr. Grossy (ph) came today instead of yesterday, but

25    we released him.
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1                MS. AKERS:    Instead of tomorrow.

2                MS. WEST:    I'm sorry, he came today instead of

3     tomorrow.    So we just released him from the subpoena.         He will

4     not be testifying.

5                THE COURT:    How many more witnesses does the

6     government have?

7                MS. AKERS:    The rest of Special Agent Anderson and

8     then one short officer.

9                THE COURT:    Is there going to be other evidence that

10    the defense is going to present, so we won't need the officer

11    today?

12               MS. WEST:    I'm not sure I understand.      The defendant

13    is going to be called and the defendant is going to take some

14    time.

15               THE COURT:    Will it take all afternoon?      Because from

16    what I'm hearing from the government, they may be finished

17    before noon.    So I don't know why he was released.

18               MS. WEST:    Because we don't need him.

19               THE COURT:    You're not going call him at all?

20               MS. WEST:    No.

21               THE COURT:    This's fine.

22               MS. WEST:    That's what I meant to say.      I wasn't

23    clear.

24               THE COURT:    I thought you were saying he was going to

25    come back tomorrow to testify.
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1                 MS. WEST:    No, no.   I apologize.   I would have thought

2     that too.    We released him from the subpoena.

3                 THE COURT:   Okay.

4                 MS. WEST:    And Ms. Cubbage will be right back.         She's

5     printing something.

6                 COURTROOM DEPUTY:      The jury panel.

7          (Jury enters the courtroom at 10:43 AM)

8                 THE COURT:   You can be seated.

9                 I assume you're not going to assume anything about

10    this case based upon me standing at times.           I have to stand.

11    I'm an old high school and college football player and I

12    suffered some severe injuries playing football in college, and

13    I can't sit for long periods of time without being in a lot of

14    pain.   So that's why I stand.

15    BY MS. AKERS:

16    Q.   Special Agent Anderson, we're resuming at Government

17    Exhibit 705 at the 17-minute mark, and we're going to play

18    until 17:08, focusing right now on the left-hand side of the

19    screen, please.

20         (Video played.)

21    Q.   Based on your review of this video footage, was there

22    anything relevant to your investigation?

23    A.   Yes.   Mr. Cook is seen walking out of the tunnel and it

24    appears he's saying "small steps."

25    Q.   Was there additional video footage that you viewed of the
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 63 of 284   63

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1     defendant's first entry into the tunnel on January 6th?

2     A.   Yes.

3                 MS. AKERS:   Can we please pull up Government

4     Exhibit 707.

5                 And while we're pulling that up, I will move for its

6     admission.

7                 MS. WEST:    The Court's indulgence, please.

8                 May I confer with Ms. Akers?

9                 THE COURT:   Yes.

10         (Off-the-record discussion.)

11                MS. WEST:    No objection, Your Honor, with the

12    foundation.

13                THE COURT:   Very well.

14         (Government's Exhibit 707 received in evidence.)

15    BY MS. AKERS:

16    Q.   Special Agent Anderson, is this also another side-by-side

17    video where there's one video on the right-hand and a different

18    video on the left-hand?

19    A.   Yes.

20                MS. AKERS:   The government moves the admission of

21    Exhibit 503, which is the left-hand video.

22                MS. WEST:    I would just ask for more foundation on

23    where these two videos came from.

24                THE COURT:   Very well.

25    BY MS. AKERS:
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 64 of 284     64

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1     Q.   Special Agent Anderson, on the right-hand side of the

2     screen, what is the source of this video?

3     A.   The right-hand side is CCTV footage from the tunnel at the

4     Capitol, facing outward to the West Front.

5     Q.   The left-hand side of the screen, what is the source of

6     this video?

7     A.   This is inside the tunnel, near the doors in the tunnel.

8     It's from a third party.

9     Q.   And have you watched both of these videos side by side?

10    A.   Yes.

11    Q.   And have you confirmed that they show the same time period

12    from different vantage points?

13    A.   Yes.

14                MS. WEST:    No objection in that case, Your Honor.

15                THE COURT:   Admitted.

16         (Government's Exhibit 503 received in evidence.)

17    BY MS. AKERS:

18    Q.   All right.    And if we could please look at the right-hand

19    side of the screen, the CCTV footage.        Can you please tell the

20    jury what time we're at now.

21    A.   We're at 3:11:12 p.m. on January 6th.

22                MS. AKERS:   And can we please play until 1:20.

23         (Video played.)

24    BY MS. AKERS:

25    Q.   We stopped at 1:20.     Is this 3:12:31 p.m.?
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1     A.   Yes.

2     Q.   And based on your review of the video footage at this time,

3     where is Mr. Cook?

4     A.   Mr. Cook has entered the tunnel.       He's on the right side of

5     the CCTV footage.

6     Q.   After Mr. Cook was in the tunnel this first time, ending --

7     well, this first time as depicted in the video footage, did he

8     exit the tunnel, based on your review of video footage?

9     A.   Sorry, can you ask that again?

10    Q.   Sure.   Did Mr. Cook at some point exit the tunnel, based on

11    your review of the video footage?

12    A.   Yes.

13    Q.   After he exited the tunnel, did he leave Capitol grounds?

14    A.   No.

15    Q.   What did he do next?

16    A.   He entered the tunnel a second time.

17                MS. AKERS:   Can we please pull up Government

18    Exhibit 514.

19    BY MS. AKERS:

20    Q.   While we're doing that, do you recognize Government

21    Exhibit 514?

22    A.   Yes.

23    Q.   And what is it?

24    A.   This is a third-party video.       This is from outside the

25    tunnel on the West Front.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 66 of 284    66

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1                MS. AKERS:    The government moves the admission of 514.

2                MS. WEST:    May I confer briefly with Ms. Akers?

3                THE COURT:    Yes.

4          (Off-the-record discussion.)

5                MS. WEST:    May we pick up the phone, Your Honor.

6          (The following was held sidebar, outside the hearing of the

7     jury:)

8                THE COURT:    Yes.

9                MS. WEST:    My objection, Your Honor, is that this is

10    an eight-minute video and Mr. Cook appears in it three separate

11    times.   I don't have a problem with the government showing the

12    parts of the video where Mr. Cook is and the timeframe.

13               But there's a whole bunch of other bad actors that are

14    away from Mr. Cook in this video, no evidence he could hear

15    anything they said.      So we would object to those portions of

16    the video.    But in the portions where he's clearly shown, we

17    don't have a problem with that.

18               THE COURT:    Well, it seems to me, I mean, if he's in

19    close proximity to other individuals, it becomes a question for

20    the jury to assess as to whether or not he was close enough to

21    have heard and seen what others were doing, which would, I

22    think, contribute to his state of mind and his intent.

23               So I think it's only appropriate, since we're talking

24    about the events taking place in that location.          If you want to

25    argue he couldn't hear or if he testifies he couldn't hear or
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1     see, he can do that.      But I think it's for the jury to assess

2     whether that is, in fact, correct or not.         So I'll overrule the

3     objection.

4                 MS. WEST:    There's one other thing, Your Honor.        This

5     is misleading because it shows right here in the front that

6     it's just the tunnel area, but my recollection of this exhibit

7     is at the very end it shows people walking around all the

8     different places in the Capitol that Mr. Cook never was.

9                 THE COURT:   Is that correct?

10                MS. AKERS:   No, Your Honor.    It's from the same

11    location, the entire video.

12                THE COURT:   Overruled.

13         (Sidebar concluded.     The following was held in open court:)

14                MS. AKERS:   All right.   We're looking at Government

15    Exhibit 514.

16                And the government moves the admission of 514.

17                THE COURT:   Admitted.

18         (Government's Exhibit 514 received in evidence.)

19                MS. AKERS:   And now that we are looking at this with

20    the jury, could we just play one second, please.

21         (Video played.)

22    BY MS. AKERS:

23    Q.   Are you able to identify Mr. Cook in this video footage?

24    A.   Yes.   I believe he is -- I'll circle -- to the left of the

25    tunnel.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 68 of 284         68

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1                 MS. AKERS:   And if we could please play until

2     33 seconds.

3          (Video played.)

4     BY MS. AKERS:

5     Q.   All right.    We stopped at 33 seconds.      Special Agent

6     Anderson, are you able to reidentify Mr. Cook in this video

7     footage for us?

8     A.   Yes.   I'll circle to the left of the tunnel.

9     Q.   You put a green circle around Mr. Cook's head, which is

10    sort of below the blue Trump flag; is that correct?

11    A.   Yes.

12                MS. WEST:    Excuse me, Your Honor.    Can we have the

13    prosecutor say what exhibit this is again.

14                MS. AKERS:   As indicated on the screen in the upper

15    left-hand corner, this is Exhibit 514.

16                MS. WEST:    Thank you.

17    BY MS. AKERS:

18    Q.   Special Agent Anderson, I just want to point out an

19    individual who I'm circling in yellow, who appears to be

20    wearing a great sweatshirt in the middle of the screen.              Are

21    you able to see him?

22    A.   Yes.

23    Q.   And in relation horizontally to Mr. Cook, approximately

24    where does he appear to be standing?

25    A.   This individual in the gray sweatshirt is in front of the
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 69 of 284     69

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1     tunnel.

2     Q.   And is he in approximately the same plane as Mr. Cook at

3     this time?

4                 MS. WEST:    Objection.   Speculation.

5                 THE COURT:   Overruled.

6     BY MS. AKERS:

7     Q.   Based on your review of the video footage.

8                 MS. WEST:    Leading.

9                 THE COURT:   It is.     Rephrase.

10    BY MS. AKERS:

11    Q.   Special Agent Anderson, can you describe, based on your

12    review of Exhibit 514 at 33 seconds, the approximate location

13    of the individual who I put a box around in relation to

14    Mr. Cook, who you put a green circle around.

15    A.   Yes.   So the individual in the gray sweatshirt is in front

16    of the tunnel.     There's a series of steps here and they are

17    about on the same level as Mr. Cook, who is circled in green.

18                MS. AKERS:   I'm going to clear the screen.       And please

19    play until 56 seconds.

20         (Video played.)

21    BY MS. AKERS:

22    Q.   Now, 56 seconds later -- approximately 20 seconds later,

23    are you able to identify Mr. Cook's location?

24    A.   Yes.   He is underneath the blue Trump flag on the left of

25    the tunnel.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 70 of 284           70

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1     Q.   Are you able to identify the location of the individual in

2     the gray sweatshirt who I previously pointed out?

3     A.   Yes.    He is still in front of the tunnel.       He has now

4     walked down the stairs.      I'm putting a green box around him.

5                 MS. AKERS:   If we can please play now until 1:15.

6          (Video played.)

7     BY MS. AKERS:

8     Q.   At 1:15, can you now identify where Mr. Cook is?

9     A.   Yes.    Right here to the left of the tunnel.

10    Q.   You put a green circle around a head to the left of the

11    tunnel below a blue flag; is that correct?

12    A.   Yes.

13    Q.   And now can you identify where the individual, another

14    20 seconds later, is from the gray sweatshirt?

15    A.   Individual in the gray sweatshirt is now at the bottom of

16    the screen.    I'm putting a box around him.

17    Q.   Based on your review of the video footage, what do you

18    notice about the flow of traffic around the tunnel at this

19    time?

20    A.   This people are exiting the tunnel and walking down the

21    stairs.

22    Q.   If you could, please, for the next eight seconds keep an

23    eye only on Mr. Cook, who you've circled in green here.              Okay?

24    A.   Okay.

25                MS. AKERS:   And we're going to play until 1:23.
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1          (Video played.)

2     BY MS. AKERS:

3     Q.   All right.    Was there anything relevant in that clip to

4     your investigation?

5     A.   Yes.   At this time he has now entered the tunnel.

6                 MS. AKERS:   All right.   If we can please pull back up

7     Government Exhibit 707, which is admitted.

8     BY MS. AKERS:

9     Q.   Is this a video that we've already watched during your

10    testimony, sir?

11    A.   Yes.

12                MS. AKERS:   And if we could go to 4:32.

13    BY MS. AKERS:

14    Q.   And can you identify, based on the CCTV footage on the

15    right, what time we're at now?

16    A.   Yes.   We're at 3:15:43 in the afternoon.

17                MS. AKERS:   And can we please play until 4:39,

18    focusing, please, on the right-hand side of the screen.

19         (Video played.)

20    BY MS. AKERS:

21    Q.   Are you able to identify anyone in that video footage?

22    A.   Yes.   Mr. Cook is circled in yellow on the right side of

23    the screen.

24                MS. AKERS:   Can we please play until 4:59.

25         (Video played.)
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1                 MS. AKERS:   And if we could just go a couple frames

2     forward, so we have a better view of the face on the left.

3                 Okay.   We stopped.     We're at 4:59.

4     BY MS. AKERS:

5     Q.   Are you able to identify anyone on the left-hand side of

6     this screen?

7     A.   Yes.   The individual circled in yellow is Mr. Cook.

8     Q.   What time is this?

9     A.   This is 3:16:11 p.m.

10                MS. AKERS:   Can we please continue playing until 7:04.

11         (Video played.)

12    BY MS. AKERS:

13    Q.   We stopped at 7:04.     Is this now 3:18:16 p.m.?

14    A.   Yes.

15                MS. WEST:    Leading.

16                THE COURT:   Rephrase.

17    BY MS. AKERS:

18    Q.   Special Agent Anderson, for the jury, can you please read

19    the screen and tell us what time the CCTV depicts?

20    A.   It is 3:18:16 p.m.

21                MS. AKERS:   Can we please pull up Government

22    Exhibit 705.    And if we could go to 18:30.

23    BY MS. AKERS:

24    Q.   Have we watched this video during your testimony before?

25    A.   Yes.
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1     Q.   Are we now at a later portion in the video?

2     A.   Yes.

3                 MS. AKERS:   If we could play from 18:30 until 19:08,

4     please.

5          (Video played.)

6     BY MS. AKERS:

7     Q.   Just to make it clear for the jury, are you able to

8     identify Mr. Cook in both of these videos?

9     A.   Yes.   On the right side, you can see the individual circled

10    in yellow -- or Mr. Cook is circled in yellow, wearing a black

11    jacket and white shirt, and then circled in yellow on the

12    left-hand side.

13    Q.   We just watched an Exhibit 707 for Mr. Cook's second entry.

14    Is this also his second entry, just different vantage points?

15                MS. WEST:    Objection.   Leading.

16                THE COURT:   Sustained.   Rephrase.

17    BY MS. AKERS:

18    Q.   Can you please describe for the jury whether we're

19    watching -- what video footage we're looking at right now?

20    A.   We're watching the second entry into the tunnel as marked

21    at 3:15:45 p.m.

22    Q.   Thank you.

23                MS. AKERS:   Can we please go until 19:19.

24         (Video played.)

25                MS. AKERS:   Actually, let's continue playing until
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 74 of 284   74

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1     21:05.

2          (Video played.)

3     BY MS. AKERS:

4     Q.   We stopped at 21:05.     What time is this?

5     A.   This is now 3:17:42 p.m.

6     Q.   Are you able to identify Mr. Cook's location on Capitol

7     grounds at this point?

8     A.   Yes.   He is inside the tunnel over near where the police

9     officers are forming a line.

10                MS. AKERS:   Can we play it out until 21:38, please.

11    BY MS. AKERS:

12    Q.   All right.    Special Agent Anderson, have you reviewed

13    additional video footage of Mr. Cook in the tunnel?

14    A.   Yes.

15                MS. AKERS:   Can we please pull up Government

16    Exhibit 711.

17    BY MS. AKERS:

18    Q.   Are you familiar with this video, sir?

19    A.   Yes.

20    Q.   And are you able to identify anyone in the video footage,

21    based on your review?

22    A.   Yes.

23                MS. AKERS:   Can you please play one second.

24         (Video played.)

25                THE WITNESS:   Yes, Mr. Cook's in the middle of the
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 75 of 284   75

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1     screen, circled in yellow.

2                MS. AKERS:    The government moves the admission of 711

3     and the underlying video without the circle, which is 502.

4                MS. WEST:    We have no objection if she can lay a

5     foundation as to where this video came from, Your Honor.

6                THE COURT:    Very well.

7     BY MS. AKERS:

8     Q.   What is the source of this video, sir?

9     A.   It's third-party footage.

10               MS. AKERS:    Government moves the admission of 711 and

11    the underlying video without the yellow circle, 502.

12               THE COURT:    Any objection?

13               MS. WEST:    No objection.

14               THE COURT:    Admitted.

15         (Government's Exhibits 502, 711 received in evidence.)

16               MS. AKERS:    The government also moves the admission of

17    502.1 and 2, which are screenshots from this video.

18               THE COURT:    Any objection?

19               MS. WEST:    No, Your Honor.

20               THE COURT:    Admitted.

21         (Government's Exhibits 502.1, 502.2 received in evidence.)

22               MS. WEST:    May I confer just briefly with Ms. Akers?

23               THE COURT:    Yes.

24         (Off-the-record discussion.)

25               MS. AKERS:    All right.   If we could publish this to
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 76 of 284   76

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1     the jury now that it's admitted.        Pull back to zero seconds and

2     play all the way through, please.

3          (Video played.)

4                 MS. AKERS:   All right.   If we could take that down,

5     please, Ms. Marcelin.

6     BY MS. AKERS:

7     Q.   Special Agent Anderson, based on your investigation, do you

8     know where Mr. Cook went after he exited the tunnel the second

9     time?

10    A.   Yes.   He stayed in the vicinity outside the tunnel.

11                MS. AKERS:   If we could please pull up Government

12    Exhibit 514, which is already in evidence.         And if we could

13    please pull ahead to 4:29.

14                And if we could please play.

15         (Video played.)

16                MS. AKERS:   Stop.   Sorry.   4:30.

17    BY MS. AKERS:

18    Q.   Are you able to identify Mr. Cook?

19                MS. AKERS:   Your Honor, may I confer with counsel for

20    one moment?

21                THE COURT:   Yes.

22         (Off-the-record discussion.)

23    BY MS. AKERS:

24    Q.   Go ahead.    Sorry about that.

25    A.   He is right here in the center.
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1     Q.   You put a circle around sort of the middle of the screen,

2     Mr. Cook with a bald head, correct?

3     A.   Yes.

4     Q.   Thank you.

5                 MS. AKERS:   If we could please play until 4:49.

6     BY MS. AKERS:

7     Q.   But before we do, do you know the timing of this video in

8     relation to the last video we just watched, where Mr. Cook was

9     identified in the tunnel?

10    A.   I believe this was around 3:22 p.m.

11                MS. AKERS:   Can we please play.

12         (Video played.)

13    BY MS. AKERS:

14    Q.   We stopped at 4:49.     And I just want to direct your

15    attention to the area that I'm circling in yellow right below

16    the black-, white- and blue-striped flag.         Okay?

17    A.   Okay.

18                MS. AKERS:   We'll please continue playing until 5:36.

19         (Video played.)

20                MS. AKERS:   All right.   If we could please pull up

21    514.4.

22                While we're pulling that up, the government moves for

23    admission.    It's a clip of that same video, 514.

24                THE COURT:   Any objection?

25                MS. WEST:    May we pick up the phone, Your Honor?
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1          (The following was held sidebar, outside the hearing of the

2     jury:)

3                THE COURT:    Yes.

4                MS. WEST:    I think, Your Honor, that this is -- I

5     think the jury should be told this is a modified version of

6     this exhibit.     This isn't like the original exhibit.        Unless

7     Ms. Akers can say I'm wrong.

8                THE COURT:    What do you mean it's modified?

9                MS. WEST:    It's zoomed in.    It's not the whole

10    picture.

11               THE COURT:    I don't understand.

12               MS. AKERS:    This video footage is filmed on a GoPro.

13    So you can see a wide lens.       This does show the whole thing.

14    There's been no modification.       We did not zoom in or zoom out.

15    All you do is you pull the exhibit to the left or pull it to

16    the right.    There's no zoom on this video exhibit.         It's just a

17    clip.

18               MS. WEST:    May we confer, Your Honor?

19               THE COURT:    Yes.

20         (Off-the-record discussion.)

21         (Sidebar concluded.     The following was held in open court:)

22               MS. WEST:    May we pick up, Your Honor?

23         (The following was held sidebar, outside the hearing of the

24    jury:)

25               MS. WEST:    Our version, which was loaded last night
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 79 of 284        79

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1     from the government, is different than this, and we've agreed

2     that -- we do think this is a blown-up version, which we

3     believe is modified.      But in cross-examination we can show the

4     original version that is not then blown up and modified.             So

5     I'll withdraw my objection based on that.

6                 THE COURT:   Very well.

7          (Sidebar concluded.     The following was held in open court:)

8                 THE COURT:   The exhibit will be admitted.

9          (Government's Exhibit 514.4 received in evidence.)

10    BY MS. AKERS:

11    Q.   All right.    Special Agent Anderson, we're looking at 514.4.

12    Is this a clip of the same video footage that we were just

13    watching in 514?

14    A.   Yes.

15    Q.   And if you will recall, just for context, was this a

16    wide-lens video when it was originally filmed?

17    A.   Yes.

18    Q.   Are you able to, based on the video function or video

19    feature, sort of move the screen to show where you want to see

20    in the video, similar to like a zoom function?

21    A.   Yes.

22    Q.   And is this video footage, 514.4, sort of moved over to the

23    left-hand side of the wider lens?

24    A.   Correct.

25    Q.   And did we do that to make it easier for the jury to see
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 80 of 284    80

      Anderson - DIRECT


1     Mr. Cook?

2                 MS. WEST:    Objection.    Testimony by prosecutor.

3                 THE COURT:   Why did he do it?

4     BY MS. AKERS:

5     Q.   Why did you do that, sir?

6     A.   The frame was moved to show Mr. Cook.        Because it was a

7     wide-view lens, the frame was moved to show where Mr. Cook was.

8                 MS. AKERS:   Can we please play for one second.

9          (Video played.)

10                MS. AKERS:   One more second, please.

11         (Video played.)

12    BY MS. AKERS:

13    Q.   We stopped at two seconds.        Are you able to identify

14    Mr. Cook in Exhibit 514.4?

15    A.   Yes.   I'll circle him on the left-hand of the screen.

16    Q.   All right.    And if you could just continue watching and

17    listening, please.       We'll play.

18         (Video played.)

19    Q.   Based on your review of this video footage, what does the

20    crowd appear to be chanting?

21    A.   Police, stand down.

22                MS. AKERS:   If we could please pull up Government

23    Exhibit 525.

24    BY MS. AKERS:

25    Q.   And sorry, before we do that.       In that last video exhibit
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1     were you able to -- it was sort of the back of Mr. Cook's head

2     or side of Mr. Cook's head.       Were you able to indicate whether

3     it appeared he was also speaking at that time?

4                 MS. WEST:    Objection.   Leading.

5     BY MS. AKERS:

6     Q.   What do you notice, sir, about Mr. Cook in the video

7     footage that we just watched, 514.4?

8     A.   From this angle you can see Mr. Cook's jaw moving.

9     Q.   Can you please -- sorry for interrupting you.

10    A.   I was going to say it's inaudible, exactly what he's

11    saying.

12                MS. AKERS:   Can we please pull up Government

13    Exhibit 525 for the witness.

14    BY MS. AKERS:

15    Q.   Do you recognize this photograph?

16    A.   Yes.

17    Q.   Are you able to identify anyone in the photo?

18    A.   Yes.   Mr. Cook is in the middle, the upper part of the

19    screen in the black jacket, which is who I have circled.

20                MS. AKERS:   The government moves the admission of 525.

21                MS. WEST:    We'd object, Your Honor.

22         (The following was held sidebar, outside the hearing of the

23    jury:)

24                THE COURT:   What's the basis?

25                MS. WEST:    You can see from the photograph where
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1     Mr. Cook is circled, he's not even looking.         And this is

2     Officer Fanone and this is -- he's like one of the most

3     photographed, recognized J6 police officers that there is.           And

4     this is just pile-on by the government to inflame the juror's

5     emotions about, oh, he was there when Fanone was caught by the

6     crowd.   The client had absolutely nothing to do with it.

7     There's no evidence in this photograph that he can even see

8     that he was a cop.

9                THE COURT:    Well, he's in close proximity to him.

10    Now, whether the rest of the -- is this a still shot you say

11    you're introducing after this, or it's going to be a video?

12               MS. AKERS:    It's just a still shot.

13               THE COURT:    Again, I think it goes to weight, not

14    admissibility.     I mean, you can obviously bring out the fact

15    that he doesn't appear to be looking at Fanone and argue

16    whatever you think is appropriate.        But I think considering

17    he's in close proximity to where Fanone is, I think it's

18    irrelevant.    So overruled.

19         (Sidebar concluded.     The following was held in open court:)

20               MS. AKERS:    The government moves the admission of

21    Exhibit 525.

22               THE COURT:    Admitted.

23         (Government's Exhibit 525 received in evidence.)

24    BY MS. AKERS:

25    Q.   Now that we're looking at that with the jury there's a
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 83 of 284    83

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1     green circle in the top middle of the screen.          Can you tell the

2     jury who you put that circle around.

3     A.   That's Mr. Cook.

4     Q.   Are you able to identify, based on your review of this

5     picture, any law enforcement officers?

6     A.   Yes.    There's an MPD officer right in the middle of the

7     screen who I circled.

8     Q.   Based on your review of video footage from January 6, 2021,

9     approximately what location was this taken?

10    A.   This was on the West Front, outside the tunnel.

11                MS. AKERS:   Can we please pull up Government

12    Exhibit 511.

13    BY MS. AKERS:

14    Q.   Have you watched this video footage in preparation for your

15    testimony, sir?

16    A.   Yes.

17    Q.   Approximately what location was this video recorded at?

18    A.   This was, again, on the West Front, just outside the

19    tunnel, to the -- if you were facing the tunnel, it would be to

20    the left of the entrance.

21    Q.   And in relation to when Mr. Cook exited the tunnel the

22    second time, what is the approximate time, based on your review

23    of video footage?

24    A.   3:22.

25                MS. AKERS:   The government moves the admission of 511.
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1                 THE COURT:   Any objection?

2                 MS. WEST:    No objection if there's a foundation, where

3     it came from.

4                 THE COURT:   Very well.

5                 MS. WEST:    And a time, Your Honor.

6     BY MS. AKERS:

7     Q.   Special Agent Anderson, again, can you please testify

8     approximately what time this was filmed, based on your review

9     of video footage.

10    A.   It was approximately 3:22 p.m. and it's from a third-party.

11                MS. AKERS:   The government moves the admission of 511.

12                THE COURT:   Admitted.

13         (Government's Exhibit 511 received in evidence.)

14    BY MS. AKERS:

15    Q.   Looking at 511, Special Agent Anderson, are you able to

16    identify Mr. Cook for the jury?

17    A.   Yes.   I'll circle -- he's in the middle of the screen,

18    circled in green.

19                MS. AKERS:   And if we could please play the full

20    video.

21         (Video played.)

22    BY MS. AKERS:

23    Q.   Base on your review of this video footage are you able to

24    hear the crowd chanting anything?

25    A.   Yes.   They're chanting:     We the people.
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1     Q.   Were you able to notice anything relevant to your

2     investigation about Mr. Cook's face in the video footage?

3     A.   Yes.   Based on my review, it appears that his mouth is

4     moving in unison with the chanting.

5     Q.   After this time period, Special Agent Anderson, when

6     Mr. Cook was outside of the tunnel after the second entry, did

7     Mr. Cook leave the Capitol grounds?

8     A.   No.

9                 MS. AKERS:   If we could please pull up Government

10    Exhibit 715.

11    BY MS. AKERS:

12    Q.   Did you review this video footage in preparation for your

13    testimony, sir?

14    A.   Yes.

15    Q.   Is this also a split screen that shows two different videos

16    side by side?

17    A.   Yes.

18    Q.   What's the source of the right-hand side?

19    A.   This is CCTV footage from inside the tunnel, facing outward

20    to the West Front.

21    Q.   What's the source of the left-hand side?

22    A.   It's a third-party footage.

23    Q.   What's the approximate location of the video footage in

24    Government Exhibit 715?

25    A.   The left-hand side?
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1     Q.   The approximate location of the video footage?

2     A.   It's on the -- at the U.S. Capitol on the West Front of the

3     tunnel.

4                 MS. AKERS:   The government moves the admission of 715,

5     as well as 505, which is the underlying left-hand video.

6                 MS. WEST:    No objection.

7                 THE COURT:   Admitted.

8          (Government's Exhibits 505, 715 received in evidence.)

9     BY MS. AKERS:

10    Q.   All right.    Now that the jury can see that, can you tell us

11    what time the video footage was filmed, as indicated by the

12    CCTV on the right-hand side of the screen?

13    A.   It is 4:50 and 5 seconds p.m.

14    Q.   And for context, approximately how long was this after

15    Mr. Cook exited the tunnel the second time?

16    A.   After the second exit, that was around 3:18 p.m.          And we

17    are now at 4:50 p.m.      So about an hour and a half.

18                MS. AKERS:   And if we could just play one second,

19    please.

20         (Video played.)

21                MS. AKERS:   You can stop.

22    BY MS. AKERS:

23    Q.   At about half a second into the video, are you able to

24    identify Mr. Cook in the left-hand side of the screen?

25    A.   Yes.   He is just above the baseball bat, circled in green.
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1     Q.   You circled Mr. Cook.      The left-hand side of -- the

2     left-hand side of the screen, just above what you identified as

3     a baseball bat.     Can you tell the jury, in relation to the

4     tunnel, where is Mr. Cook standing?

5     A.   If you were to be standing outside on the West Front facing

6     the tunnel, Mr. Cook would be to the right of the entrance.

7                 MS. AKERS:   And if we could please play until 1:07.

8          (Video played.)

9                 MS. AKERS:   All right.   If we could please pull up

10    Government Exhibit 716.

11    BY MS. AKERS:

12    Q.   Did you watch this video in preparation for your testimony?

13    A.   Yes.

14    Q.   Is this also two videos placed be side by side, same time,

15    different vantage point?

16    A.   Yes.

17    Q.   What is the source of the right-hand video?

18    A.   On the right, it's the same CCTV footage from inside the

19    Capitol -- or sorry, inside the tunnel on the West Front.

20    Q.   What's the source of the left-hand side?

21    A.   It's a third-party.

22    Q.   What time is this showing?

23    A.   This is 5:02:23 p.m.

24                MS. AKERS:   The government moves the admission of 716,

25    as well as 506, which is the base video for the left-hand side
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 88 of 284      88

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1     of the screen.

2                 MS. WEST:    No objection.

3                 THE COURT:   Admitted.

4          (Government's Exhibits 506, 716 received in evidence.)

5     BY MS. AKERS:

6     Q.   Now, that we're looking at this with the jury, if we look

7     on the left-hand side of the screen, are you able to identify

8     where the tunnel is from this video footage?

9     A.   Yes.   On the left-hand side you can see there's some wood

10    and it creates an arch.      And that is the entrance of the tunnel

11    that we see on the right-hand side.

12                MS. AKERS:   If we could play one second, please.

13         (Video played.)

14                MS. AKERS:   Can we put back to zero, actually, and

15    play one second.

16         (Video played.)

17    BY MS. AKERS:

18    Q.   Are you able to identify where Mr. Cook is in this video

19    footage?

20    A.   Just saw him pop up briefly.        But he was right here to the

21    right of the tunnel.

22                MS. AKERS:   And if we could please play until 1:04.

23         (Video played.)

24                MS. AKERS:   Stop.

25    BY MS. AKERS:
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1     Q.   Just for identification purposes, we're at 11 seconds.          Are

2     you able to more clearly identify Mr. Cook now that it's zoomed

3     up a little?

4     A.   Yes.   I'll circle in green to the right of the tunnel.

5     Q.   And in relation to the tunnel?

6     A.   He's standing outside to the right of it.

7                 MS. AKERS:   All right.   Now can we please play until

8     1:04.

9          (Video played.)

10    BY MS. AKERS:

11    Q.   We stopped at 1:04.     And what time is this now, Special

12    Agent Anderson?

13    A.   It's now 5:03:27 p.m.

14    Q.   Why is the video footage from 5:03:27 p.m. relevant to your

15    investigation of Mr. Cook?

16    A.   It shows that Mr. Cook stayed in the vicinity outside the

17    tunnel while the police were being assaulted.

18                MS. AKERS:   Thank you.   No further questions.

19                THE COURT:   Cross-examination.

20                MS. WEST:    Yes, Your Honor.

21                               CROSS-EXAMINATION

22    BY MS. WEST:

23    Q.   Good afternoon, Special Agent Anderson.

24    A.   Good afternoon.

25    Q.   Almost, not quite.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 90 of 284         90

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1          So you testified you've been an agent three years?

2     A.   Yes.

3     Q.   And before that you were a police officer in Anne Arundel

4     County?

5     A.   Yes.

6     Q.   And how long were you an officer in Anne Arundel?

7     A.   About five years.

8     Q.   That's close to here, right?

9     A.   Yes.   It's over in Maryland.

10    Q.   All right.    So I want to talk about what an FBI agent does.

11    And you're the case agent here, right?

12    A.   Correct.

13    Q.   You're not the original case agent in this case, are you?

14    A.   No.

15    Q.   There was somebody else and that person retired and you

16    took over the case?

17    A.   After that person retired, another agent took over.             And

18    then I have ultimately got the case.

19    Q.   So there's a couple agents in between?

20    A.   Yes.

21    Q.   So as part of your job at the case agent, you're in charge

22    of the investigation for the entire case?

23    A.   Correct.

24    Q.   So what you would have done is you would have reviewed what

25    that first agent did, right?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 91 of 284   91

      Anderson - CROSS


1     A.   Yes.

2     Q.   And you would have reviewed what that second agent did?

3     A.   Yes.

4     Q.   And then what you would have done is you would have talked

5     to them about what they thought about the case?

6     A.   Yes.

7     Q.   And what they thought about Mr. Cook?

8     A.   Correct.

9     Q.   And whether or not they had spoken with Mr. Cook?

10    A.   Yes.

11    Q.   Right.   And Mr. Cook's demeanor?

12    A.   Yes.

13    Q.   Right.   And you would have notated that in your file, would

14    you not?

15    A.   If I had spoken to other agents about it?

16    Q.   Yes.

17    A.   On some occasions, yes.

18    Q.   So on some occasions you spoke to them but you didn't

19    notate it?

20    A.   Correct.

21    Q.   Now, as a federal FBI agent, wouldn't you agree with me

22    that it's just as important to investigate whether or not a

23    person is guilty as whether or not that person is also

24    innocent?

25                MS. AKERS:   Objection.
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1          (The following was held sidebar, outside the hearing of the

2     jury:)

3                MS. AKERS:    Judge, this is misleading.      The FBI makes

4     referrals to the prosecutor's office, who makes determinations.

5     He just collects evidence.       This is entirely misleading to the

6     jury.

7                THE COURT:    Yeah, what's the basis?      I mean, I think

8     that's correct.     They don't make a determination as to whether

9     someone's guilty or innocent.        They collect evidence and

10    present it to the prosecutor, who then makes the determination

11    as to whether someone should be charged.

12               MS. WEST:    I'll rephrase my question about collecting

13    evidence of innocence as well as collecting evidence of guilt.

14               MS. AKERS:    That's still misleading because that's not

15    his function to determine innocence or guilt.

16               MS. WEST:    It's every federal agent's function.

17               THE COURT:    I've never heard that they have an

18    obligation.    They collect evidence.      I don't think they are,

19    you know, making the determination as to whether that evidence

20    indicates guilt or indicates innocence.         They collect all

21    evidence that's relevant to the case.        I'll sustain the

22    objection.

23               MS. WEST:    All right.

24         (Sidebar concluded.     The following was held in open court:)

25    BY MS. WEST:
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1     Q.   So you engaged in your investigation.        When did you start?

2     A.   When did I start the investigation?

3     Q.   Yes.

4     A.   I can't recall the exact date that I took over the case.

5     Q.   Can you give us a year?

6     A.   Probably early 2022.

7     Q.   Okay.    And one of the things the FBI does and that they're

8     really good at is surveillance; is that right?

9     A.   Yes.

10    Q.   So you had the case in early 2022, all of 2023 and now

11    several months of 2024, right?

12    A.   Correct.

13    Q.   In all that time, you figured out where Mr. Cook lived in

14    Florida, right?

15    A.   Yes.

16    Q.   In that all time, you only did surveillance one time?

17    A.   Yes.

18    Q.   The surveillance you did of Mr. Cook, how long did that

19    last?

20    A.   It was not very long.

21    Q.   Right.   And you didn't see any other need to continue

22    surveillance of Mr. Cook?

23    A.   I saw he had exited his apartments, which when I verified

24    that's where he was still living based on the Florida driver

25    records.
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      Anderson - CROSS


1     Q.   Right?

2     A.   And then I left the vicinity.

3     Q.   Right?   And that's what you do as an agent?

4     A.   Yes.

5     Q.   You didn't have any other reason that you knew of to

6     surveille him for any other reason?

7     A.   Other than verifying that the Florida records were

8     up-to-date, no, not that day.

9     Q.   Now, you know Mr. Cook contacted the FBI on his own; isn't

10    that right?

11    A.   Yes.

12    Q.   And he did it by calling the FBI main number; is that

13    right?

14    A.   Correct.

15    Q.   And they gave him instructions on where to show up, did

16    they not?

17    A.   Yes.

18    Q.   And he showed up there like he was told?

19    A.   Yes.

20    Q.   On his own, right?

21    A.   Yes.

22    Q.   Because he wanted to share his story with you, right?

23    A.   Not with me but with another agent.

24    Q.   With your agency?

25    A.   Yes.
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1     Q.   As it turns out, he was given wrong information and was

2     told to go back home and call back?

3                 MS. AKERS:   Relevance.

4          (The following was held sidebar, outside the hearing of the

5     jury:)

6                 THE COURT:   Relevance.

7                 MS. WEST:    It goes to show that what he -- I'm

8     challenging his investigation in the case, in the FBI's

9     investigation, and the missteps that they made.

10                THE COURT:   But you said he was given wrong

11    information.    What relevance does that have?        What information

12    was that and what relevance is it?

13                MS. WEST:    He was on a wanted poster from the FBI and

14    he turned himself in and he called and turned himself in to the

15    place he was sent to turn himself in, and it was the wrong

16    place.   So he had to go back.

17                THE COURT:   How is that wrong information if he showed

18    up at the wrong location?

19                MS. WEST:    Well, I'll move on and say --

20                THE COURT:   Okay.

21         (Sidebar concluded.     The following was held in open court:)

22    BY MS. WEST:

23    Q.   So Mr. Cook, finally, he comes to your office or somebody's

24    office -- the PD's office in Boca Raton?

25    A.   Yes.
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1     Q.   In Florida?

2     A.   Correct.

3     Q.   Because that's where Agent Stickny told him to go?

4     A.   Yes.    That was within the vicinity of the West Palm Beach

5     office.

6     Q.   You were the agent at that time?

7     A.   At the time when the interview was conducted?

8     Q.   Yes.

9     A.   I believe I may have been in the training academy.

10    Q.   So you were not the agent at that time?

11    A.   No, I did not have the case at this time.

12    Q.   Okay.   So later on you become the case agent?

13    A.   Correct.

14    Q.   And you start building your case?

15    A.   Yes.

16    Q.   Is that right?

17    A.   Yes.

18    Q.   And you reviewed several of these videotapes?

19    A.   Correct.

20    Q.   And we're going to get to those in a minute.         But I want to

21    talk about some of the testimony that you had with Ms. Akers.

22         We started with the government's exhibit about the mayor's

23    curfew.     Do you remember that?

24    A.   Yes.

25    Q.   You talked about Safeway stores, Government's Exhibit 117
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1     and 117.2 and the three pages of statistics of how Safeway had

2     a problem and closed their store at 4:00?

3     A.   Yes.

4     Q.   All right.    You said -- you testified, sir, that Safeway

5     had stores in other states; is that right?

6     A.   Yes.

7     Q.   How many stores for Safeway are there in the D.C. area,

8     D.C. itself, the city?

9     A.   I don't recall the exact number off the top of my head.

10    Q.   Okay.   Did you visit any of these Safeway stores to ask

11    about their business and why they closed at 4:00 or any of

12    those reasons?

13                MS. AKERS:   Objection.

14         (The following was held sidebar, outside the hearing of the

15    jury:)

16                MS. AKERS:   Special Agent Anderson is not permitted to

17    testify about any of this.       He's permitted to look at the

18    document because of Ms. West's objection, and now she's asking

19    him questions about Safeway that she is precluded from doing.

20                MS. WEST:    That's not true.   He testified about there

21    was a loss this day, there was a loss that day.          He testified

22    all about the documents.

23                THE COURT:   Yeah, that's true.     But you're requesting

24    about the document that you objected to anything beyond that.

25    So how are you now appropriately going into an area that you
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 98 of 284      98

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1     said the government should not have been able to go into,

2     because I restricted his testimony to what's in the document.

3                  MS. WEST:    I can challenge his investigation of the

4     case, of course.

5                  THE COURT:   I understand, but if you wanted to go into

6     this area then why did you object to the government pursuing

7     it?   All he did was testify as to the document.         That's all the

8     jury has before them.       That's the scope of his testimony.

9                  If you want to call him in your own case to open it

10    up, that's another thing.         But the scope of his testimony only

11    relates to the document that's before the jury right now.

12                 MS. WEST:    Okay.   I'll call him in my case, Your

13    Honor.

14                 THE COURT:   Very well.

15          (Sidebar concluded.     The following was held in open court:)

16    BY MS. WEST:

17    Q.    I have a question about the document that we were just

18    talking about, Government Exhibit 117.2.         Do you remember those

19    three pages?

20    A.    Yes.

21    Q.    In the bottom line it says there was a 52-week time span in

22    it?

23    A.    Correct.

24    Q.    Now, in January of 2020, you would agree with me that we

25    were not in a COVID lockdown, were we?
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1                 THE COURT:   January 2020?

2                 MS. WEST:    Yes, sir.

3                 THE COURT:   Okay.

4                 MS. AKERS:   Foundation.

5                 MS. WEST:    We'll pull up the document.

6                 I don't see a sticker.     Oh, here it is.    That's not

7     right.   Oh, Exhibit 117.2.      Thank you, Ms. Cubbage.

8     BY MS. WEST:

9     Q.   All right.    Is this the exhibit, sir, that's entered into

10    evidence already, Government Exhibit 117.2?

11    A.   Yes.

12                MS. WEST:    Ms. Cubbage, if you'd go to the next page.

13    BY MS. WEST:

14    Q.   Doesn't it say at the bottom there:        Identical same store

15    sales, same day, 52 weeks apart?

16    A.   Yes.

17    Q.   What would those 52 weeks be, from that date to what date?

18    A.   Fifty-two weeks is one year.       So one year prior to the date

19    listed in the upper left of the charts.

20    Q.   So wouldn't you -- wouldn't you agree with me that on

21    January 6th of 2020 we were not in a COVID lockdown?

22                MS. AKERS:   Objection.

23         (The following was held sidebar, outside the hearing of the

24    jury:)

25                THE COURT:   Yes.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 100 of 284       100

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1                  MS. AKERS:   On relevance grounds.     On foundation as to

2      the state of D.C. COVID lockdown.       Again, he's being asked to

3      interpret and draw conclusions from this document, which was

4      precluded by the government.       He was only allowed to read

5      directly from the document on direct examination.

6                  THE COURT:   There's a suggestion that there was a

7      lockdown at some point?      Was there ever a lockdown by the City

8      regarding COVID?

9                  MS. WEST:    Yes, sir, there was.

10                 MS. AKERS:   I don't know how this witness, who doesn't

11     live in Washington, D.C., has any foundation to testify to

12     that.

13                 THE COURT:   I would tend to agree with that.       Unless

14     he was here and knew about it, I would tend to agree.           If he

15     was down in Florida or at the training academy or wherever he

16     was, I don't know how he would have any knowledge of that.

17                 MS. WEST:    All right.

18                 THE COURT:   I'll sustain the objection.

19          (Sidebar concluded.     The following was held in open court:)

20     BY MS. WEST:

21     Q.   On January 6th, of 2021, sir, you've watched a lot of the

22     videos and a lot of people are wearing masks; is that right?

23     A.   Yes.   I saw some masks.

24     Q.   Wouldn't you agree with me that the reason people were

25     wearing masks on January 6th of 2021 is because we were
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1      experiencing COVID?

2                  MS. AKERS:   Objection.

3                  THE COURT:   Sustained.

4                  MS. WEST:    Okay.   We'll move on, Your Honor.

5                  Ms. Cubbage, I don't need this exhibit anymore.

6      BY MS. WEST:

7      Q.   Where did you get your BOLO from?       Do you know how that was

8      created?

9      A.   The -- when you say get the BOLO, do you mean --

10     Q.   Be on the lockout.     You testified, sir, that you handle all

11     investigative leads and recreated a BOLO.

12     A.   Are you referring to the actual photo?

13     Q.   Yes.

14     A.   The photo came from videos of the events of the day.

15     Q.   And you said you conducted open-source investigation?

16     A.   As in we, the FBI?

17     Q.   Yes.

18     A.   Yes.

19     Q.   Please explain to the jury what open-source is.

20     A.   Sure.   Open-source is typically referred to any sort of

21     program that anybody has access to.        It's not specific to law

22     enforcement.

23     Q.   So in other words, anybody who was anywhere can do a

24     videotape with their iPhone or with a GoPro and that's

25     considered an open-source video?
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1      A.   Yes.

2      Q.   Am I right about that?

3      A.   Are you referring to the video or --

4      Q.   Yes.   Any video, any open-source video.       I'm just asking

5      you where it comes from.

6      A.   The videos are third-party, from a third-party individual.

7      Q.   Right.   So it's non-law enforcement?

8      A.   Correct.

9      Q.   And where do you get those third-party videos?

10     A.   They can be obtained many different ways, through people

11     sending them in for tips, posting them online, YouTube, social

12     media, we can pull from there, or seized as evidence as part of

13     another investigation.

14                 MS. WEST:    Ms. Cubbage, can you bring up Government

15     Exhibit 508, please.

16     BY MS. WEST:

17     Q.   Now, sir, this is a government exhibit that is in evidence.

18                 MS. WEST:    May I confer with Ms. Akers?

19                 THE COURT:   Yes.

20          (Off-the-record discussion.)

21                 MS. WEST:    Thank you, Ms. Cubbage.

22     BY MS. WEST:

23     Q.   Now, do you remember testifying about this video, sir?

24                 MS. WEST:    It can be published to the jury.

25                 THE COURT:   Is this in evidence?
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1                MS. WEST:    Yes, sir.

2                THE COURT:    Very well.

3                MS. WEST:    Yes, I've confirmed it with the government.

4                And if you would, Ms. Cubbage, move it to 15 seconds.

5                Thank you.

6           (Video played.)

7                MS. WEST:    Okay.   Stop.   Thank you.

8      BY MS. WEST:

9      Q.   Now, can you tell me, sir, what this timeframe was?

10     A.   I believe this was at 3:20 -- I believe it was 3:22.

11               MS. WEST:    Government Exhibit 508.

12     BY MS. WEST:

13     Q.   All right.   You testified, sir, that Mr. Cook --

14               MS. WEST:    We're going to go to a different exhibit.

15     I apologize.    Government Exhibit 705, which is in evidence,

16     Your Honor.    Just to confirm with Ms. Akers.

17               THE COURT:    Is that in evidence?

18               MS. WEST:    It is, sir.

19               THE COURT:    Very well.

20               MS. WEST:    I'm sorry, Your Honor.      It takes a while

21     for it to load.

22               THE COURT:    Let's go ahead and take our ten-minute

23     break now and come back at noon.

24          (Jury exits the courtroom at 11:47 AM)

25          (A recess was taken at 11:47 AM)
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1                MS. WEST:    May I be heard, Your Honor?

2                THE COURT:    Yes.

3                MS. WEST:    We're going to call him in our case mostly.

4      So I have very little left with him.

5                THE COURT:    Very well.

6                MS. AKERS:    A quick scheduling matter, Your Honor.       If

7      we were to finish Special Agent Anderson before lunch, our next

8      witness, Officer Forrester, worked a night shift and is

9      sleeping.   I told him we would call him right after lunch.

10     Would it be okay just to adjust our lunch a little bit earlier?

11               THE COURT:    Very well.

12               MS. AKERS:    Thank you.

13         (Jury enters the courtroom at 12:00 PM)

14               MS. WEST:    If you would be kind enough, Ms. Cubbage,

15     to bring up 705.

16               If you would, Ms. Cubbage, go to 3:08 p.m. and

17     41 seconds on the bottom screen timeline.

18               This has already been admitted into evidence, Your

19     Honor.

20               THE COURT:    Very well.

21               MS. WEST:    3:08 p.m. and 41 seconds.

22         (Video played.)

23               MS. WEST:    That's not 3:08, Ms. Cubbage.

24         (Video played.)

25     BY MS. WEST:
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1      Q.   All right.     Do you remember testifying about Government

2      Exhibit Number 705, sir?

3      A.   It's hard to recall the exact numbers.

4      Q.   Well, if you look at the exhibit on your screen it says 705

5      on the bottom.

6      A.   If you were to play more, I'd probably recognize some of

7      the scenes in the crowd.

8                  MS. AKERS:   Your Honor, may I confer with counsel?      I

9      think there's a confusion.

10                 THE COURT:   Yes.

11          (Off-the-record discussion.)

12                 MS. WEST:    May I confer with Ms. Cubbage for a moment?

13          (Off-the-record discussion.)

14                 MS. WEST:    If you would, Ms. Cubbage, go ahead and

15     play that.

16          (Video played.)

17                 MS. WEST:    May I confer with Ms. Cubbage again, Your

18     Honor?

19          (Off-the-record discussion.)

20                 MS. WEST:    I'm sorry for that confusion, Your Honor.

21                 Okay.   13:08, for the record, seconds.

22     BY MS. WEST:

23     Q.   Do you see Mr. Cook in this?

24     A.   Yes.

25                 MS. WEST:    Go ahead and play, Ms. Cubbage.
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1           (Video played.)

2                  MS. WEST:    Stop, Ms. Cubbage.

3      BY MS. WEST:

4      Q.   Now, you'd agree with me that Mr. Cook doesn't speak with

5      anyone, does he?

6      A.   At this moment, no.        I don't see him.

7      Q.   And he is just watching people come out of the tunnel;

8      would you agree with me?

9      A.   Yes.

10                 MS. WEST:    Okay.   Go ahead.

11          (Video played.)

12                 MS. WEST:    Stop, Ms. Cubbage.   Thank you.

13                 MS. AKERS:   Can we please note the timestamp for the

14     record.

15                 MS. WEST:    Yes.    I'm doing it right now.

16                 13:26, for the record, the bottom timestamp.

17     BY MS. WEST:

18     Q.   Do you see that, Special Agent Anderson?

19     A.   The timestamp?

20     Q.   Yes.

21     A.   Yes.   The timestamp at the bottom of the video is 13:26.

22     Q.   Do you see Mr. Cook in the picture?

23     A.   Yes.

24     Q.   What is Mr. Cook holding?

25     A.   Some sort of a drink.
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1      Q.   All right.    Now, do you recall, there were several -- we

2      continued to watch this same video.        There were several people

3      shouting and the government played it really loud and you

4      testified that they were shouting "we the people," right?            You

5      have to say out loud for the court reporter.

6      A.   Yes, sorry.

7      Q.   "Almost through," right?

8      A.   Yes.

9      Q.   "We need fresh people," right?

10     A.   Yes.

11     Q.   "Our house"?

12     A.   Yes.

13     Q.   Did you ever send in this video to your people in Quantico

14     ask them to enhance it or to see if Mr. Cook ever said anything

15     like that on this video?

16     A.   No.

17     Q.   None of those voices were Mr. Cook's, were they?

18                 MS. AKERS:   Objection.   Foundation.

19                 THE COURT:   If he knows.   Were you able to tell

20     whether any of those voices were Mr. Cook's.

21                 THE WITNESS:   I'm unable to tell, no.

22     BY MS. WEST:

23     Q.   You've heard Mr. Cook's voice before, right?

24     A.   Yes.   We've spoken.

25     Q.   So you know what he sounds like?
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1      A.   I probably wouldn't be able to pick him out of a crowd.

2      Just in the few phone calls we've had.

3      Q.   But you didn't send any of this video -- there is a

4      division at the FBI that allows you to send videos, right?

5      A.   Yes.

6      Q.   And audiotapes, right?

7      A.   Yes.

8      Q.   And what they do, those people at the FBI, is they're

9      experts in enhancing these videos so that they're easier to

10     hear, right?

11     A.   I don't work in that division.      I don't know the exact

12     capabilities that they can do with the videos.

13     Q.   But you're taught that when you go to Quantico to become an

14     agent, right?

15                 MS. AKERS:   Objection.

16          (The following was held sidebar, outside the hearing of the

17     jury:)

18                 THE COURT:   Do you have a good-faith basis that agents

19     are taught that when they're going through basic training?           I

20     don't know if that's the case or not.        But if you have a

21     good-faith basis for it.      I don't know if they're taught that

22     or not.

23                 MS. WEST:    Here's my good-faith basis.     I was a

24     federal prosecutor for nine years and worked with the FBI all

25     nine years.    I'm married to a DEA agent who was an instructor
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1      at Quantico.    So I have a good-faith basis for it, based on my

2      own personal knowledge and my experience as a criminal lawyer.

3                  MS. AKERS:   He just testified, Your Honor, that he

4      doesn't work in that division and he doesn't know.

5                  THE COURT:   She can ask him if they did any training

6      of that nature when he went through basic.         Overruled.

7           (Sidebar concluded.     The following was held in open court:)

8      BY MS. WEST:

9      Q.   When you went through your basic training to become an FBI

10     agent at Quantico, didn't they teach you about these

11     specialized divisions that they had there?

12     A.   There are dozens upon dozens of divisions.

13                 MS. WEST:    Objection.   Nonresponsive.

14                 THE COURT:   Be more specific.    You're not asking about

15     general; you're asking about this particular issue.          So be more

16     specific.

17     BY MS. WEST:

18     Q.   Did you have specific training when you were in basic

19     training at Quantico about a section at Quantico, a specialized

20     section that enhances videotapes and audiotapes?

21     A.   Yes.   I believe we got a small section.       I believe that's

22     our CART team.

23     Q.   It's called a CART team, right?

24     A.   Yes.   They typically handle anything with

25     technology-related items.
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1      Q.    You testified a lot about what Mr. Cook was doing in these

2      videos but you never sent any of these videos or audiotapes to

3      that CART team at Quantico for enhancement, did you?

4      A.    I did not.

5      Q.    So based on that, it's fair for me to say and ask you, you

6      don't know what Mr. Cook heard or didn't hear in all these

7      videos?

8      A.    In this specific video?

9      Q.    No.   All the videos you've testified about today.        It's

10     fair for me to ask and say, you don't know what Mr. Cook, in

11     fact, heard, do you?

12     A.    Heard?

13     Q.    Heard.

14     A.    I can make out what people are saying in the crowd.

15     Q.    That's not my question.    My question is:     You don't know

16     what, in fact, Mr. Cook heard, do you?

17     A.    I can't say exactly what he heard throughout the day.

18     Q.    Okay.

19                 MS. WEST:    Ms. Cubbage, is it possible to bring up

20     Government Exhibit 707.      Thank you.

21                 I hope we get this right, Your Honor.

22                 Ms. Marcelin, would it be easier for you to bring it

23     up?   It seems like your system is faster --

24                 Oh, Your Honor, may I talk to Ms. Marcelin?

25                 THE COURT:   Yes.
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1                  MS. WEST:    Thank you.

2                  Could you go to 4:59, bottom timestamp 4:59.

3           (Video played.)

4                  MS. AKERS:   Objection.    Objection.

5           (The following was held sidebar, outside the hearing of the

6      jury:)

7                  MS. AKERS:   This is an old exhibit.     The government

8      has forwarded new exhibits without Defendant Sarsfield after he

9      was severed from the case.      We can pull it up for you, but

10     please direct Ms. Marcelin to do so.

11                 THE COURT:   Very well.

12          (Sidebar concluded.     The following was held in open court:)

13                 MS. WEST:    Your Honor, may I speak to Ms. Marcelin?

14                 THE COURT:   Yes.

15                 MS. WEST:    Ms. Marcelin, would you be kind enough to

16     bring up Government Exhibit 707.

17     BY MS. WEST:

18     Q.   While we're waiting, sir.        Do you remember testifying --

19     and we saw it a little earlier -- about this particular

20     exhibit?

21     A.   If 707 has already been admitted --

22     Q.   Yes, it has.

23     A.   Yes.

24     Q.   And you testified about the first entrance that Mr. Cook

25     made into the tunnel.      Do you remember that?
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1      A.   Yes.

2      Q.   And you testified about the second entrance that he made

3      into the tunnel?

4      A.   Yes.

5      Q.   We saw where Mr. Cook was in the tunnel?

6      A.   Yes.

7      Q.   With reference to the police officers at the first set of

8      brass doors.    Do you recall that?

9      A.   Yes.

10     Q.   Is it true that Mr. Cook is five feet six inches tall?

11     A.   I believe on his driving record it's actually five-seven.

12     Q.   Five-seven, okay.

13     A.   Yes.

14     Q.   Wouldn't you agree with me that several of the people in

15     front of Mr. Cook and behind Mr. Cook are at least six feet

16     tall?

17                 MS. AKERS:   Objection.   Foundation.

18                 THE COURT:   If he's able to say.

19                 Are you able to say what the height of those

20     individuals were?

21                 THE WITNESS:   I can't say specifically.

22     BY MS. WEST:

23     Q.   Without going through each of the exhibits that you

24     testified about, wouldn't you agree with me that there were

25     several people in front of Mr. Cook that were taller than he?
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1                  MS. AKERS:   Objection.   Foundation.

2                  THE COURT:   If he's able the say based upon what he

3      observed.

4                  THE WITNESS:   There are some people that appear to be

5      taller.

6      BY MS. WEST:

7      Q.   Isn't it true, from the same standpoint, that there were

8      people behind Mr. Cook that were taller than he?

9      A.   Yes.

10                 MS. WEST:    If you would, Ms. Marcelin, go to minute

11     4:59 on the bottom timestamp.

12     BY MS. WEST:

13     Q.   Sir, if you would direct your attention to the right-hand

14     part of the screen.

15                 MS. WEST:    And Ms. Marcelin, I'll ask you to stop at a

16     certain time.    Go ahead and play, Ms. Marcelin, if you would,

17     at 4:59.

18          (Video played.)

19                 MS. WEST:    Stop.

20     BY MS. WEST:

21     Q.   Do you see, sir, if I circle on the right-hand part of the

22     screen this fellow behind, it appears that he's, in fact,

23     pushing the person in front of him; is that correct?

24                 MS. AKERS:   Objection.

25                 THE COURT:   Pick up.
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1           (The following was held sidebar, outside the hearing of the

2      jury:)

3                  THE COURT:   I mean, you did object to the government

4      being able to indicate what your client appeared to be doing,

5      but now you seem to be doing the same thing you didn't want

6      them to do.

7                  MS. WEST:    I'm only correcting -- as the Court can

8      see, I hardly did any of the exhibits.        I'm only correcting

9      what was done by the government.       I'll go in a different way,

10     Your Honor.

11                 THE COURT:   Very well.

12          (Sidebar concluded.     The following was held in open court:)

13     BY MS. WEST:

14     Q.   Do you see that individual circled in yellow?

15     A.   Yes.

16     Q.   In fact, it appears that this is one of people that is

17     taller than Mr. Cook; is that right?

18     A.   In this frame, I know Mr. Cook just ducked down a second.

19     I can't say for sure based on this image if he's taller or not.

20     Q.   You'd agree with me that there's a lot of shoving and

21     pushing by individuals in that tunnel on the right-hand side of

22     the screen; is that right?

23     A.   Yes.

24     Q.   Okay.   Now, Government Exhibit 14, you testified about, and

25     we talked about secondary or third-person sources.          One was a
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       Anderson - CROSS


1      GoPro video; is that right?

2      A.   I don't know if it was recorded on a GoPro specifically.

3      There are many different types of devices that people were

4      probably using that day.

5      Q.   Okay.   All right.   Now, with regard to your investigation

6      about the Capitol as a whole, the grounds, not the Capitol

7      building itself but the grounds, you would agree with me that

8      there are CCTV cameras everywhere; is that right?

9      A.   I believe there's a good coverage of cameras on the

10     Capitol.

11     Q.   Specifically drawing your attention to the west lawn, when

12     did Mr. Cook first appear on the west lawn?

13     A.   On the west lawn, I'm not sure exactly what time he

14     appeared on the west lawn.

15     Q.   Why is that?

16     A.   What area are you referring to as the lawn?         Is it outside

17     of the --

18     Q.   Well, it's the lawn.     It's on the west side of the Capitol.

19     If you're looking at the tunnel, it would be down -- way

20     farther down -- you've been sitting here the whole trial,

21     right?   And do you remember Officer Loyd talking about,

22     perhaps, five football fields down?        Do you remember that?

23     A.   Yes.

24     Q.   So that would be the area of the west lawn.         Do you recall

25     when he came on the west lawn?
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       Anderson - CROSS


1      A.   On the lawn, no --

2                  THE COURT:   I think the -- when was the first time,

3      based upon what you observed regarding the videos, that you

4      first saw him on the west lawn?

5                  MS. WEST:    That's the question.

6                  THE WITNESS:   Okay.   Earliest time I know that

7      Mr. Cook was identified on the grounds was 3:05 p.m.

8      BY MS. WEST:

9      Q.   Where was he then?

10     A.   He was on the -- just outside the tunnel.

11     Q.   So you've been sitting here while everyone else has

12     testified, so you've heard it, right?

13     A.   Yes.

14     Q.   So at 3:05 p.m., this riot is in full steam, right?

15     A.   There was a riot occurring, yes.

16     Q.   The Capitol's been breached -- the Capitol building itself

17     has been breached.       There's tens of thousands if not a hundred

18     thousand people on the lawn of the Capitol, right?

19                 MS. AKERS:   Foundation.

20                 THE COURT:   Excuse me?

21                 MS. AKERS:   Foundation.

22                 THE COURT:   Do you have an estimate as to how many

23     people, based upon your observations, were on the west lawn?

24                 THE WITNESS:   Based on what I've seen, I would say

25     maybe tens of thousands.
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1      BY MS. WEST:

2      Q.   So did you, as part of your investigation, look through all

3      those videos that would have been around the Capitol to find

4      Mr. Cook?

5      A.   Sorry, can you ask that again?

6      Q.   I'm sorry, sir?

7      A.   Can you ask that again?

8      Q.   Sure.   So as part of your investigation did you look at

9      many, many videos in an attempt to find where Mr. Cook entered

10     the grounds?

11     A.   When I took over the case, all of the videos that had

12     already been identified were already handed to me.

13     Q.   So you didn't do any additional investigation to find out

14     how Mr. Cook got on the Capitol grounds?

15     A.   No.

16     Q.   Or where he got on the Capitol grounds?

17     A.   No.

18     Q.   Which wouldn't that be really important to your

19     investigation?    Because the allegation is that he's on

20     restricted property; isn't that right?

21     A.   Yes.

22     Q.   But you didn't do any additional investigation?

23     A.   Because we already had videos that he was shown in the

24     tunnel.

25     Q.   Okay.   Okay.   So it's your testimony that the first time he
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       Anderson - REDIRECT


1      shows up is at 3:05 p.m.; is that right?

2                THE COURT:    He said the first time he saw him on a

3      video was that time.

4                MS. WEST:    Right.

5                THE WITNESS:     Yes.   The first time I am aware of him

6      being on video is at 3:05.

7      BY MS. WEST:

8      Q.   As part of your investigation, did you look at part of

9      the -- some of the flyers that were sent on social media about

10     inviting people to the Capitol for January 6th?

11     A.   I've seen some.

12     Q.   Did you look them up as part of your investigation?

13     A.   Specifically this one?       No.

14     Q.   Okay.   All right.

15               MS. WEST:    All right.       We'll pass the witness subject

16     to recall, Your Honor.

17               THE COURT:    Redirect.

18                               REDIRECT EXAMINATION

19     BY MS. AKERS:

20     Q.   Just briefly, Special Agent Anderson.        I'm going to pull up

21     for you Government Exhibit 508, please, which is in evidence.

22          Now, Ms. West pulled this video up for you and then took it

23     down and asked you what timestamp the video was, and you said

24     you believed it was at 3:22 p.m.         Was that your testimony based

25     on her --
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       Anderson - REDIRECT


1                MS. WEST:    Objection.    Leading.

2      BY MS. AKERS:

3      Q.   Quick flash of this video?

4                THE COURT:    Overruled.

5                Yes.

6                MS. AKERS:    If we could actually play the video,

7      please, until six seconds.

8           (Video played.)

9      BY MS. AKERS:

10     Q.   And we stopped at six seconds.      Now that we've had a chance

11     to stop and look at what you're being shown --

12               MS. WEST:    Objection, Your Honor.

13     BY MS. AKERS:

14     Q.   -- are you able --

15               MS. WEST:    May we use the phones, please?

16          (The following was held sidebar, outside the hearing of the

17     jury:)

18               THE COURT:    Yes.

19               MS. WEST:    This Court's standing order says that

20     counsel should not make attacks on opposing counsel.          This is

21     clearly an attack on me.       Now that you've been able to see --

22     it's just uncalled for and I object to it.

23               THE COURT:    I don't see it as an attack on you.          Are

24     you saying she can't say anything about what you thought to do

25     on cross-examination?
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       Anderson - REDIRECT


1                  MS. WEST:    No, I'm not saying that.

2                  THE COURT:   How is this an attack on you?

3                  MS. WEST:    Now that you've been able to see it, she

4      stopped, she pulled it quickly before you were able to answer.

5      I think that that's an attack on what I did.         But if the Court

6      doesn't think so, then it's irrelevant.

7                  THE COURT:   I'll overrule the objection.

8           (Sidebar concluded.     The following was held in open court:)

9      BY MS. AKERS:

10     Q.   All right.   Now that we're stopped here at six seconds, are

11     you able to identify anyone in this video footage?

12     A.   Yes.   There's Mr. Cook, who I'm circling at the bottom of

13     the screen in the black jacket.

14                 MS. AKERS:   Let's play now the remainder of this video

15     exhibit, please.

16          (Video played.)

17     BY MS. AKERS:

18     Q.   Now that we've had a chance to review Exhibit 508, can you

19     clarify, do you know, based on your review of other video

20     footage, approximately what time this was filmed?

21     A.   Yes.   This was at approximately 3:05.

22     Q.   3:05 p.m.?

23     A.   Yes.

24     Q.   Thank you.

25                 MS. AKERS:   No further questions, Your Honor.
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       Anderson - REDIRECT


1                THE COURT:    Any questions from the jury?       Thank you,

2      sir.

3                Yes.

4                MS. AKERS:    Your Honor, I'm going to move in just a

5      few additional exhibits that were relevant to his direct

6      examination, per agreement by counsel.        Government Exhibit 507,

7      which we looked at with Special Agent Anderson in a

8      side-by-side --

9                THE COURT:    Any objection?

10               MS. WEST:    No, Your Honor.

11               THE COURT:    Very well.

12         (Government's Exhibit 507 received in evidence.)

13               MS. AKERS:    Government Exhibit 505.1, which is a

14     screen shot of video footage that we looked at.

15               THE COURT:    Any objection?

16               MS. WEST:    No, Your Honor.

17         (Government's Exhibit 505.1 received in evidence.)

18               MS. AKERS:    Government Exhibit 506.1, a screenshot of

19     footage that we looked at.

20               THE COURT:    Any objection?

21               MS. WEST:    No, Your Honor.

22         (Government's Exhibit 506.1 received in evidence.)

23               MS. AKERS:    And then Government Exhibit 514.1A, 514.2,

24     514.3, screen shots of video footage we looked at.

25               THE COURT:    Any objection?
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       Anderson - REDIRECT


1                MS. WEST:    No, Your Honor.

2                THE COURT:    Very well.    Those exhibits will be

3      admitted.

4          (Government's Exhibits 514.1A, 514.2, 514.3 received in

5      evidence.)

6                THE COURT:    There's no questions from the jury?          Thank

7      you, sir.

8                We'll break for lunch at this time and come back at

9      1:30 and proceed with the trial at that time.         Please remember

10     the instructions I've given about how you should conduct

11     yourself when you're in recess and please comply with those

12     instructions.    Have a good lunch.

13         (Jury exits the courtroom at 12:25 PM)

14         (A lunch recess was taken at 12:26 PM)

15               MS. WEST:    Your Honor, may I be heard?

16               THE COURT:    Yes.

17               MS. WEST:    Ms. Akers and I talked last night.        I

18     object to all of this testimony as cumulative, and some of it

19     is irrelevant because his body-worn camera starts at 2 p.m.

20     Mr. Cook isn't anywhere near the tunnel until 3:05 p.m.

21               So we would object on two grounds:        One, relevance

22     and, two, cumulative.     I don't think we're going to learn

23     anything else.

24               MR. BRENNAN:    May I respond?     Thank you.    So Your

25     Honor, while defense is correct that Officer Forrester's
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       Anderson - REDIRECT


1      body-worn does not cover the time period in question, as we

2      expect he'll explain during his testimony, that's because his

3      body-worn fell off during the day, and he'll be testifying to

4      other video exhibits where he can actually be seen in the video

5      and was in the tunnel at the same time as Mr. Cook.

6                First of all, we just wouldn't consider this

7      cumulative at all because we haven't really presented that much

8      evidence at all of the experience of an officer on the front

9      line in the tunnel at the exact same time that Mr. Cook was.

10     Any evidence that we plan to introduce is during the time

11     period that Mr. Cook was in the tunnel.

12               And regardless, under the federal rules of evidence,

13     the government, because of its high burden, is entitled to at

14     least some degree of cumulative evidence, as long as it's not

15     unreasonably or unnecessarily cumulative.

16               MS. WEST:    So we've seen so far today a video of the

17     tunnel from probably five different directions and five

18     different video sources, open-source --

19               THE COURT:    But if he was actually in the tunnel,

20     that's not something they've heard.        They had this agent

21     testify about what he saw on the tapes, but that's not the same

22     as somebody who was actually in the tunnel and was seeing it

23     firsthand.

24               MS. WEST:    He never identifies Mr. Cook.       He doesn't

25     see Mr. Cook.    And Mr. Cook was not on the front line and
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       Anderson - REDIRECT


1      his --

2                THE COURT:    If he was there at the same time that

3      Mr. Cook would have been in the tunnel, even if he didn't see

4      him, that would be evidence of what the jury could infer

5      Mr. Cook either saw or heard.       I mean, it seems to me it goes

6      to weight and not admissibility.

7                In reference to any witness, if only one person is

8      testifying to an event there's always going to be a challenge

9      to the witness's credibility, and to the extent another witness

10     can testify about the same thing to try to sure up that other

11     witness's testimony, I don't think that's cumulative.

12               MS. WEST:    All right.    I just lodge my objection.

13               The other thing is his body-worn camera didn't fall

14     off.   The reports say that another rioter stole it.         And that

15     doesn't have anything to do with Mr. Cook.

16               MR. BRENNAN:    The government -- sorry.

17               THE COURT:    You're not going to try to introduce

18     something that somebody stole it?

19               MR. BRENNAN:    I mean, Your Honor, we may, in the

20     course of explaining why he does not have body-worn camera

21     footage from his time in the tunnel, ask Officer Forrester to

22     explain what happened to his body-worn camera, but the --

23               THE COURT:    Was it taken from his body or it fell and

24     somebody took it?

25               MR. BRENNAN:    It's a little unclear.
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       Forrester - DIRECT


1                MS. AKERS:    The officer doesn't know.      And the report

2      that Ms. West was referring to has not been introduced by the

3      government, nor would we.

4                MR. BRENNAN:    There's no allegation here that Mr. Cook

5      was involved in stealing any body-worn camera.         It's something

6      that the government would address only to establish why there

7      isn't the body-worn camera from his personal camera.

8                THE COURT:    So he would just say something to the

9      effect that at some point it got dislodged from his body, and

10     therefore, nothing was recorded after that?

11               MR. BRENNAN:    Exactly, Your Honor.

12               THE COURT:    Okay.   That's fair.

13               MS. WEST:    No problem.

14          (Jury enters the courtroom at 1:54 PM)

15               THE COURT:    You may be seated.     Good afternoon.

16               MR. BRENNAN:    May it please the Court.

17               THE COURT:    Yes.

18               MR. BRENNAN:    The government would like to call MPD

19     Officer Omar Forrester.

20                             OMAR FORRESTER, Sworn

21                               DIRECT EXAMINATION

22     BY MR. BRENNAN:

23     Q.   Good afternoon.

24     A.   Good afternoon, sir.

25     Q.   Could you just please state and spell your name for the
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1      record.

2      A.   Omar Forrester, O-M-A-R, F-O-R-R-E-S-T-E-R.

3      Q.   And where do you work?

4      A.   I work for the Metropolitan Police Department,

5      5th District.

6      Q.   How long have you been with the MPD?

7      A.   Almost nine years now.

8      Q.   What's your current duty assignment?

9      A.   I'm a patrol officer within the 5th District.

10     Q.   Was that your assignment on January 6, 2021?

11     A.   I was assigned to a CDU platoon for the 5th District,

12     CDU 54.

13     Q.   Can you explain what the CDU is.

14     A.   Our right is to make sure that, being in the nation's

15     capital, all the protests occur peacefully and people have a

16     safe place to express their opinions.

17     Q.   Were you on duty with the MPD on January 6, 2021?

18     A.   Yes, sir.

19     Q.   Can you describe the uniform that you were wearing that

20     day?

21     A.   I'm part of a mountain bike unit.       So I had a white

22     mountain bike helmet, a mostly yellow highlighted vest and then

23     blue issued pants with vest and utility belt.

24     Q.   You mentioned a helmet.     Did you wear that throughout the

25     entire day?
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       Forrester - DIRECT


1      A.   Yes, sir.

2      Q.   Why?

3      A.   Once everything started we were being struck in the head a

4      lot, things were been thrown, and it was the only protective I

5      had for my head at that time.

6      Q.   Where were you initially stationed on January 6, 2021?

7      A.   We were down by the National Mall.

8      Q.   At any point during the day, did you end up reporting to

9      the Capitol?

10     A.   Yes.   My platoon was ordered to go and assist Capitol

11     Police at the United States Capitol.

12     Q.   Do you remember roughly around when you arrived at the

13     Capitol?

14     A.   Afternoon, probably around two-ish, somewhere around there.

15     Q.   At any point during your time at the Capitol on

16     January 6th, did you arrive to an area that's sometimes

17     referred to as the tunnel?

18     A.   Yes, sir.

19     Q.   Do you have an idea of roughly when that was?

20     A.   It was maybe like an hour or more after we initially

21     arrived at the Capitol building.

22     Q.   What happened after you entered the tunnel?

23     A.   Once we were outside trying to hold the lines back, and

24     then once they broke the line outside, we had to retreat in the

25     Capitol.    In the tunnel we were organized by one of our
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       Forrester - DIRECT


1      commander and he said he need the hold this door and we can't

2      allow anybody to enter --

3                 MS. WEST:    Objection.

4                 THE COURT:   Overruled.    It's not being offered for the

5      truth.    It's being offered just for the effect it had on him.

6      Overruled.

7      BY MR. BRENNAN:

8      Q.   You can continue.

9      A.   Yeah, so we were ordered to hold this tunnel and try to

10     make sure nobody got in, so that they wouldn't hurt the people

11     inside.    So we were ordered to hold that tunnel.

12     Q.   You may have already touched on this a little bit, but why

13     was it important to keep the rioters from getting inside the

14     Capitol?

15     A.   From our understanding from what they had been saying all

16     day, they wanted to break in and they wanted to stop what was

17     going on and hurt the people that were trying to do it.

18     Q.   Were you aware of what was going on in the Capitol that

19     day?

20     A.   Yeah.   I believe they were ratifying the vote.        I'm not

21     sure if I'm using that word correctly.        But something with the

22     vote, certifying the vote, and people outside were trying to

23     stop it.

24     Q.   While you were in the tunnel, what did you know about any

25     other areas of the Capitol outside the tunnel and whether or
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 129 of 284     129

       Forrester - DIRECT


1      not they had been breached?

2      A.   I didn't know anything about anywhere else.         From what I

3      understood is that we were stopping our rioters from entering

4      the tunnel -- from entering the Capitol, sorry.

5      Q.   At any point, did rioters enter the tunnel?

6      A.   No.   We stood and we held our ground as long as --

7      Q.   Sorry, I just wanted to clarify.       At any point, did rioters

8      enter the actual area of the tunnel, not necessarily --

9      A.   Yes, they attempted to come in.       They broke a couple doors.

10     They attempted to storm and then we spent the next couple hours

11     trying to prevent them from making it all the way inside the

12     Capitol building.

13     Q.   So when that happened and when you got there, how much time

14     did you and the other officers have to organize before the

15     crowd started pushing in?

16     A.   Not many.   Our commander said, hold the line, do what it

17     takes, don't let anyone enter.       By the time he said that, we

18     stood on line and the crowd immediately rushed us.

19     Q.   How would you say your CDU training prepared you for a

20     situation like that?

21     A.   Not much.   I can't say we had much preparation for it.

22     Again, we never experienced anything like that.          Usually, in

23     D.C., the protests are people will yell, express their opinion,

24     but nobody's actually -- entire group is not just physically

25     assaultive where everybody is literal assaulting you
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       Forrester - DIRECT


1      constantly.    So it was nothing we were prepared for.        Our best

2      we could just stand and take the beating and not let them in.

3      Q.   So can you just describe for the Court from your

4      perspective what happened after that initial group of rioters

5      came into the tunnel?

6      A.   They immediately come in.      They rushed in.    I myself had a

7      Capitol riot shield; I borrowed a shield from Capitol.           Hold it

8      there.   They immediately rushed.      They started grabbing our

9      shields.   They were throwing stuff.       They were using -- I

10     believe it's called bear spray, some kind of irritant to the

11     eye.    They would throw stuff, hit.     They would start getting

12     coordinated.    They would push.     They would start yelling,

13     chanting, pushing.

14          Everybody was like working together, pretty much, to, like,

15     just whatever they could do to get inside, to hurt us.           They

16     were grabbing officers, hitting officers, pulling.          They

17     slammed us in doors.     They were doing whatever it takes to get

18     in, ignoring all our commands.       We just kept yelling, move

19     back.

20     Q.   All right.   And what was your position in the tunnel?

21     Where were you located during that time?

22     A.   In the beginning, when they said line up, I was at the very

23     front of the line, faced directly in front of the rioters.

24     Q.   So you mentioned at the beginning.       Were you in the tunnel

25     for a while?
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       Forrester - DIRECT


1      A.   Yeah, I was in there for pretty much the whole thing.

2      Q.   Roughly how long, just an estimate?

3      A.   Hours.

4      Q.   Hours?

5      A.   Yeah.

6      Q.   How would you describe the tone and demeanor of the rioters

7      that you encountered in the tunnel, from your perspective?

8      A.   They were assaultive.     Whatever it takes is necessary.

9      They didn't care what they did to us.        They were going to get

10     over us no matter what to get inside the tunnel.          They weren't

11     going to stop at all.

12     Q.   What tactics did you witness rioters use in that --

13     A.   Along with striking us in the head, they would steal our

14     gear, throw it at us.     They would use bear spray.       They would

15     coordinate and use the weight of all the -- because they

16     outnumbered us.    So they would just start pushing.        They would

17     rock back and forth, slam against us repeatedly.          Once they get

18     tired, they would just rotate out.       Somebody would be like, oh,

19     we need new people to the front or something to that extent.

20     They would arm out, yeah, punch, literally.         They were coming

21     for us that entire day.

22     Q.   You mentioned something about rioters coordinating.             Could

23     you expand on that and just explain what you mean.

24     A.   At some point you'd hear like a voice.        It would be like --

25     they'll go "heave," like "ho."       Get on timing so that they're
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       Forrester - DIRECT


1      all coordinately pushing at you, slam against you.          They would

2      help each other.     Like if somebody in the front was hurt, they

3      would literally help each other to get out of the tunnel so

4      that new people could come in.

5           They would coordinate; the ones in the back would make sure

6      they pass stuff up.     I guess the people outside had gear that

7      they've stolen from police officers.        So they were passing the

8      tunnels, and the people behind would pass it up to the people

9      in the front.    They were just in constant communication and

10     they would help each other to make -- they were all helping

11     each other to assault us.

12     Q.   You mentioned something about heave-ho.        Could you just

13     describe what that felt like to be on the receiving end of

14     that?

15     A.   Yeah.   So there was officers behind us and they were

16     standing their ground.      When you're in the front and it's just

17     like you get a break and it's just like a wave just constantly

18     slamming against you.     You get a break, they ease back and they

19     slam against you.     And they're trying to gain every inch they

20     can.    And they took that inch and they just kept going.

21     Q.   So when those collective pushes were happening, how did

22     that affect your ability to do your job that day?

23     A.   It was hard.    At that point, I was just curled up behind

24     the shield and just hold my eyes closed.

25     Q.   While you were inside the tunnel, whether with your eyes
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       Forrester - DIRECT


1      closed or not, what kind of things were you hearing?

2      A.   They were chanting.     They were like, let us in, come to our

3      side, move, we're coming through, expletives, F you, you guys

4      are traitors, we're going in.       And all the chants like, stop

5      this, stop the vote, everything like that.

6      Q.   So would it be fair to say that it got loud in the tunnel?

7      A.   Yeah, it was extremely loud.

8      Q.   How did that impact your ability to listen to your radio?

9      A.   Oh, I didn't.    I wasn't monitoring my radio at all.           I

10     couldn't at that point.

11     Q.   So this, you know -- along that lines, did that impact your

12     ability to hear commands that came through over your radio?

13     A.   Yeah.   The only commands we listened to was what was given

14     in the tunnel by the officers.       But we never -- we didn't

15     listen to our radio at all.      There's no way you could hear it

16     over the crowd.

17     Q.   So you mentioned some things that you heard.         But during

18     your time in the tunnel did you ever issue verbal commands to

19     the crowd?

20     A.   Yeah.   We saying, move back, back away.       We tell them you

21     can't come here.     At one point I think I even said, please.           I

22     was like, leave, leave, we're not coming through here.           And

23     then our standard, move back, back down.        We yelled -- almost

24     the entire time we were just yelling.

25     Q.   When you were giving those verbal commands how did the
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       Forrester - DIRECT


1      rioters generally react?

2      A.   They cursed back at us.     They yelled.     Sometimes they might

3      have took it that we were weakening, so they would come a

4      little bit harder.     But it had no effect on them.       They can't

5      care.

6      Q.   Did they follow your commands?

7      A.   Absolutely not.

8      Q.   Can you describe any crowd-control methods that you and the

9      other officers used while you were in the tunnel?

10     A.   At some point we started using our own spray.         We used the

11     shields.   We ourselves tried to coordinate to, like, walk and

12     take steps forward.     But we were just on the defensive the

13     whole time.    It was like -- not like we could employ any CDU

14     tactics we learned.     It was just hold that spot.       And the

15     officers behind would attempt to use spray.

16     Q.   Were methods like that -- you mentioned spray -- were those

17     effective when you were in the tunnel?

18     A.   Again, it wasn't that effective because there was so many

19     of them that even if one got it they would just freely rotate.

20     Like they just rotate new people come in and they would just

21     come back up.    It didn't feel effective at the time.        We gained

22     ground but it didn't feel like it was much effective because

23     the sheer quantity of people just kept coming and going.

24     Q.   Based on what you saw while you were in the tunnel was it

25     the same group of rioters inside the tunnel the whole time?
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       Forrester - DIRECT


1      A.   No, no.    Like I said, they had reinforcement come.        They

2      call for more people.     More people would come up.       And it was

3      just a rotation.

4           I can't tell you -- for being there that long and I always

5      include the same people, I feel like I would -- at least can

6      say but it was constant new faces.

7      Q.   So when the rioters were in the tunnel -- you know, you've

8      been talking about your ability to keep them from getting in,

9      but what about on the opposite side?        When they were in the

10     tunnel could you get out of the tunnel if you wanted to?

11     A.   Oh, no, I couldn't move, no, sir.

12     Q.   Why not?

13     A.   Because like I said, there was officers to the back and

14     they were in front, clogged up, and there was nowhere to go at

15     that point.

16     Q.   Officer Forrester, were you wearing a body-worn camera on

17     January 6, 2021?

18     A.   At the beginning, yes, sir.

19     Q.   Did you have that body-worn camera on while you were in the

20     tunnel?

21     A.   No, sir.

22     Q.   Why not?

23     A.   In the -- once we initially arrived there, there were

24     skirmishes outside the Capitol where we were trying to hold

25     them.   In one of the skirmishes at some point my body-worn
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1      camera came off, and I lost it for the day.

2      Q.   Just to be clear, does that mean -- I guess I'll ask.           Are

3      we able to watch any body-worn camera footage that you

4      personally recorded during the time period that you were in the

5      tunnel?

6      A.   No, sir.

7      Q.   All right.   Let's turn to some other videos.

8                MR. BRENNAN:    Ms. Marcelin, can you please pull up

9      Exhibit 712 and pause at 16 seconds.        This is not yet in

10     evidence.

11     BY MR. BRENNAN:

12     Q.   Officer Forrester, did you review this video in advance of

13     your testimony?

14     A.   Yes, sir.

15     Q.   Do you see yourself in this video?

16     A.   Yes, sir.

17     Q.   Can you please circle yourself on the screen?

18     A.   (Witness complies.)

19     Q.   And based on your review of the video, is it a fair and

20     accurate representation?

21     A.   Yes, sir.

22               MR. BRENNAN:    The government would move to admit

23     Exhibit 712.

24               MS. WEST:    Can I confer, Your Honor, with the

25     prosecutor?
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1                THE COURT:    Yes.

2           (Off-the-record discussion.)

3                THE COURT:    Any objection?

4                MS. WEST:    Yes, Your Honor.     Previous objection.

5                THE COURT:    Very well.    Overruled.    It's admitted.

6                MR. BRENNAN:    Thank you.

7           (Government's Exhibit 712 received in evidence.)

8      BY MR. BRENNAN:

9      Q.   Now that this is in front of the jury, can you again

10     indicate, is this green circle we're seeing, that's the area

11     that you circled where you see yourself?

12     A.   Yes, sir.

13               MR. BRENNAN:    All right.    Let's clear that.

14               Ms. Marcelin, can we play from 16 seconds through

15     30 seconds.

16          (Video played.)

17     BY MR. BRENNAN:

18     Q.   Officer Forrester, in this video did you see an officer

19     spaying something?

20     A.   Yes, sir.

21     Q.   What was that?

22     A.   That's our issued OC spray.

23     Q.   What is the purpose of OC spray in a situation like this?

24     A.   It's just to try to get the crowd to disperse.         More like a

25     deterrent.    It's an irritant.     So hopefully and then they would
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1      all just back up and become less violent, like just stop.

2      Q.   And is that what happened here?

3      A.   No, sir.

4      Q.   When are you, as a member of the CDU, trained to use OC

5      spray?

6      A.   When we're being -- we call like threatening assailants or

7      people are being aggressive, ignoring orders and trying to harm

8      others or destroy property.

9                MR. BRENNAN:    Ms. Marcelin, can we play that clip just

10     one more time.

11          (Video played.)

12     BY MR. BRENNAN:

13     Q.   Officer Forrester, did you hear what the rioters were

14     saying at the end of that clip?

15     A.   Yes, sir.

16     Q.   What were they saying?

17     A.   They were chanting "shield wall," sir.

18     Q.   What kind of shields are those?

19     A.   Those are the Capitol shields that they took from us, sir.

20     Q.   And what did it mean for your safety that the rioters had

21     take some of those shields?

22     A.   They could use them as weapons, and it also made the stuff

23     that we did less effective.

24               MR. BRENNAN:    Ms. Marcelin, can we please go to

25     Exhibit 710, which, again, is not currently in evidence.             And
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1      if you could go to two seconds and pause.

2      BY MR. BRENNAN:

3      Q.   Officer Forrester, did you review this video in advance of

4      your testimony today?

5      A.   Yes, sir.

6      Q.   Do you see yourself in this video?

7      A.   Yes, sir.

8      Q.   Can you please circle yourself?

9      A.   (Witness complies.)

10     Q.   Based on your review, is it a fair and accurate

11     representation?

12     A.   Yes, sir.

13               MR. BRENNAN:    Your Honor, at this time the government

14     would move to admit Exhibit 710 and the video that underlies

15     it, which is Exhibit 501.

16               MS. WEST:    Objection, Your Honor.      Same objection.

17               THE COURT:    Admitted.

18          (Government's Exhibits 501, 710 received in evidence.)

19               MR. BRENNAN:    Ms. Marcelin, can we play from the

20     beginning to about 13 seconds.

21          (Video played.)

22     BY MR. BRENNAN:

23     Q.   Again, Officer Forrester, do you see yourself here?

24     A.   Yes, sir.

25     Q.   Can you circle yourself?
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1      A.    (Witness complies.)

2      Q.    So what did we just see in this video?       Can you describe

3      it?

4      A.    This is them, again, assaulting, pushing against us, and

5      then they had somebody back there spraying this orange

6      irritant.     I believe it was bear or wasp spray or something

7      they later told us it was.      They were trying to spray against

8      us.

9      Q.    Were you ever sprayed while you were in the tunnel?

10     A.    Many times, yes, sir.

11     Q.    What did that feel like?

12     A.    Your whole face is pretty much on fire.       And being that

13     it's so compact, you can barely breathe.        You're just choking

14     the whole time and everything is just on fire.

15     Q.    Did that make it more difficult for you to do your job that

16     day?

17     A.    Yeah.   At some point it was just standing there and just, I

18     don't know, hoping.

19               MR. BRENNAN:    Let's continue playing through

20     30 seconds.

21           (Video played.)

22     BY MR. BRENNAN:

23     Q.    Officer Forrester, can you just describe what we're seeing

24     there with that shield?

25     A.    This, yeah, they were using it -- so they used the
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1      shield -- generally, we used the shields blocking.          They were

2      using the edges to try to jam at us.

3                 MR. BRENNAN:   Ms. Marcelin, we can play to 1:05.

4           (Video played.)

5      BY MR. BRENNAN:

6      Q.   All right.   Officer Forrester, can you explain what we just

7      watched?

8      A.   At this point they're trying to gain enough ground to push

9      us back because I guess they realized -- so at that point the

10     crowd started working together and then they started chanting

11     and got in rhythm, and they would just start smashing against

12     us, taking the shields, using the shields and then just

13     coordinate literally smashing against us and everything.

14     Q.   How did that feel?

15     A.   It feel like it was getting crushed because after them

16     spray, you already can't breathe, and everybody is just hitting

17     against you wave after wave.       You just want a break, like give

18     me ten seconds, please, but it was just a constant assault for

19     the entire time.

20                MR. BRENNAN:   Ms. Marcelin, can you pull up

21     Exhibit 712 and pause at 4:51.

22                THE COURT:   This is not in evidence yet?

23                MR. BRENNAN:   This is.    This is the other one that we

24     were looking at just a few moments ago.

25                THE COURT:   Very well.
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1      BY MR. BRENNAN:

2      Q.   Officer Forrester, same question I've been asking.          Do you

3      see yourself and, if so, can you circle yourself on the screen?

4      A.   Yes, sir.

5           (Witness complies.)

6                MR. BRENNAN:    Ms. Marcelin, can we play through 5:24.

7           (Video played.)

8      BY MR. BRENNAN:

9      Q.   Officer Forrester, can you just describe what we just saw

10     here?

11     A.   This is, again, them attacking us and coming down with the

12     same pushing maneuver.      And it look like an officer got -- he

13     actually got trapped inside the door frame as it was closed,

14     because they broke out the glass.       So he's trapped in there and

15     they just kept pushing and pretty much trying to crush him to

16     death.

17     Q.   And where were you in relation to this officer who's stuck

18     in the door?

19     A.   I'm over to the left side.

20               MR. BRENNAN:    Ms. Marcelin, can we jump ahead to 7:00

21     and play for 22 seconds.

22          (Video played.)

23     BY MR. BRENNAN:

24     Q.   Officer Forrester, at this point, what we just watched, is

25     there any active pushing happening at the front of that police
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 143 of 284       143

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1      line?

2      A.    Not active, no, sir.

3      Q.    How were you feeling at that point, during that pause?

4      A.    I didn't have anything -- at this point, I didn't have

5      nothing left.     I was just suffering and just suffering.           I

6      don't even know.     You couldn't think.     You were in pain, face

7      burning, you didn't know what was going on and it was hard

8      standing up, just trying to catch your breath.         It was just

9      tough.   It was hard.

10     Q.    And so after this moment that we're watching right now, did

11     the rioters ever start pushing again?

12     A.    Yes.

13                  MR. BRENNAN:   All right.   Ms. Marcelin, can we pull up

14     Exhibit 711, which is already in evidence.         And we can play the

15     full video.

16           (Video played.)

17     BY MR. BRENNAN:

18     Q.    So Officer Forrester, can you just describe what we just

19     watched?

20     A.    This is them starting back up again.      And now it's the same

21     thing again.     They're coming and they're just pushing against

22     us.   They're grabbing.     They're getting even more aggressive.

23     They start feeling more emboldened and they're just pushing,

24     feeling like they're -- as they got more ground, they just

25     start attacking even more and assaulting us again.
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1      Q.   So earlier you were talking about coordinated pushes.           From

2      your perspective, were the rioters coordinating at that time?

3      A.   Yes, sir.

4      Q.   How did that affect your ability to maintain your police

5      line?

6      A.   It was almost impossible but like somehow everybody said --

7      it was pretty much officers behind would have to brace up

8      officers in the front.      Us in the front, we weren't doing

9      anything.    We were just being held up and pressed between -- so

10     it completely hindered us.

11     Q.   How did it affect you and your ability to maintain that

12     line whenever the number of rioters in the tunnel increased?

13     A.   It made it extremely hard.      Again, I don't even know how we

14     held it, but it made it extremely, extremely difficult.

15     Q.   Did the rioters in the tunnel at that time interfere with

16     your duties?

17     A.   Yeah.

18               MS. WEST:    Objection.    Leading.

19               THE COURT:    It is.   Sustained.

20               MR. BRENNAN:    Ms. Marcelin, can we go back to

21     Exhibit 712 and play from 10:05 through 11:55.

22          (Video played.)

23     BY MR. BRENNAN:

24     Q.   Officer Forrester, can you describe what was happening in

25     that video clip?
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1      A.   At that point, the rioters were getting aggressive.             They

2      were coming and we started to gain some ground.          So we started

3      getting coordinated and just started pushing and getting it

4      inch by inch, and trying to push them out of the tunnel to get

5      them all back outside, sir.

6      Q.   So at some point, was there a time when there were no more

7      rioters inside the tunnel?

8      A.   Yeah, very limited.     Yes, sir.

9      Q.   So at that point, did you feel safe?

10     A.   No, sir.

11     Q.   Why not?

12     A.   Because they continued to assault us from outside.          They

13     were throwing stuff inside the tunnel.        They were hanging down

14     and kicking at the ones in the front.        They still remained

15     assaultive.     They never stopped.    Even once we get outside the

16     tunnel, they were still trying to attack to come back and gain

17     more ground inside the tunnel.

18               MR. BRENNAN:    Ms. Marcelin, can you please pull up

19     Exhibit 313, which is not yet in evidence.

20     BY MR. BRENNAN:

21     Q.   Officer Forrester, did you review this video in advance of

22     your testimony?

23     A.   Yes, sir.

24     Q.   Can you read the timestamp for us?

25     A.   Wednesday, January 6, 2021, 4:15:05 p.m.
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1      Q.   Where in the Capitol does this video show?

2      A.   This shows from inside the tunnel, sir.

3      Q.   Were you in the tunnel at that time?

4      A.   Yes, sir.

5      Q.   Based on your review, is it a fair and accurate depiction?

6      A.   Yes, sir.

7                MR. BRENNAN:    Your Honor, the government would move

8      Exhibit 313 into evidence.

9                MS. WEST:    Same objection, Your Honor.

10               THE COURT:    Very well.    Admitted.

11          (Government's Exhibit 313 received in evidence.)

12               MR. BRENNAN:    Ms. Marcelin, can we now move to

13     Exhibit 410, which, again, is not in evidence.

14     BY MR. BRENNAN:

15     Q.   Officer Forrester, did you review this video in advance of

16     your testimony today?

17     A.   Yes, sir.

18     Q.   What is it?

19     A.   This is an officer's body-worn camera footage, sir.

20     Q.   Just to be clear, based on our earlier conversation, is

21     this your body-worn camera?

22     A.   No, sir.

23     Q.   Based on your review, is it a fair and accurate depiction?

24     A.   Yes, sir.

25               MR. BRENNAN:    Your Honor, at this time we'd move to
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 147 of 284    147

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1      admit Exhibit 410.

2                 MS. WEST:    Your Honor, may I pick up the phone,

3      please.

4          (The following was held sidebar, outside the hearing of the

5      jury:)

6                 THE COURT:   Was he there, observing this?

7                 MR. BRENNAN:   Yeah.    So this moment just happens to be

8      the start of the video.      The officer will be moving towards the

9      tunnel shortly, and those would be the only clips we would be

10     showing.

11                MS. WEST:    So I want to make sure, Your Honor, because

12     this 410 is 51 minutes long.       And my fear is that -- there are

13     certain portions I don't object to but they've been entering

14     exhibits that are an hour and a half long and played

15     two minutes of it.      So I would object to anything that didn't

16     have anything to do with this particular witness.          It's not his

17     body camera.    It's the body camera of Officer Sajumon.         If they

18     wanted to bring Officer Sajumon, he could have come and

19     testified about it.     I object to the entire exhibit.

20                THE COURT:   As long as it's something that he saw that

21     he can authenticate based upon his observations, that's fine.

22     But how much of this does the government intend to show or is

23     fit to use?

24                MS. WEST:    I have one more objection.     My client is

25     nowhere to be found.      And this is at 4:38 p.m.     This is inside
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1      the tunnel.

2                THE COURT:    What is the relevance of this?

3                MR. BRENNAN:    Your Honor, it's not actually showing

4      inside the tunnel for the majority of the video.          The officers

5      are stationed at the front of the tunnel while rioters are

6      attacking the officers stationed at the front of the tunnel at

7      the exact time that the defendant was standing just outside the

8      tunnel.

9                THE COURT:    This doesn't show that.      You're saying

10     there's some other part of it that would show that?

11               MR. BRENNAN:    Yes.   At this point, the officer whose

12     body-worn camera it is is inside and will be moving towards the

13     tunnel.   So we would be skipping over those portions and just

14     going straight to when he was in the tunnel to the portions

15     that Officer Forrester saw.

16               THE COURT:    He was in the tunnel at that time?

17               MR. BRENNAN:    Yes, he is.    And he can testify to that.

18               THE COURT:    As long as that's the only part that's

19     shown, that's fine.

20               MS. WEST:    Just for the record, my client is not

21     anywhere in this vicinity.

22               MR. BRENNAN:    Your Honor, this is showing time periods

23     that we've already established through other evidence that

24     Mr. Cook was standing just outside the tunnel.         This is going

25     to show an officer's view from just inside the tunnel.
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1                THE COURT:    Very well.

2                MR. BRENNAN:    Thank you.

3           (Sidebar concluded.     The following was held in open court:)

4                MR. BRENNAN:    So Your Honor, we would move to admit

5      Exhibit 410.

6                THE COURT:    Yes, admitted.

7           (Government's Exhibit 410 received in evidence.)

8      BY MR. BRENNAN:

9      Q.   And you mentioned earlier that this is body-worn camera.

10     How can you tell?

11     A.   From the label in the top right-hand corner is how our

12     body-worn cameras are labeled, Axon body three, and then the

13     specific serial number of that body camera.

14               MR. BRENNAN:    Ms. Marcelin, can we go to 28:05.

15     BY MR. BRENNAN:

16     Q.   Officer Forrester, can you read the timestamp in the

17     corner?

18     A.   2021.01.06 16:50:12.

19     Q.   What would that time be, just in civilian time?

20     A.   4:50 p.m.

21     Q.   What area of the Capitol are we looking at here?

22     A.   This would be the entrance of the tunnel, sir.

23     Q.   How can you tell?

24     A.   Just from the outline.     You'll see the crowd over and it

25     looks like it's a police line with a shield in front of it,
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 150 of 284      150

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1      sir.

2      Q.   Where were you at this point on January 6th?

3      A.   I was further back in the tunnel, sir.

4                MR. BRENNAN:    All right.    Ms. Marcelin, can we play

5      through 28:35.

6           (Video played.)

7      BY MR. BRENNAN:

8      Q.   Officer Forrester, did you see anyone using any weapons in

9      that video?

10     A.   Yes, sir.

11     Q.   How did that affect your ability to do your job that day?

12     A.   It was impossible to do our job.       They was beating us with

13     baseball bats, helmets.      It made it impossible to do our jobs.

14               MR. BRENNAN:    Let's jump ahead to 30:15.

15               THE COURT:    Based upon what we just saw, about how far

16     were you from that location where this is depicting?

17               THE WITNESS:    I had fallen back a little bit from the

18     front.   We can't even call it rows, sir, but -- within view but

19     if I had to use this courtroom, maybe to the desk, maybe.

20     Something like that.

21               THE COURT:    Were you able to see this?

22               THE WITNESS:    Yes, sir.    Clearly, yes, sir.

23               THE COURT:    Very well.

24               MS. WEST:    For the record, could we say from here to

25     the desk -- he pointed to the prosecutor's desk.          Perhaps you
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1      can estimate that.

2                 THE COURT:   I'd say that's probably about 14 feet,

3      15 feet.

4                 THE WITNESS:   I can't say accurate but, yeah, it was

5      clear view.    I could clearly see, yes, sir.

6                 MR. BRENNAN:   Ms. Marcelin, we can play at that 30:15

7      mark.

8            (Video played.)

9      BY MR. BRENNAN:

10     Q.    Officer Forrester, at this pont in the video did you see

11     any objects coming into the tunnel overhead?

12     A.    Yes, sir.

13     Q.    Can you explain what those were?

14     A.    Those were any projectiles that they could get their hands

15     on.   They were just grabbing the projectiles and throwing them

16     at us, sir.

17     Q.    Let's watch one more short clip.

18                MR. BRENNAN:   Ms. Marcelin, could we go to 36:50 and

19     play through 37:10?

20                THE COURT:   Is that already in?

21                MR. BRENNAN:   It's within the same exhibit.

22                MS. WEST:    May I confer, Your Honor?

23                THE COURT:   Yes.

24           (Off-the-record discussion.)

25                MS. WEST:    Thank you, Your Honor.
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1                  THE COURT:   Very well.

2                  MR. BRENNAN:   We can play from 36:50 to 37:10.

3           (Video played.)

4      BY MR. BRENNAN:

5      Q.   Officer Forrester, what are those flashing lights that we

6      see here?

7      A.   They had some kind of strobe light, and I guess they were

8      trying to blind us, another tactic they were trying to employ

9      to blind us and hinder us and stop us, so that way they could

10     gain more ground to try to come back inside the tunnel.

11     Q.   Did that make it more difficult to protect yourself?

12     A.   Yes, sir.

13     Q.   Can you read the timestamp for us?

14     A.   4:59 p.m.

15     Q.   So close to 5:00 p.m.?

16     A.   Yes.

17     Q.   How were you feeling by that time, right around 5:00 p.m.?

18     A.   I was pretty much dead at that point.        By this point, I had

19     even fallen back further from the line because my entire body

20     was just in pain.     I could barely move.     Other officers came

21     replace me, and I fell back a little bit to try to catch some

22     breath.

23                 MR. BRENNAN:   Ms. Marcelin, we can take the exhibit

24     down.

25     BY MR. BRENNAN:
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1      Q.   Did you stay in the tunnel past 5:00 p.m.?

2      A.   I stayed down there until -- I believe it was Virginia

3      State.   They came in like superheros and cleared up.         And that

4      was when we got a break.

5      Q.   I'm sorry, can you just clarify just so everyone

6      understands who you're referring to when you say Virginia

7      State?

8      A.   Virginia State Police.     They came in and they kind of came

9      to the front.    They were able to push the crowd even further

10     back and give us, like, a huge break.        And after that, things

11     kind of like calmed down.      After they came, I pretty much was

12     able to fall back out of the tunnel and finally get a break and

13     try to recover.

14     Q.   Did you sustain any injuries as a result of your time in

15     the tunnel?

16     A.   Yeah.   The entire time we were beaten, hit, punched,

17     slapped, one point electrocuted, like constant OC spray led to

18     vomiting.    Just constant -- yes, the entire day, yes, sir.

19     Yes, sir.

20     Q.   What time did you finally go home on January 6, 2021?

21     A.   Well into the next morning.

22     Q.   How did you feel at that point?

23     A.   I don't think I was feeling anything by the end of the day.

24     By the end of the day I was -- I don't think I was feeling --

25     other than just being in complete pain.        And we had to come
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1      right back the next morning.       I was hurt.    I was done.    I was

2      completely done.

3                MR. BRENNAN:    Nothing further, Your Honor.

4                THE COURT:    Cross-examination.

5                                CROSS-EXAMINATION

6      BY MS. WEST:

7      Q.   Hi, Officer Forrester.

8      A.   Good afternoon, ma'am.

9      Q.   My name is Kira West and I represent Mr. Cook, the

10     defendant.

11     A.   How are you, ma'am?

12     Q.   Good.   How are you?

13     A.   Good, ma'am.

14     Q.   Now, all these videos that you so eloquently described for

15     us what happened, you were never asked, that I know of, in the

16     beginning, what time any of those body-worn cameras that

17     weren't yours -- do you know what time any of those took place?

18     A.   I'm so sorry, say it again, ma'am.

19     Q.   It's convoluted.

20          You testified that you showed up about 2:00?

21     A.   Somewhere in there, yes, ma'am.

22     Q.   Did you go straight to the tunnel?

23     A.   No, ma'am.   We were outside before.      We were outside on the

24     West Terrace, I believe, yes.       We were holding the line back

25     out there first, ma'am, yes, ma'am.
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1      Q.   For how long?

2      A.   That might have been an hour.      I'm not sure the exact time.

3      We were out there for a while before they broke through the

4      line and we had to retreat.

5      Q.   So you left the West Terrace and then went down to the

6      tunnel?

7      A.   Yes, ma'am.

8                MS. WEST:    All right.    Nothing further, Your Honor.

9                THE COURT:    Any questions from the -- I'm sorry,

10     redirect.   Any redirect?

11               MR. BRENNAN:    No, Your Honor.

12               THE COURT:    Anything from the jury?

13          (Note passed from juror.)

14          (The following was held sidebar, outside the hearing of the

15     jury:)

16               THE COURT:    Okay.   I can't seem to respond to this

17     because I didn't see him with a face shield on, but she may

18     want to know if he had a face shield on at any point during

19     this event.    I assume you would say no because I didn't see him

20     with a face mask on.     So I'll ask him.

21          (Sidebar concluded.     The following was held in open court:)

22               THE COURT:    Officer Forrester, one of the jurors

23     asked:    Did you have a face shield on at any point during this

24     event?

25               THE WITNESS:    The face shield -- no, I didn't have any
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1      face shield or nothing.      It was just a bicycle helmet and then

2      my balaclava I would try to pull up at some point.

3                THE COURT:    Anything else?

4                Thank you, sir.

5                Next witness.

6                MS. AKERS:    Can the government have just a moment,

7      Your Honor?

8                THE COURT:    Yes.

9                MS. AKERS:    Thank you.

10               The United States rests, Your Honor.

11               THE COURT:    Very well.    The government has now

12     completed the presentation of its evidence.         I'm going to take

13     a short break and we'll get back to you as soon as we can.

14         (Jury exits the courtroom at 2:37 PM)

15               THE COURT:    Anything before we proceed further?

16               MS. WEST:    I have just a brief Rule 29 motion, Your

17     Honor.

18               THE COURT:    Okay.

19               MS. WEST:    Can I start now?

20               THE COURT:    Yes.

21               MS. WEST:    Okay.    With regard to the counts in the

22     indictment, we don't believe the government has proved by a

23     preponderance of the evidence any of the charges against

24     Mr. Cook.   We believe that they have not shown that there was a

25     restricted perimeter that Mr. Cook knowingly crossed, and we
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1      also don't believe that they have proved that there was a civil

2      disorder such that it interrupted interstate commerce.

3                THE COURT:    You're serious?

4                MS. WEST:    Yes, sir.

5                THE COURT:    I think there's no merit to those

6      arguments, number one.      Even though the barriers may have been

7      taken down and he didn't see them, if that's the case, the

8      evidence the government is relying upon in support of the

9      allegations is what happened outside the tunnel and inside the

10     tunnel.

11               And I don't see how anybody under those circumstances,

12     considering what was going on, would have felt that they had

13     the authority to be there.      And clearly there was a civil

14     disturbance that impeded the ability of the officers to do

15     their work.

16               So the motion is denied.      Are you ready to proceed

17     with your case?

18               MS. WEST:    I am.

19               THE COURT:    Very well.

20         (Jury enters the courtroom at 2:40 PM)

21               THE COURT:    You may be seated.

22               Before we proceed, we just received an alert from the

23     D.C. Water Authority.     Don't use any water without boiling it.

24     Apparently, it's been contaminated in D.C.         So be careful.

25               You may proceed.
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1                  MS. WEST:   Yes, Your Honor.

2                  The defense calls Mr. Cook.

3                               RICHARD COOK, Sworn

4                                DIRECT EXAMINATION

5      BY MS. WEST:

6      Q.   Good afternoon.

7      A.   Good afternoon.

8      Q.   Please introduce yourself to the ladies and gentlemen of

9      the jury.

10     A.   Richard Cook.

11     Q.   And you're the defendant in this case?

12     A.   Yes.

13     Q.   And where are you from?

14     A.   Originally from Massachusetts.      I now live in Florida.

15     Q.   Do you work?

16     A.   Yes, I do.

17     Q.   Did you go to college?

18     A.   Yes, I did.

19     Q.   Do you have a degree?

20     A.   I do.

21     Q.   What is your degree in?

22     A.   Chemical engineering.

23     Q.   Do you use your degree in your current job?

24     A.   I now am, becoming part of a supply chain management

25     effort.
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1      Q.    You find yourself here in this courtroom, correct?

2      A.    I do.

3      Q.    Describe how -- what do you feel about that?

4      A.    A bit befuddled.

5      Q.    So let's talk about why it is that you're a bit befuddled.

6      Did you watch the election returns in November of 2020?

7      A.    Very carefully.

8      Q.    Are you -- is it fair to say that you're a numbers guy?

9      A.    I am.

10               MS. AKERS:     Objection.   Leading.

11               THE COURT:     Sustained.

12     BY MS. WEST:

13     Q.    What kind of guy are you with regard to what your training

14     and education is?

15     A.    A numbers guy.

16     Q.    After you reviewed those electoral results, what did you

17     do?

18     A.    I sought out different websites for the Secretary of States

19     for the state, particularly Michigan, for which I saw the

20     irregularity.

21     Q.    Why, in your mind, did you believe there was an

22     irregularity?

23     A.    Because the night of the election when I looked at the

24     Secretary of State's website there was an excessively large

25     lead for one particular candidate, and the next morning that
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1      lead had diminished to a lead less than and being behind

2      significantly.    In fact, the exact proportion.

3      Q.   As a numbers man, what did that mean for you in your mind?

4      A.   It meant that something did not align in terms of

5      probability and the likelihood of that being accurate.

6      Q.   Being a numbers man, do you deal in time statistics?

7      A.   Yes, I do.

8      Q.   What do they call it in sports when they -- it's not

9      statistics.    It's a numbers thing.     Analytics?

10     A.   Yes.

11     Q.   That's what they call it.      Do you deal with that?

12     A.   I'm an operations analyst, operations analytics.

13     Q.   So based on your background and this review that you say

14     you did, you said you sought out other websites.          Tell me about

15     that.

16     A.   Yeah, there was a hearing for the state of Arizona.             There

17     was also review in Georgia.      All related to basically the

18     Secretary of State.

19     Q.   And had you considered yourself a politically active

20     person?

21     A.   No.

22     Q.   So after you followed the news and saw these election

23     returns, what did you do?

24     A.   Continued to follow up on those.       I actually reached out to

25     the Secretary of State in Michigan, alongside some of the
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1      representatives, asking for some clarity on what was going on

2      with those results.      I got a general non sequitur response and

3      not much more than that.

4      Q.    Based on that non sequitur response, what did you decide to

5      do?

6      A.    Search out other information on the Internet to pertain to

7      what might explain what I saw the night of the election and the

8      morning after.

9      Q.    Do you get a daily newspaper delivered on your driveway?

10     A.    I don't.

11     Q.    Are you in your 30s?

12     A.    I am.

13     Q.    Where do you get the majority of your news?

14     A.    On the Internet.

15     Q.    So as you searched the Internet, did you see some

16     advertisements for a march in Washington?

17     A.    Yes, ma'am.

18     Q.    And would you describe for the members of the jury what

19     advertisement types you saw?

20     A.    The initial ad that I saw was for a rally in November of

21     2020.   It was called the Million MAGA March.

22     Q.    And what was that march supposed to entail?

23     A.    There was a rally at Freedom Plaza in Washington and there

24     were a bunch of groups, such as Women for Trump, Gays for

25     Trump, different organizations who supported Trump and who were
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1      going to try to seek out what happened during the election.

2      Q.   Okay.   Now, when you say seek out during the election, are

3      you talking about the process of the --

4                MS. AKERS:    Objection.    Leading.

5                THE COURT:    Sustained.

6      BY MS. WEST:

7      Q.   What are you talking about when you say seek out what

8      happened?

9      A.   In my mind, the process.

10     Q.   Okay.   What do you mean by process?

11     A.   The process of voting, the process of how voting transpires

12     and how it's supposed to transpire to protect the integrity of

13     voting for all voters.

14               MS. WEST:    Ms. Cubbage, would you be kind enough to

15     pull up Defense Exhibit 707.

16     BY MS. WEST:

17     Q.   Do you recognize this, sir?

18     A.   It looks very familiar.

19     Q.   Okay.   And does it fairly and accurately depict what you

20     saw on the Internet when you were seeking out what happened?

21               MS. AKERS:    Objection.    He has not testified he's seen

22     this.   So --

23               MS. WEST:    I'll be happy to ask.

24     BY MS. WEST:

25     Q.   Did you see this particular advertisement?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 163 of 284   163

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1      A.   Yes.

2      Q.   And tell the jury presumably or about what time you saw it?

3      A.   I would say I saw this around November 7th.

4      Q.   Okay.   All right.    And does it accurately depict what you

5      believe you saw on November 7th?

6      A.   Yes.

7                  MS. WEST:    At this time we'd offer, Your Honor,

8      Defense Exhibit 707.

9                  THE COURT:   Any objection?

10                 MS. AKERS:   No.

11                 THE COURT:   Admitted.

12          (Defendant's Exhibit 707 received in evidence.)

13                 THE COURT:   Again, what number is that?

14                 MS. WEST:    Your Honor, it is Defense Exhibit 707.

15                 THE COURT:   Thank you.

16                 MS. WEST:    Yes, sir.

17                 And I'd ask Ms. Cubbage to please bring up 708.

18     BY MS. WEST:

19     Q.   I'm showing you now what's been marked as Defense

20     Exhibit 708.    Have you seen this before?

21     A.   I've seen the same march advertised.

22     Q.   When possibly did you see this?

23     A.   Around November 7th.

24     Q.   Does it accurately depict what this march was?

25     A.   Yes.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 164 of 284   164

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1      Q.   Does it accurately depict what you saw advertised at that

2      time?

3      A.   Yes.

4                  MS. WEST:    At this time, Your Honor, we would offer

5      Defense Exhibit 708.

6                  MS. AKERS:   No foundation.

7           (The following was held sidebar, outside the hearing of the

8      jury:)

9                  THE COURT:   What's your point?

10                 MS. AKERS:   That he testified he has not seen this.

11     He maybe saw the events in real life but that doesn't mean he's

12     seen this.    He doesn't know who created it.

13                 THE COURT:   I thought he said he did see it.

14                 MS. AKERS:   No.   He said he saw the event, not the

15     advertisement.

16                 THE COURT:   You need to clear that up.      If that's the

17     case, then she's right.        Very well.

18          (Sidebar concluded.       The following was held in open court:)

19     BY MS. WEST:

20     Q.   Did you see an advertisement by the people that is in

21     Defense Exhibit 708?

22     A.   This is the Asian Pacific Americans for Trump?

23     Q.   Yes.

24     A.   Not this specific advertisement but the same march.

25                 THE COURT:   I'll sustain the objection.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 165 of 284   165

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1      BY MS. WEST:

2      Q.   Let's go to 705.     I'm showing you Defense Exhibit 705.

3      Have you seen this before?

4      A.   Yes.

5      Q.   Where did you see this?

6      A.   Advertised on the Internet.

7      Q.   And do you know perhaps when you saw it?

8      A.   Around the same time period, November 7th.

9      Q.   Okay.   And does this advisement accurately depict what you

10     saw during the November 7th time frame?

11     A.   Yes.

12                 MS. WEST:    At this time, Your Honor, we would offer

13     Defense Exhibit 705 into evidence.

14                 THE COURT:   Any objection?

15                 MS. AKERS:   No objection.

16                 THE COURT:   Admitted.

17          (Defendant's Exhibit 705 received in evidence.)

18     BY MS. WEST:

19     Q.   Now, you've said that there were other --

20                 MS. WEST:    Oh, sure, I'm sorry.   I thought the jury

21     had seen it.    When I see it here, I don't know what -- Your

22     Honor, I don't know what --

23                 THE COURT:   Once I admit it, then it's shown to them.

24                 MS. WEST:    All right.   Great.

25     BY MS. WEST:
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 166 of 284   166

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1      Q.   So you saw advertisement like this.       And based on the

2      advertisement was it for a march at a certain time?

3                  MS. AKERS:   Leading.

4                  THE COURT:   Overruled.

5                  THE WITNESS:   Yeah, actually, noon.

6      BY MS. WEST:

7      Q.   On what date?

8      A.   November 14th, 2020.

9      Q.   Did you decide whether or not to attend this march?

10     A.   I did attend it.

11     Q.   So tell the members of the jury what your thinking was when

12     you decided to attend this march?

13     A.   That it would be a rally for election integrity.

14     Q.   So you did attend?

15     A.   Yes.

16     Q.   All right.   And tell the members of the jury, had you ever

17     been to Washington, D.C. before November 14th?

18     A.   No.

19     Q.   All right.   And did you just go that day, November 14th?

20     A.   No, I arrived in D.C. the weekend prior.

21     Q.   And you attended the march that day?

22     A.   Yes.

23     Q.   And how long were you in the D.C. general area for this

24     march?

25     A.   Approximately a week.
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1      Q.   I'm talking about just November 14th.

2      A.   Oh, for that date?     Five, six hours.

3      Q.   Describe, if you would, for the jury what you experienced

4      during this march.

5      A.   Very peaceful.    A lot of different groups had come to

6      present why they felt strongly about their shared opinions

7      about the election.     Again, different groups like the Asian

8      Americans groups that you presented earlier.         I did see them.

9      I also saw Women for Trump, Gays for Trump, different

10     organizations that were trying to advocate for what they

11     perceived as a fraudulent election.

12     Q.   And was it a positive experience for you?

13     A.   Yeah, I'd say it was.

14     Q.   All right.   So when you went to this march, describe to the

15     jury, where exactly did you start at and where exactly did you

16     end at?

17     A.   We started at Freedom Plaza, which is right at the north

18     end of Pennsylvania Avenue, and we walked all the way down

19     Pennsylvania Avenue right to where the Capitol is.

20     Q.   Did you cross the grounds of the Capitol?

21     A.   For a bit, yeah, but eventually at that time we walked

22     towards the Supreme Court.

23     Q.   And did you end up there?

24     A.   I did.

25     Q.   Were there banners placed along the way -- when you say you
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 168 of 284   168

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1      were able to see the Asian Americans for Trump, how did you

2      know that that was that group?

3      A.   They were all holding and displaying it in a very large

4      banner.

5      Q.   Can you just give the members of the jury the size of how

6      you could figure that out?

7      A.   Approximately, 6, 7 feet wide.

8      Q.   And estimate, if you would, please, for the jury, how many

9      of those you saw that day.

10     A.   I would say maybe three or four different large signs,

11     large banners.

12     Q.   And did you return back home to work?

13     A.   Later on in the week -- well, actually during that week,

14     yes, I did.    I was working remotely.

15     Q.   Did you continue in your quest for trying to figure out

16     what happened?

17     A.   Yes.

18     Q.   And what did you do?

19     A.   I had watched more different videos, different statistics

20     on the exact voter irregularities that were seen in different

21     states, different numbers were documented, whether it was in

22     Arizona, Georgia, Michigan, and used those as an indicator.

23     Q.   Okay.   So was there another rally in December?

24     A.   There was.

25     Q.   And did you go?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 169 of 284   169

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1      A.   I didn't.

2      Q.   All right.    And did you eventually decide to come to a

3      rally on January 6th?

4      A.   I did.

5      Q.   And how was it that you made a decision to do that?

6      A.   I saw some advertisements all over the Internet,

7      advertisements for a protest.       I believe it was Wild Protest,

8      alongside some others.      One was -- again, I think it was the

9      same group, Women for Trump.       And there were probably a couple

10     other groups, maybe Jericho March.       So that's how I found out

11     about it.

12     Q.   All right.

13               MS. WEST:    Ms. Cubbage, could you bring up Defense

14     Exhibit 711.

15     BY MS. WEST:

16     Q.   I'm showing you Defense Exhibit 711.       Do you see that?

17     A.   Yes, I do.

18     Q.   And does it have a date on it?

19     A.   Saturday, 11/14/2020.

20     Q.   Were you in D.C. on that exact day?

21     A.   Yes, I was.

22     Q.   Do you see what's in the photograph?

23     A.   Yes, I do.

24     Q.   Does that fairly and accurately depict what you saw when

25     you were here on November 14th?
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1      A.   Yes, it does.

2                MS. WEST:    At this time, Your Honor, we would offer

3      Defense Exhibit 711.

4                THE COURT:    Any objection?

5                MS. AKERS:    Yes, Your Honor, to authenticity and

6      foundation.

7                THE COURT:    No, no.

8           (The following was held sidebar, outside the hearing of the

9      jury:)

10               THE COURT:    Don't make speaking objections before the

11     jury; just object.

12               MS. AKERS:    Understood.    I apologize, Your Honor.

13     One, he has not established that he was in this area.           He

14     hasn't even established where this is.        Additionally, it has

15     narrative on it that there's no foundation for and we don't

16     know the source of this photo.       I mean, there's standard

17     objections.    There's no official foundation for this.

18               MS. WEST:    Your Honor, my response is the government

19     did not object to their Getty images, third-party source

20     videos, unless they were irrelevant.        This is highly relevant.

21     It's a Getty image.     That's where it comes from.

22               THE COURT:    Whoa, whoa, whoa.     What is a Getty?       I

23     don't know anything about this.       I'm not a techie.

24               MS. WEST:    Yeah, me neither.     But a Getty image is a

25     third-party source, just like all these videos.
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1                  THE COURT:   The key is, can he say he saw this

2      particular location and this fairly and accurately depicts what

3      he saw?     If he can do that, then that's fine.      So be more

4      specific.

5           (Sidebar concluded.     The following was held in open court:)

6      BY MS. WEST:

7      Q.   Did you -- you testified that you went to the Supreme

8      Court; is that right?

9      A.   Yes.

10     Q.   And that's where a lot of the protesting took place?

11     A.   Yes.

12     Q.   And do you recognize in this photo where that photo was

13     taken?

14     A.   In front of the Supreme Court.

15     Q.   And you were there in front of the Supreme Court on

16     November 14th?

17     A.   Yes, I was.

18                 MS. WEST:    At this time, we offer --

19                 THE COURT:   Did you actually see this particular

20     location and see this image?

21                 THE WITNESS:   Yes, I did.

22                 THE COURT:   Admit it -- one moment, please.

23          (The following was held sidebar, outside the hearing of the

24     jury:)

25                 MS. AKERS:   Your Honor, she authenticated the text up
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1      top, which is, I believe, after the fact written by a news

2      reporter.

3                THE COURT:    Yeah, I didn't read it.      Hold on.    Well,

4      that should be removed.

5                MS. WEST:    I agree, me too, Your Honor.       We're going

6      to put a cropped image in of just the photograph.

7                THE COURT:    Okay.   That needs to be done before it's

8      shown to the jury, but otherwise I'll admit it.

9                MS. WEST:    We just did it, Your Honor.       I should tell

10     Your Honor in pretrial proceedings we showed Mr. Cook hundreds

11     of images of all of these protests, and then only picked out

12     the ones that he could recognize.

13               THE COURT:    Okay.

14          (Sidebar concluded.     The following was held in open court:)

15               MS. WEST:    So, again, the defense would offer 711.

16               THE COURT:    Admitted.

17          (Defendant's Exhibit 711 received in evidence.)

18               MS. WEST:    Ms. Cubbage, could you please bring up 712.

19     Thank you.

20     BY MS. WEST:

21     Q.   Do you see that on your screen, sir?

22     A.   Yes, I do.

23     Q.   Defense Exhibit Number 712.      And do you recognize this

24     photograph, sir?

25     A.   I recognize -- yes, I do.      The exact location and that time
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 173 of 284      173

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1      of day.

2      Q.   Do you know what date this photograph was taken?

3      A.   November 14th, 2020.

4      Q.   Did you take this photograph?

5      A.   No.

6      Q.   Did you see what was depicted in this photograph?

7      A.   Yes.

8      Q.   On November 14th of 2020?

9      A.   Yes.

10                 MS. WEST:    At this time, Your Honor, the defense would

11     offer Defense Exhibit 712.

12                 THE COURT:   Any objection?

13                 MS. AKERS:   Yes, yes.

14          (The following was held sidebar, outside the hearing of the

15     jury:)

16                 THE COURT:   Yes?

17                 MS. AKERS:   Your Honor, I think the question she's

18     asking ought to be, have you seen this photograph.          Of course

19     he's seen it after the fact, but the defense counsel is trying

20     to use it in the case in chief.       Did he see this location at

21     the time the photograph was being taken is the proper

22     authentication here.

23                 THE COURT:   That's fine.   He says he saw it.      If he

24     said this is something he actually observed.

25                 MS. AKERS:   I think he testified that he'd seen this
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 174 of 284    174

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1      photograph.

2                MS. WEST:    No, that's not what he said.

3                THE COURT:    Let's clear it up.     I thought he said he

4      actually saw this image.

5                MS. WEST:    That's right.

6                THE COURT:    Assuming he said that.      You can ask him

7      again.

8                MS. WEST:    Yes, sir.

9           (Sidebar concluded.     The following was held in open court:)

10     BY MS. WEST:

11     Q.   Just so that I'm clear, the image in this photograph did

12     you actually see this on November 14th of 2020?

13     A.   The image, yes.    I mean, I was at that exact location.

14               MS. WEST:    Okay.

15               THE COURT:    The question is:     Did you actually see

16     what's being depicted on that photograph?

17               THE WITNESS:    Can I recall if it's exact to the tee?

18     I mean, I can't say that but I can say that that is what I saw

19     on November 14th, 2020.      I was at that exact location with

20     people walking in that exact area.

21               THE COURT:    That's not the question.      Do you recall

22     that you actually saw what is being shown on that photograph?

23               THE WITNESS:    This specifically with this individual

24     with the flags, I can't say definitively, but that area, yes.

25               THE COURT:    Then I'll sustain the objection.
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1                  MS. WEST:    We'll move on.

2                  THE COURT:   I have to sustain the objection.       If he

3      can't say he actually saw that, he can't authenticate it.            So

4      I'll sustain the objection.

5                  MS. WEST:    Would you bring up Number 713, Ms. Cubbage.

6      BY MS. WEST:

7      Q.   Same question, Mr. Cook.       Do you see Defense Exhibit 713?

8      A.   I do.

9      Q.   And do you recognize this photograph?

10     A.   I recognize the exact area on November 14th, 2020, and that

11     particular area.

12     Q.   Okay.   Did you see on November 14th what's in this

13     photograph in that particular area?

14     A.   I saw something very similar to what is in that photograph

15     on that particular area on that particular day.

16     Q.   When you say something similar, do you mean the images you

17     see in it?

18     A.   Yes.

19                 MS. WEST:    At this time, Your Honor, we would offer

20     Defense Exhibit 13 [sic].

21                 MS. AKERS:   Same objection.

22                 THE COURT:   Pick up.

23          (The following was held sidebar, outside the hearing of the

24     jury:)

25                 THE COURT:   I mean, I don't know how I let it in.       I
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 176 of 284        176

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1      don't want to keep evidence out but I just don't see -- if he

2      can't say -- and he's -- that this fairly and accurately

3      depicts what he actually saw that day, which is what he's got

4      to do to authenticate it, he hasn't authenticated it.

5                MS. WEST:    Your Honor, all the government witnesses

6      testified about all types of areas that they didn't personally

7      see that -- in fact, the last witness just did, that he didn't

8      see that stuff in the tunnel.       It was somebody else's body-worn

9      camera but that he was there.       He was able to --

10               THE COURT:    He did -- he did say they saw those -- I

11     wouldn't let them in if he wasn't saying that he actually saw

12     those images that were being depicted.

13               MS. WEST:    The rule of evidence says it has to fairly

14     and accurately --

15               THE COURT:    He hasn't been asked that.

16               MS. WEST:    All right.    I'll ask him.

17               MS. AKERS:    While we're here, this is additionally

18     irrelevant.    This was from a 2020 march.      He's not been charged

19     with anything related to the 2020 march.        This is not on

20     Capitol grounds.     These officers are unidentified.       It's just

21     completely irrelevant.

22               MS. WEST:    It goes to his state of mind as to what he

23     expected was going to happen on January the 6th.

24               THE COURT:    I'll admit it for that purpose only.         He

25     does need to say that it fairly and accurately depicts what he
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1      saw that day.

2                  MS. WEST:    Yes, sir.

3           (Sidebar concluded.     The following was held in open court:)

4      BY MS. WEST:

5      Q.   Mr. Cook, does this photograph fairly and accurately depict

6      what you saw on November 14th in this area?

7      A.   Yes.

8                  MS. AKERS:   No objection.

9                  THE COURT:   Very well.    Admitted.

10          (Defendant's Exhibit 713 received in evidence.)

11                 MS. WEST:    Ms. Cubbage, would you bring up, please,

12     Defense Exhibit 715.

13                 JUROR:   There's about a ten-second delay from when he

14     admits it, so we don't see it very long.

15                 COURTROOM DEPUTY:    Also, Your Honor, I'm going to ask

16     that if you want it to be shown to the jury, give them a few

17     minutes so they can see it before you go to your next exhibit

18     that you want, Ms. Cubbage --

19                 THE COURT:   Okay.   We can put it back up so they can

20     see it.

21                 Okay.    We can move on.

22     BY MS. WEST:

23     Q.   Mr. Cook, you see Defense Exhibit 713 on the screen?            Do

24     you see it?

25     A.   Is it what's --
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1                THE COURT:    Is this the same one?

2                MS. WEST:    Yes, sir.

3                THE COURT:    He's already said and I've admitted it and

4      they've had a chance to see it.

5                MS. WEST:    I'm going to ask him a question about it,

6      Your Honor.

7                THE COURT:    Go ahead.

8      BY MS. WEST:

9      Q.   With regard to this area, what is -- and this photograph,

10     what do you see?

11     A.   I see what looks to be police officers --

12               MS. AKERS:    Objection, Your Honor.

13          (The following was held sidebar, outside the hearing of the

14     jury:)

15               THE COURT:    Are you asking him what impression he

16     derived from that?     Because as I understand, you're saying that

17     it was a peaceful march on that day and he thought when he came

18     back in January that would be what he was experiencing also.

19     Is that the purpose?

20               MS. WEST:    Yes, Your Honor.

21               THE COURT:    Then he needs to be asked something to

22     that effect other than what he saw.        I don't know what he's

23     going to say to that.     I'll give you an opportunity to lead to

24     some degree, so that he's only testifying about the perception

25     he had as to that event.
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1                  MS. WEST:   Yes, sir.

2           (Sidebar concluded.     The following was held in open court:)

3      BY MS. WEST:

4      Q.   With regard to these police officers, how did you perceive

5      what was happening that day with regard to these police

6      officers?

7      A.   It was a very peaceful time.

8      Q.   Okay.

9                  MS. WEST:   If you would, Ms. Cubbage, bring up Defense

10     Exhibit 715.

11     BY MS. WEST:

12     Q.   Do you see on your screen, sir, Defense Exhibit 715?

13     A.   I believe it's 714.

14     Q.   Okay.   It got cut off, so I don't see an exhibit number.

15                 MS. WEST:   Okay.   Thank you.

16     BY MS. WEST:

17     Q.   All right.   That's Exhibit 714.      Do you see that on your

18     screen, sir?

19     A.   Yes.

20     Q.   Do you recognize what's in that photograph?

21     A.   I do.

22     Q.   And does it fairly and accurately depict what you remember

23     about what you saw?

24     A.   It does.

25     Q.   Do you know what date you saw this?
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1      A.   November 14th, 2020.

2                  MS. WEST:    At this time, Your Honor, we would offer

3      Defense Exhibit 714.

4                  MS. AKERS:   No objection.

5                  THE COURT:   Admitted.

6           (Defendant's Exhibit 714 received in evidence.)

7      BY MS. WEST:

8      Q.   Okay.   If you would, describe what was happening at this

9      time when you saw this.

10     A.   A bunch of people coming together.       It looks like a very

11     bright, sunny day.       And yeah, a lot of comradery, brotherhood,

12     peacefulness.

13     Q.   Can you describe the general tenor of the crowd at that

14     time?

15     A.   Very calm, very together.

16     Q.   Okay.   How did it make you feel?

17     A.   Very good.

18     Q.   All right.

19                 MS. WEST:    Ms. Cubbage, could you bring up Defense

20     Exhibit 715.    Thank you.

21     BY MS. WEST:

22     Q.   All right.   Mr. Cook, do you see Defense Exhibit 715?

23     A.   Yes.

24     Q.   Do you recognize what's in that photograph?

25     A.   I do.
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1      Q.    Do you recognize the area of the Capitol area where this

2      is?

3      A.    Yes.

4      Q.    Does it fairily and accurately depict what you saw on a

5      certain day?

6      A.    Yes, it does.

7      Q.    And what day was that?

8      A.    November 14th, 2020.

9                   MS. WEST:    At this time, Your Honor, we would move 715

10     Defense into evidence.

11                  THE COURT:   Any objection?

12                  MS. AKERS:   No.

13                  THE COURT:   Admitted.

14           (Defendant's Exhibit 715 received in evidence.)

15     BY MS. WEST:

16     Q.    Now, could you describe where this is?

17     A.    This is near the Capitol.

18     Q.    What date was it?

19     A.    November 14th, 2020.

20     Q.    And were you amongst the protesters in this photograph?

21     A.    Yes, I was.

22     Q.    And describe, if you would, what you see and what was

23     happening at this time?

24     A.    Very peaceful, noncombative situation.

25     Q.    With regard to the police officers you see, was there any
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 182 of 284   182

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1      interaction with them at all?

2      A.   No.

3                 MS. WEST:    Ms. Cubbage, could you bring up 716.

4      BY MS. WEST:

5      Q.   I'm showing you what's been marked as 716.        Did you see

6      these people in this photograph on November 14th, 2020?

7      A.   Not these specific people, but people very similar.

8      Q.   Okay.

9                 MS. WEST:    We'll move on, Your Honor.

10                THE COURT:   Very well.

11                MS. WEST:    Bring up 717.

12     BY MS. WEST:

13     Q.   Do you see 717?

14     A.   Yes, ma'am.

15     Q.   All right.    And it's Defense 717.     And is the date

16     November 14th, 2020?

17     A.   Yes, it is.

18     Q.   Do you recognize the area that's inside this photograph?

19     A.   Yes, I do.

20     Q.   And were you personally in this area inside this

21     photograph?

22     A.   Yes, I was.

23     Q.   And at this time, I'd ask if it fairly and accurately

24     depicts what you saw on November 14th of 2020?

25     A.   It does.
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1      Q.   All right.

2                MS. WEST:    At this time, Your Honor, we would offer

3      717 Defense.

4                MS. AKERS:    Can you pick up the phone, Your Honor.

5           (The following was held sidebar, outside the hearing of the

6      jury:)

7                THE COURT:    Is he's saying that he actually recognizes

8      what's depicted on there or are you only offering it for the

9      location that's depicted?      Because that's not clear.

10               MS. WEST:    I'm offering it for the location of where

11     he exactly was on November 14th of 2020.

12               THE COURT:    Any objection?     It made clear that he's

13     only authenticating it as far as that being the location where

14     he was, as compared to it showing actually what he saw, if

15     that's not the case.

16               MS. WEST:    I can ask him both questions, Your Honor.

17               THE COURT:    Very well.

18          (Sidebar concluded.     The following was held in open court:)

19     BY MS. WEST:

20     Q.   To clear things up, is this a location where you actually

21     were on November 14th of 2020?

22     A.   Yes, it is.

23     Q.   And did you see, like, what's depicted in the photograph as

24     far as statues or the things in the photograph?

25     A.   Yes, I did.
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1                THE COURT:    What about the people?      Is that a scene

2      itself that you actually saw or are you just saying that that

3      shows the location where you were?

4                THE WITNESS:    No, it's a scene I actually saw.

5                THE COURT:    Okay.

6                MS. AKERS:    No objection.

7                THE COURT:    Admitted.

8           (Defendant's Exhibit 717 received in evidence.)

9      BY MS. WEST:

10     Q.   Are you saying, Mr. Cook --

11               MS. AKERS:    Leading.

12     BY MS. WEST:

13     Q.   Do you know who these people are in this photograph?

14     A.   I see a couple what looks like to be police officers.

15     Q.   Do you know them personally?

16     A.   I don't.

17     Q.   Do you remember seeing them that day?

18     A.   At some point I saw them.

19     Q.   Saw who?

20     A.   Police officers.

21               THE COURT:    Did you see them at this point, running

22     like they are.

23               THE WITNESS:    They may have been running around.

24     Specifically running in that fashion, I can't definitively say.

25               THE COURT:    Well.
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1                MS. AKERS:    Then, Your Honor, we reraise the same

2      objection.

3           (The following was held sidebar, outside the hearing of the

4      jury:)

5                THE COURT:    Pick up.    I mean, I'll admit it for the

6      sole purpose of him saying that this depicts a location where

7      he was at.    But he can't say, based upon what he said, that he

8      actually saw this particular image as far as the people and

9      everything else, but he can only say that this is a location

10     where he was at.

11               MS. WEST:    That's what I think the -- I hope the Court

12     can tell what I'm doing is I'm trying to show the jury where he

13     was on November 14th.

14               THE COURT:    That's fine.

15               MS. WEST:    Okay.

16          (Sidebar concluded.     The following was held in open court:)

17     BY MS. WEST:

18     Q.   So Mr. Cook, just to confirm, you were in this location on

19     November 14th?

20     A.   Yes, I was.

21               MS. WEST:    And can this be published to the jury,

22     please.

23               THE COURT:    Very well.    I'll admit it but it's

24     admitted solely for the purpose of showing the location where

25     he says he was on November 14th.       He's not saying he actually
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 186 of 284   186

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1      saw this particular image.      Only it's the location where he was

2      previously at on November 14th.       So it will be admitted for

3      that purpose.

4      BY MS. WEST:

5      Q.   I'm showing you next Defense Exhibit --

6                THE COURT:    Did you-all see it?     Okay.

7      BY MS. WEST:

8      Q.   Showing you next Defense Exhibit 720.

9           Do you see Defense Exhibit 720 on the screen?

10     A.   Yes, I do.

11     Q.   The same questions.     Are you familiar with this exact

12     scene?

13     A.   Yes, I am.

14     Q.   And have you seen this image on November 14th of 2020?

15     A.   Yes, I have.

16     Q.   And does this fairly and accurately depict what you saw on

17     November 20th -- November 14th of 2020?

18     A.   Yes, it does.

19     Q.   And how can you be sure that this is an area that you saw

20     before?

21     A.   Because I was present in that area.

22               MS. WEST:    Okay.   At this time, we would offer

23     Exhibit 720 of the defense.

24               MS. AKERS:    No objection.

25               THE COURT:    Admitted.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 187 of 284   187

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1           (Defendant's Exhibit 720 received in evidence.)

2      BY MS. WEST:

3      Q.   Tell the members of the jury, sir, where this was.

4      A.   This is in front of the Supreme Court.

5      Q.   Can you give us a little bit more direction.

6      A.   I would say right to the left side, if we were talking

7      about the pillars.

8      Q.   I'm sorry?

9      A.   If we were talking about the pillars of the Supreme Court,

10     on the left side.

11     Q.   All right.    And were you able to see a Capitol Police

12     officer behind a shield at this exact -- at the location of

13     that left pillar?

14     A.   Yes, I was.

15     Q.   And did you see anybody go beyond the barricades in this

16     area at the Supreme Court?

17     A.   No, I did not.

18     Q.   Did you go behind the barricades?

19     A.   I did not.

20               MS. WEST:    Ms. Cubbage, would you please bring up 721.

21     BY MS. WEST:

22     Q.   Do you see that on your screen, Mr. Cook?

23     A.   Yes, I do.

24     Q.   All right.    And have you seen this photograph before?

25     A.   Yes, I have.
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1      Q.   And what day is this photograph?

2      A.   November 14th, 2020.

3      Q.   And were you in this general location?

4      A.   Yes, I was.

5      Q.   And does this photograph fairly and accurately depict what

6      you saw on November 14th of 2020?

7      A.   Yes, it does.

8                MS. WEST:    At this time, Your Honor, we would offer

9      Defense Exhibit 721.

10               THE COURT:    Any objection?

11               MS. AKERS:    Yes.

12          (The following was held sidebar, outside the hearing of the

13     jury:)

14               THE COURT:    Yes.

15               MS. AKERS:    Your Honor, this is irrelevant.       We're now

16     on, I think, the seventh or eighth photo showing he was in a

17     particular location that's not charged to conduct.

18               THE COURT:    That's true.    I mean, none of them have

19     shown him at the tunnel or inside the tunnel, that's true.

20               MS. AKERS:    This is not even on Capitol grounds.         It's

21     not even within a month of the charged conduct.          We don't know

22     who these officers are.      We don't know where Mr. Cook was.

23     It's irrelevant and it's cumulative.

24               MS. WEST:    First of all, this is wrong, Your Honor.

25               THE COURT:    As I understand, these are being offered
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 189 of 284   189

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1      to show that this event that he attended on November 14th was a

2      peaceful event.    I assume for the purpose of suggesting that

3      when he came to D.C. on January 6th, that he expected to

4      participate in a peaceful event despite what the government

5      evidence shows that he did that day, which was not peaceful.

6                But I think, again, it goes to the weight that the

7      jury would give to the government's evidence about what he did

8      that day and whether this somehow would suggest that he was

9      being peaceful, even though the evidence doesn't show that.          So

10     I'd admit it.

11               MS. AKERS:    Understood.

12          (Sidebar concluded.     The following was held in open court:)

13               THE COURT:    It will be admitted.

14          (Defendant's Exhibit 721 received in evidence.)

15     BY MS. WEST:

16     Q.   Mr. Cook, do you see that on your screen?

17     A.   Yes, I do.

18     Q.   Would you please describe briefly to the jury what you saw

19     that day.

20     A.   I see different groups of people.       It looks like Antifa,

21     also group of Trump supporters, Capitol Police, sunny day,

22     peaceful.   I was standing in the same area.

23     Q.   I was just going to ask about the tenor of the crowd, what

24     those people were.

25     A.   Yes, very peaceful.
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1      Q.   So it's fair to say that November 14th was a good time for

2      you?

3      A.   Yes, it was.

4      Q.   Okay.   So let's go to your decision to come on January 6th.

5                  THE COURT:   We've been going for about an hour and a

6      half.   So before we get to that, we'll take a ten-minute break.

7           (Jury exits the courtroom at 3:22 PM)

8           (A recess was taken at 3:22 PM)

9           (Jury enters the courtroom at 3:36 PM)

10                 THE COURT:   You may be seated.

11                 Okay.

12                 MS. WEST:    Yes, sir.

13     BY MS. WEST:

14     Q.   Mr. Cook?

15     A.   Yes.

16     Q.   After you were here in November 14th of 2020, and then you

17     went home and decided to come back January 6th, tell the

18     members of the jury what happened next.

19     A.   After I decided to come?

20     Q.   Yes.

21     A.   Eventually, I rented a car, scheduled some flight -- excuse

22     me, hotel reservations, and got to D.C. about -- it would be

23     the weekend before January 6th.       So that Saturday.

24                 MS. WEST:    And, Ms. Cubbage, would you be kind enough

25     to bring up Defense Exhibit 101.
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1      BY MS. WEST:

2      Q.   Now, when you were making these -- getting a car rental and

3      a hotel, were you also looking on the Internet to see if there

4      was any more information that you could use?

5      A.   Yes.

6      Q.   All right.   Tell the members of the jury what you saw on

7      the Internet that would guide you in coming to an event

8      January 6th?

9      A.   I saw an advertisement for Wild Protests.

10     Q.   Did you see anything else?

11     A.   Yeah, I saw different groups advertised as like a

12     conglomerate together for the same event.

13     Q.   Do you see Defense Exhibit 101?

14     A.   I do.

15                 MS. WEST:   Ms. Cubbage, would you please scroll

16     through.

17     BY MS. WEST:

18     Q.   Do you see that there?

19     A.   Yes, I do.

20     Q.   Do you recognize this document?

21     A.   Yes, I do.

22     Q.   How is it that you recognize this document?

23     A.   Because I saw the same document.

24     Q.   Tell the members of the jury where you saw it.

25     A.   Online.
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1      Q.   And did this document, then, give you what you needed to

2      continue to make your plans?

3      A.   Yes.

4      Q.   And did you read what was in this document?

5      A.   Yes.

6      Q.   Can you tell the jury and the Court about when you saw

7      this?

8      A.   I would have seen this maybe a week before, a couple weeks

9      before.

10     Q.   And does this document fairly and accurately depict what it

11     was that you saw a couple weeks or a week before you came here

12     on January 6th?

13     A.   It does.

14                 MS. WEST:    At this time, Your Honor, we would offer

15     Defense Exhibit 101.

16                 MS. AKERS:   No objection.

17                 THE COURT:   Admitted.

18          (Defendant's Exhibit 101 received in evidence.)

19                 MS. WEST:    Can you scroll to Page 2.    Thank you.

20     BY MS. WEST:

21     Q.   All right.   Mr. Cook, do you see that on the screen there?

22     A.   Yes, I do.

23     Q.   In the middle, do you see an advertisement for Wild

24     Protest?

25     A.   I do.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 193 of 284     193

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1      Q.   Where does it say that this is going to take place?

2      A.   It says it will take place at the U.S. Capitol lawn.

3      Q.   And?

4      A.   And steps.

5      Q.   Did you read this specific MAGA rally map guide?

6      A.   Yes, I did.

7      Q.   Do you see -- there were other rallies.        Do you see that?

8      A.   Yes, I did.

9      Q.   Did you read about those other rallies?

10     A.   I saw them.   Did I read the specifics?       I was more focused

11     on Wild Protest but I saw other ones, like the Jericho march.

12     Q.   When you had these in mind -- when you approached the

13     Capitol on January 6th, did you have this in mind?

14     A.   Yes, I did.

15                 MS. WEST:   Would you go, please, Ms. Cubbage, to the

16     next page, and the next page.       All right.

17     BY MS. WEST:

18     Q.   You didn't attend any events on January 5th, did you?

19     A.   No, I didn't.

20                 MS. WEST:   Go ahead.

21     BY MS. WEST:

22     Q.   All right.    And you see there the advertisement for the

23     Jericho march?

24     A.   Yes.

25     Q.   Tell the jury what you know about that.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 194 of 284   194

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1      A.   There were several different groups that were scheduled for

2      January 6th, and they were positioned in different areas near

3      the Washington Monument, and they were going to walk down to

4      different parts of the Capitol for the protest.

5      Q.   And is that, in fact, what happened?

6      A.   As far as I know, yes.

7      Q.   Did you march with any individual group or were you on your

8      own?

9      A.   I was on my own.

10     Q.   Do you see here another page, Virginia Women for Trump?

11     A.   I do.

12     Q.   Do you remember this advertisement?

13     A.   I don't remember the specific advertisement, but the Women

14     for Trump, yes.

15               MS. WEST:    Go ahead, Ms. Cubbage.

16               Okay.   Would you please bring up 102, Ms. Cubbage.

17               I'm confirming, Your Honor, if I might, with your

18     clerk that 101 was received into evidence?

19               COURTROOM DEPUTY:     Yes.

20               MS. WEST:    Thank you, Ms.Hill.

21     BY MS. WEST:

22     Q.   Do you see Defense Exhibit 102?

23     A.   I do.

24     Q.   And do you recognize it?

25     A.   I do.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 195 of 284   195

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1      Q.   And how do you recognize it?

2      A.   I've seen it before.

3      Q.   Where did you see it?

4      A.   Online.

5      Q.   When online did you see it?

6      A.   I would say sometime between late December and early

7      January of '20 to 2021.

8      Q.   Okay.   And does this advertisement you saw fairly and

9      accurately depict what you saw online?

10     A.   Yes.

11                 MS. WEST:    At this time, Your Honor, we would offer

12     Defense Exhibit 102.

13                 MS. AKERS:   No objection.

14                 THE COURT:   Admitted.

15          (Defendant's Exhibit 102 received in evidence.)

16     BY MS. WEST:

17     Q.   Mr. Cook, is this what you were talking about, you were

18     more focused on the WildProtest.com?

19                 MS. AKERS:   Objection.   Leading.

20                 THE COURT:   It is.

21                 MS. WEST:    I'll rephrase, Your Honor.

22     BY MS. WEST:

23     Q.   You testified earlier that you were aware of several

24     groups; is that right?

25     A.   Yes.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 196 of 284      196

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1      Q.   Was there one group that you had received an advertisement

2      for and read in particular?

3      A.   Yes.   It was the WildProtest.com.

4      Q.   And if you would, please, sir, would you look at what's in

5      front of you there?

6      A.   Yes.

7      Q.   And does it say where this protest will take place?

8      A.   At the U.S. Capitol lawn and steps.

9      Q.   So after you read this, I see at the bottom it says:            "Text

10     Jan 6 to 86184."

11          Did you do that?

12     A.   I don't believe so.

13                 MS. WEST:   Now, Ms. Cubbage, would you be kind enough

14     to bring up Defense Exhibit 106.

15     BY MS. WEST:

16     Q.   Do you recognize this?

17     A.   Yes.

18     Q.   Did you see this advertisement?

19     A.   I did.

20     Q.   Does it fairly and accurately depict what you saw?

21     A.   Yes.

22     Q.   When did you see it?

23     A.   Sometime between late December and early January of 2021.

24                 MS. WEST:   At this time, we'd offer Defense

25     Exhibit 106.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 197 of 284   197

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1                MS. AKERS:    No objection.

2                THE COURT:    Admitted.

3           (Defendant's Exhibit 106 received in evidence.)

4                MS. WEST:    Ms. Cubbage, would you be kind enough to

5      bring up 113 of the defense.

6      BY MS. WEST:

7      Q.   Do you see Defense Exhibit 113?

8      A.   I do.

9      Q.   What is it?

10     A.   It's a large crowd of gatherers at the Washington Monument.

11     Q.   Do you know what date it is?

12     A.   January 6, 2021.

13     Q.   And were you there?

14     A.   Yes, I was.

15     Q.   Do you recognize this photograph?

16     A.   I do.

17     Q.   Do you recognize what's in this photograph?

18     A.   I do.

19     Q.   Does it accurately depict what you saw on January 6th and

20     fairly depict what you saw on January 6th?

21     A.   It does.

22               MS. WEST:    At this time, Your Honor, we'd ask that

23     Defense Exhibit 113 be entered into evidence.

24               MS. AKERS:    No objection.

25               THE COURT:    Admitted.
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1           (Defendant's Exhibit 113 received in evidence.)

2      BY MS. WEST:

3      Q.   If you would, please, sir, describe what you saw that day.

4      A.   Yeah.    In this photo, there was a speech by the President

5      and a large crowd of people listening on the Washington

6      Monument.

7      Q.   Where exactly was this?

8      A.   In front of the White House.

9      Q.   What time, do you know?

10     A.   I would say around 12 p.m.

11     Q.   Do you know what time it ended?

12     A.   A little after 1 p.m.

13     Q.   Did you stay for the whole speech?

14     A.   I did.

15     Q.   If you would, please, sir, on this photograph, could you --

16     based on what you see in the photograph, could you use --

17     there's a little thing you can draw on the picture.          Could you

18     put generally where you believe you were at that time?

19     A.   Yes.

20          (Witness complies.)

21     Q.   So where is that, for purposes of the record?

22     A.   Right in front of the Washington Monument.

23     Q.   Would it be the top left-hand corner of the screen?

24     A.   Yes, it would.

25     Q.   And then you circled it right in the middle of the bottom
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 199 of 284   199

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1      base of the Washington Monument; is that right?

2      A.   Yes.

3      Q.   Is that, sir, where you stood during the speech?

4      A.   Yes, it is.

5      Q.   For the entirety of the speech?

6      A.   Yes, it is.

7      Q.   Is there anything else you'd like to tell us about this

8      photograph?

9      A.   No.

10     Q.   Let me ask you this:     While you were watching this speech,

11     what was the tenor of the crowd where you were?

12     A.   Peaceful, listening to the President speak.

13     Q.   Tell the members of the jury what kinds of people you saw.

14     A.   All kinds of people.     Women, kids, young men, older ladies,

15     grandma.

16     Q.   Be careful.

17     A.   Oh, sorry.

18     Q.   And describe for the jury and the Court what these various

19     kinds of people were doing.

20     A.   Standing together.

21     Q.   So during this -- so your testimony is you were there about

22     a little over an hour?

23     A.   Yes.

24     Q.   And did you hear President Trump speak?

25     A.   I did.
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1      Q.   Do you remember something specifically that President Trump

2      said about what you should do after his speech?

3      A.   I do.

4      Q.   And what was that?

5      A.   To walk to the Capitol.

6      Q.   And did he say anything else about what he would be doing?

7      A.   That he would be there with us.

8      Q.   How did that turn out?

9      A.   He did not come.

10     Q.   Did you expect him to?

11     A.   Yeah.

12     Q.   Why?

13     A.   Because if the President says he's going to be there with

14     us, then I would think he would be there with us.

15                 MS. WEST:    May I have a moment to confer, Your Honor,

16     with Ms. Cubbage?

17                 THE COURT:   Yes.

18          (Off-the-record discussion.)

19                 MS. WEST:    Okay.   Ms. Cubbage, could you bring up 100.

20     BY MS. WEST:

21     Q.   We're not going to play this whole speech, but we'd like to

22     know if you recognize this right here?

23     A.   I do.

24     Q.   And what is it?

25     A.   It's the President speaking on January 6th.
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1      Q.   And you say you were there?

2      A.   Yes.

3      Q.   How were you able to see the President speaking?

4      A.   It was visible from where I was standing in front of the

5      Washington Monument.

6      Q.   How far away was he?

7      A.   A few football fields.

8      Q.   A few football fields?

9      A.   Yes.

10     Q.   Were there jumbotrons on the thing -- on the Mall?

11     A.   There were.

12     Q.   Were you able to watch on the jumbotron?

13     A.   I was.

14     Q.   Were you able to hear the speech?

15     A.   I was.

16                 MS. WEST:    Ms. Cubbage, we've clipped this.

17     Ms. Cubbage, can you play the clipped portion.

18                 THE COURT:   Is it in evidence?

19                 MS. WEST:    Not yet.   It's going to.   I just want to

20     get her there because it takes a while to load.

21     BY MS. WEST:

22     Q.   So does this photograph and video, have you watched it

23     before?

24     A.   I have.

25     Q.   And does it fairly and accurately depict what you saw on
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 202 of 284   202

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1      January 6th when you were at the base of that Washington

2      Monument?

3      A.   It does.

4                MS. WEST:    At this time, Your Honor, the defense would

5      offer Defense Exhibit 100.

6                THE COURT:    Just the image?

7                MS. WEST:    No, sir.

8                THE COURT:    You only asked him about authenticating

9      what he saw.

10               MS. WEST:    I think I asked him if he's seen the video

11     before and he said yes.

12               THE COURT:    Any objection?

13               MS. AKERS:    No objection.

14               THE COURT:    Very well.

15               MS. WEST:    May I offer 100 Defense Exhibit, Your

16     Honor?

17               THE COURT:    Yes, admitted.

18          (Defendant's Exhibit 100 received in evidence.)

19               MS. WEST:    Thank you.

20     BY MS. WEST:

21     Q.   Please watch as we play, Mr. Cook.

22          (Video played.)

23     Q.   Now, with regard to Defense Exhibit 100 that we just

24     watched, is that what you watched on January 6th?

25     A.   It is.
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1      Q.   Did you take the President at his word?

2      A.   I did.

3      Q.   Tell the members of the jury where you believed President

4      Trump would go from this spot to the next spot?

5                  MS. AKERS:   Objection.

6                  THE COURT:   Repeat that again.    Tell us what?

7                  MS. WEST:    Tell us where you believed President Trump

8      would go from this spot to the next spot.

9                  THE COURT:   Pick up.

10          (The following was held sidebar, outside the hearing of the

11     jury:)

12                 THE COURT:   Yes, government.

13                 MS. AKERS:   If that's her question, I suppose if it's

14     his belief, that's fine.

15                 THE COURT:   Very well.

16          (Sidebar concluded.     The following was held in open court:)

17     BY MS. WEST:

18     Q.   What did you think?

19     A.   I believe he would be going from the area in front of the

20     White House towards the Capitol.

21     Q.   Where did you think you would end up?

22     A.   At the Capitol.

23     Q.   And did you end up at the Capitol?

24     A.   Yes.

25     Q.   Did you walk down -- where did you walk down from this
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 204 of 284   204

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1      area?

2      A.   Pennsylvania Avenue.

3      Q.   Were you by yourself or with others?

4      A.   I was with others, but by myself in the group.

5      Q.   In other words, did you know anybody else personally?

6      A.   No.

7                  MS. WEST:   Ms. Cubbage, would you be kind enough to

8      bring up government -- government.       Defense Exhibit 115.

9      BY MS. WEST:

10     Q.   Do you see that, Mr. Cook?

11     A.   I do.

12     Q.   Do you recognize that?

13     A.   I do.

14     Q.   What is it?

15     A.   Pennsylvania Avenue.

16     Q.   Is it a photograph?

17     A.   Yes.

18     Q.   Do you know when that photograph was taken?

19     A.   January 6th.

20     Q.   How do you know that?

21     A.   I can see the crowd on Pennsylvania Avenue.

22     Q.   Does this photo fairly and accurately depict what you saw

23     on Pennsylvania Avenue on January 6th?

24     A.   It does.

25                 MS. WEST:   At this time, Your Honor, we would offer
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 205 of 284   205

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1      Defense Exhibit 115.

2                MS. AKERS:    No objection.

3                THE COURT:    Admitted.

4           (Defendant's Exhibit 115 received in evidence.)

5      BY MS. WEST:

6      Q.   If you would, please, Mr. Cook, describe for the members of

7      the jury, when you walked down Pennsylvania Avenue, what did

8      you do?

9      A.   Walked.

10     Q.   And what was the tenor of the crowd?

11     A.   Mainly quiet.

12     Q.   Would you use that little pen thing again and draw where

13     you believe you went from one point to the next, or circle

14     where you think you were?

15     A.   (Witness complies.)

16     Q.   And how is it that you remember that you were in this

17     specific spot?

18     A.   Because I walked on the right side of the street downwards

19     and made my way towards the south side of the Capitol area.

20     Q.   Okay.   We're going to bring up that map.       What's the thing

21     in the very middle there, that statue?        Do you know?

22     A.   The Peace Circle.

23               MS. WEST:    May I confer, Your Honor?

24               THE COURT:    Yes.

25          (Off-the-record discussion.)
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1                  MS. WEST:    Your Honor, Ms. Marcelin is going to pull

2      up Government Exhibit 106, which is in evidence.

3                  THE COURT:   Very well.

4                  MS. WEST:    It's quicker for her to do it.

5      BY MS. WEST:

6      Q.   Would you clear your screen, please, Mr. Cook.

7                  MS. WEST:    Ms. Marcelin, would you please bring up

8      Exhibit 106.

9      BY MS. WEST:

10     Q.   Now, this is already in evidence, Mr. Cook.         Can you see

11     Government Exhibit 106?

12     A.   Yes.

13     Q.   Have you seen this map before?

14     A.   I have.

15     Q.   If you'd be kind enough to use your green highlighter and

16     tell the members of the jury where you came down Pennsylvania

17     Avenue and how it is that you approached the Capitol.

18     A.   (Witness complies.)

19     Q.   Okay.   Stop.   What is that right there, if you would be so

20     kind?

21     A.   It's a parking lot.

22     Q.   All right.    And to the left -- you can see off the map, is

23     it your testimony that you came down one of the streets in D.C.

24     to get to that parking lot?

25     A.   Yes, it is.
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1      Q.   And what street was that?

2      A.   Pennsylvania Avenue.

3      Q.   Okay.   So how long did it take you to get from the

4      Washington Monument all the way to this spot right here?

5      A.   About an hour.

6      Q.   Did you stop along the way?

7      A.   No.

8      Q.   If you would, please, sir, continue.

9      A.   (Witness complies.)

10     Q.   All right.   Stop.   As you progressed this way, did you see

11     anything that would have prohibited you from getting on Capitol

12     grounds?

13     A.   No.

14     Q.   You've been sitting here through this whole trial, right?

15     A.   Yes.

16     Q.   And you've heard all this testimony about bike racks and

17     snow fencing and so on and so forth?

18     A.   Yes.

19     Q.   And signs; is that correct?

20     A.   Yes.

21     Q.   Did you see anything of that nature as you made your way up

22     to the Capitol?

23     A.   No.

24     Q.   And this is just a map of the grounds.        At the time that

25     you're coming on to the Capitol grounds, can you describe for
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1      the members of the jury how many people were around you?

2      A.   Thousands.

3      Q.   Can you say how many, tens, hundreds?

4      A.   Several thousand.

5      Q.   Now, you've stopped at an interesting place here.          As you

6      came down Pennsylvania Avenue you testified that the tenor of

7      the crowd was calm; is that right?

8      A.   Yes.

9      Q.   As you went with through this parking lot here at the top

10     left-hand part of the screen, how was the tenor of the crowd?

11     A.   Before I got to the area on the lawn, it was noticeably

12     louder.

13     Q.   Okay.   And were there crowds on either side of the Peace

14     Circle?

15     A.   Yes.

16     Q.   So in other words, if you take the four bounded sides of

17     this exhibit, not the red line necessarily, but maybe we should

18     say the three sides, the side that includes your green, were

19     there people that you could tell or that you later learned were

20     in all these areas of the Capitol?

21     A.   Yes.

22     Q.   All right.   Now, as you went past the Peace Circle, where

23     are you going at this point?

24     A.   Towards the lawn.

25     Q.   What lawn is that?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 209 of 284   209

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1      A.   The Capitol lawn.

2      Q.   Is it known widely as the west lawn?

3      A.   Yes.

4      Q.   Now, as you -- did you stop at any point on the west lawn?

5      A.   Yes.

6      Q.   Please show the members of the jury where you stopped on

7      the west lawn.

8      A.   (Witness complies.)

9           Right there.

10     Q.   And how do you know that's where you stopped?

11     A.   Because there's enough distance between the area of not

12     lawn in front of it and where I stopped.

13     Q.   And why did you stop there?

14     A.   Because I was trying to figure out what was going on.

15     Q.   Okay.   And can you tell us about approximately what time

16     that was?

17     A.   I'd say around 2:30.

18     Q.   Okay.   Tell the members of the jury approximately, if you

19     recall, how long you stayed in this particular place?

20     A.   I'd say about 40 minutes, 30, 40 minutes.

21     Q.   Okay.   Trying to figure out what was going on?

22     A.   Yeah.

23     Q.   What did you do next?

24     A.   Gradually made my way forward, towards this area.

25     Q.   All right.   And from that point on the west lawn that you
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 210 of 284   210

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1      stood approximately 30 to 40 minutes to the point that you

2      stopped at, do you remember what that area is called?

3      A.   The Lower Terrace.

4      Q.   Is it also known as the Lower West Terrace?

5      A.   Yes.

6      Q.   Do you know approximately what you were doing at this time

7      when you stopped at the Lower West Terrace?

8      A.   Standing.

9      Q.   Standing.    What were you doing standing?

10     A.   Observing.

11     Q.   What were you observing?

12     A.   Munitions being thrown at people standing.

13     Q.   Describe that.

14     A.   It appeared to be police brutality.

15     Q.   Why do you say that?

16     A.   Because people were standing and having explosives thrown

17     at them.

18     Q.   What were these people around you in this exact area doing?

19     A.   Standing, occasionally saying, "USA."

20     Q.   And when you saw these munitions being, you said, thrown,

21     is it possible they were shot?

22     A.   Yes.

23     Q.   When you saw that, how did that make you feel?

24     A.   Pretty bad.

25     Q.   Why is that?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 211 of 284     211

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1      A.    It felt like extremely aggressive behavior.

2      Q.    What did you do after that?

3      A.    There was more of the tear gas and munitions.        Eventually,

4      moved forward.

5      Q.    Okay.   More tear gas and munitions.     Can you describe that?

6      A.    Yes.

7      Q.    Please do.

8      A.    I'm sorry?

9      Q.    Please do.

10     A.    Yes.    Lots of flash bangs, large smoke clouds surrounding

11     you, both behind me and in front of me.        And just an inability

12     to focus.

13     Q.    What were the people around you doing?

14     A.    Coughing, choking, trying to remove the irritant from their

15     eyes, also being caught in confusion with the amount of cloud

16     both behind them and in front of them.

17     Q.    How did you feel?

18     A.    Under attack.

19     Q.    Did you feel like maybe you shouldn't be there?

20     A.    Not on the lawn and not certainly, I should have no reason

21     to.

22     Q.    Why is that?

23     A.    Because that's where we were told to go.       That's what was

24     advertised and there was nothing saying otherwise.

25                  MS. WEST:   May I confer with Ms. Cubbage, Your Honor?
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1                 THE COURT:   Yes.

2           (Off-the-record discussion.)

3                 MS. WEST:    Ms. Cubbage, would you be kind enough to

4      bring up Defense Exhibit 605.

5                 May I speak with Ms. Akers for one moment, Your Honor?

6                 THE COURT:   Yes.

7           (Off-the-record discussion.)

8                 MS. WEST:    Go ahead, Ms. Cubbage.     Oh, you have it.

9      Thank you.

10     BY MS. WEST:

11     Q.   Have you seen this before -- oh, you have to clear your

12     screen, I'm sorry.      We're going to have to go back to that.

13          I'm showing you right now Defense Exhibit Number 605.           Do

14     you see that?

15     A.   I do.

16     Q.   Do you recognize it?

17     A.   I do.

18     Q.   How do you recognize it, sir?

19     A.   It's where I was.

20     Q.   Where you was where?

21     A.   Standing.

22     Q.   On?

23     A.   January 6th.

24     Q.   On?

25     A.   The Capitol lawn.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 213 of 284       213

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1      Q.   And does this short video clip fairly and accurately depict

2      where you were on the front lawn -- west lawn on January 6th?

3      A.   It does.

4                MS. WEST:    At this time, Your Honor, we would offer

5      Defendant's Exhibit 605 and ask to play it to the jury.

6                MS. AKERS:    No objection.

7                THE COURT:    Very well.    Admitted.

8           (Defendant's Exhibit 605 received in evidence.) --

9                MS. AKERS:    Could we pick up for one moment?

10          (The following was held sidebar, outside the hearing of the

11     jury:)

12               MS. AKERS:    Your Honor, Ms. West represented to me

13     that Mr. Cook is in this.      Actually, I don't think he is.         But

14     I might be mistaken on what you clipped.        So I just want to

15     make it clear we're not objecting because of that

16     representation.

17               MS. WEST:    Your Honor, this is actually a much longer

18     video but we've clipped it down to -- 14 seconds, Ms. Cubbage?

19     Yes.   And he is actually in this part.       That's why we made it

20     small.

21               MS. AKERS:    Then no objection.

22               THE COURT:    Very well.

23          (Sidebar concluded.     The following was held in open court:)

24               MS. WEST:    Your Honor, is 605 admitted?       Okay.      Thank

25     you.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 214 of 284   214

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1           (Video played.)

2      BY MS. WEST:

3      Q.   We've stopped, Mr. Cook, at the timestamp on the bottom of

4      seven seconds.    Do you see that?

5      A.   Yes, I do.

6      Q.   Do you see yourself there in the crowd?

7      A.   Yes, I do.

8      Q.   All right.   Now --

9                  MS. WEST:   No, not yet.

10     BY MS. WEST:

11     Q.   Just so that we can be clear, where are you on the west

12     lawn at this time?

13     A.   A little bit before the Lower West Terrace.

14     Q.   So at this time you're not actually on the Lower West

15     Terrace?

16     A.   No.

17     Q.   What are you trying to do in this shot here?

18     A.   I'm observing the munitions being thrown at protesters.

19                 MS. WEST:   Go ahead, Ms. Cubbage, please.

20          (Video played.)

21     BY MS. WEST:

22     Q.   Ms. Cubbage is stopped at 13 seconds there.         Were you able

23     to see that, Mr. Cook?

24     A.   Yes.

25     Q.   Would you describe what you experienced with regard to the
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 215 of 284   215

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1      crowd at that time?      I heard chants of "USA"; is that right?

2      A.   Yes.

3      Q.   Tell the members of the jury, since you were there, how the

4      crowd was behaving.

5      A.   Conduct seemed very normal, standing, protesting, "USA."

6      Q.   Compared to what you experienced on November 14th, how did

7      it compare?

8      A.   Exactly the same.

9      Q.   With any exceptions?

10     A.   No.

11     Q.   What about the number of people?

12                 MS. AKERS:   Objection to the leading.

13                 THE COURT:   Overruled.

14                 THE WITNESS:   Certainly much more people on this

15     occasion.

16     BY MS. WEST:

17     Q.   Did you see any violence at this time?

18     A.   No.

19     Q.   So you're standing in this area right before the west lawn

20     terrace; is that right?

21     A.   Yes.

22     Q.   After you saw this, what did you do next?

23     A.   After some standing and continued smoke and tear gas and

24     munitions, eventually moved forward a bit.

25     Q.   I'm sorry, did you say moved forward a bit?
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1      A.   Yes.

2                  MS. WEST:    Ms. Cubbage, could you please bring up

3      Number Defense 401.

4      BY MS. WEST:

5      Q.   Do you see this?

6      A.   Yes, I do.

7      Q.   And what is it?

8      A.   It is a video of the left side of the Lower West Terrace of

9      the Capitol building.

10     Q.   And have you reviewed it before?

11     A.   I have.

12     Q.   And do you recognize it?

13     A.   I do.

14     Q.   And was it from January 6th?

15     A.   Yes, it is.

16     Q.   Does it fairly and accurately depict what you experienced

17     at this area of the Capitol?

18     A.   It does.

19                 MS. WEST:    At this time, Your Honor, we would ask to

20     put in Defense Exhibit Number 401.

21                 MS. AKERS:   Objection.

22          (The following was held sidebar, outside the hearing of the

23     jury:)

24                 MS. AKERS:   Your Honor, she's showing a complete

25     opposite side of the west front that he just testified he was
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 217 of 284      217

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1      at.    We can see the police line is still intact here.         So we

2      know that he was, in fact, in the other video she just showed

3      him, he was not, in fact, in this area that she's now showing

4      him.

5                 THE COURT:   Ms. West.

6                 MS. WEST:    One moment, Your Honor.

7                 Ms. Akers is quite right but the reason we're showing

8      this video is because he can see parts of this area of the west

9      lawn from where he's at.      That why we believe it's relevant.

10                THE COURT:   And he can see what?      How does his -- how

11     are his observations relevant?       I mean, that's -- you know,

12     it's kind of concerning that you objected to the government

13     being able to show areas other than where purportedly he was

14     and now you're seeking to show an area where he wasn't because

15     you say he could see that area.

16                Well, if he could see that area why were you objecting

17     to the government presenting evidence about other areas beyond

18     where he was actually located?

19                MS. WEST:    It's actually, Your Honor, on the west

20     front lawn, which is actually where he was located.          But we'll

21     move on.

22                THE COURT:   Okay.

23           (Sidebar concluded.    The following was held in open court:)

24                MS. WEST:    Ms. Cubbage, could you please bring up

25     Defense Exhibit 403.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 218 of 284   218

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1      BY MS. WEST:

2      Q.   Do you see that there, Defense Exhibit 403?

3      A.   I do.

4      Q.   And have you seen this before?

5      A.   I have.

6      Q.   And did you review it before your testimony today?

7      A.   I did.

8      Q.   And what is it?

9      A.   It's a video on the -- before the Lower West Terrace of the

10     lower Capitol.

11     Q.   And how do you recognize this area?

12     A.   Because I was in the same area.

13     Q.   Does this video that you've previously reviewed fairly and

14     accurately depict what you experienced on January the 6th?

15     A.   It does.

16               MS. WEST:    At this time, Your Honor, we would offer

17     Defense Exhibit 403.

18               MS. AKERS:    Objection.

19          (The following was held sidebar, outside the hearing of the

20     jury:)

21               THE COURT:    Yes.

22               MS. AKERS:    Just as a foundational matter, can you

23     explain what time this is?      Because I don't believe this is

24     consistent with two exhibits ago of where he would have been,

25     based on my knowledge, of the timing the witness was recorded.
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1      He hasn't established that as a foundational matter.

2                THE COURT:    Is there something on this that would

3      indicate what time it was?

4                MS. WEST:    Like many open-source videos, Your Honor,

5      there's no timestamp.

6                MS. AKERS:    Your Honor, the bar for authenticity, like

7      the government does, is we match up open-source videos with

8      authenticated videos, like body-worn camera and CCTV.           That was

9      our burden.    The defense objected numerous times to ask our

10     witnesses what time was this recorded.        We did that work to

11     authenticate the videos.

12               This isn't authenticated, and my personal knowledge of

13     when this video was filmed, based on my personal work of

14     figuring out what time it was, I don't think he can testify he

15     was in this area.

16               THE COURT:    What time are you saying this is showing?

17               MS. WEST:    We believe, Your Honor, it's around 2:40 --

18               THE COURT:    No, I'm asking the government, what time

19     is the government saying -- you are saying you have information

20     that would show this was a different time?

21               MS. AKERS:    Yeah, I believe this is around 2:20 to

22     2:25.   This is a clipped version, it appears, 15 seconds it

23     appears the defendant has clipped.       I think this is earlier

24     than what they're proffering it as.        He can testify when it is,

25     that's fine, but she hasn't asked him that question.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 220 of 284   220

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1                MS. WEST:    I'm going to ask him that question.

2                THE COURT:    Go ahead.

3           (Sidebar concluded.     The following was held in open court:)

4      BY MS. WEST:

5      Q.   If you could, Mr. Cook, give us an approximation of when

6      you believe this video was taken.

7      A.   Sometime around 2:30.

8      Q.   Okay.   Does it fairly and accurately represent what you saw

9      on January 6th?

10     A.   It does.

11     Q.   At approximately 2:30?

12     A.   It does.

13               MS. WEST:    At this time, Your Honor, we would offer

14     Defense Exhibit 403.

15               MS. AKERS:    Objection.

16               THE COURT:    Yes.

17          (The following was held sidebar, outside the hearing of the

18     jury:)

19               MS. AKERS:    I'm not meaning to be difficult here but

20     he previously testified when she was showing Exhibit 106 that

21     at 2:30 he was not in this area.       So he couldn't have seen what

22     was going on here.     He previously testified at 2:30 p.m. he

23     stayed in the area for 30 to 40 minutes.        That was on the west

24     front lawn in the grass.       And we were looking at Government

25     Exhibit 106 when he testified to that.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 221 of 284         221

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1                THE COURT:    He did say that it was 2:30.

2                MS. WEST:    He said approximately.      He doesn't know

3      what time he exactly showed up.       He said approximately.

4                THE COURT:    No -- I mean, have him clear it up that

5      he's approximating what time it was.

6                MS. WEST:    Yes, Your Honor.

7                THE COURT:    Very well.    I'll permit it.

8                MS. AKERS:    Your Honor, if he's saying he's in a

9      completely different location at approximately 2:30, he can't

10     authenticate this open-source video and say he was in this area

11     too.   It's impossible based on the evidence that --

12               THE COURT:    How far is this away from the other

13     location when he said it was around 2:30?

14               MS. AKERS:    This is off of the lawn.

15               MS. WEST:    It's in the same area, Your Honor.        It's in

16     the same general area.      I'm not sure even what question to ask

17     him.

18               MS. AKERS:    Your Honor, we'd object.      We filed a

19     motion in limine on this exact matter.        This defense is showing

20     actions of non-testifying officers suggesting what the defense

21     called police brutality to suggest a defense that's

22     inappropriate.    He's not going to be instructed on that.           And

23     that's the inappropriate defense that they're trying to assert

24     in front of the jury.

25               MS. WEST:    This is our defense.     This is the truth.
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1      This is what Mr. Cook is saying.       He is in this area.      He --

2      and the judge's ruling was that he could testify -- anybody

3      could testify about the general area of where people were.

4                Now, we've had all kinds of government witnesses

5      testify about areas that they were in the general area, even

6      when they weren't in the film.       When this started what you

7      asked Your Honor was what time was it approximately.          I asked

8      the question.    He said approximately 2:30.

9                Ms. Akers knows from looking at this video that that's

10     exactly the right time because there's police officers up on

11     the left-hand side.

12               THE COURT:    What is this video going to show?

13               MS. WEST:    It's going to show exactly what Mr. Cook

14     just testified to, that he was being shot at with munitions.

15               THE COURT:    Well --

16               MS. WEST:    Which we've already seen from the

17     government's own exhibits, the time-lapse videos.          It shows all

18     the munitions.

19               MS. AKERS:    This does not depict Mr. Cook and it is

20     inconsistent with the testimony on the record of where he was

21     at 2:30 p.m.

22               MS. WEST:    No, I disagree.

23               THE COURT:    He said approximately.      So we're not

24     talking about great distances from each other, so --

25               MS. AKERS:    We are, Your Honor.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 223 of 284   223

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1                THE COURT:    How far is this from the other location

2      where he says it was about 2:30?

3                MS. AKERS:    He was in the middle of the west front

4      lawn and with tens of thousands of people.

5                MS. WEST:    Your Honor --

6                THE COURT:    Hold on.    That's not a significant

7      distance, though, is it?

8                MS. WEST:    No.   Your Honor, I want the record to be

9      clear that the government didn't even know, didn't even have a

10     photograph or video of Mr. Cook on the west lawn until we just

11     introduced it to them.

12               MS. AKERS:    That's irrelevant to the authentication of

13     this video.

14               THE COURT:    Well, I mean, I'll admit it.       The reality,

15     though, is this is something, assuming it does show some

16     police -- alleged brutality, you know, I don't know how that

17     helps in reference to his defense because that's not at the

18     tunnel area, which is where the government says the crimes took

19     place, and there's no indication, at least from what I saw so

20     far, that would indicate that there was any police -- alleged

21     police brutality at that location that would have permitted him

22     to act in self-defense.

23               I don't think there's going to be -- unless there's

24     something more that I haven't seen, I don't see how there's

25     going to be an entitlement to a self-defense instruction.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 224 of 284    224

       Cook - DIRECT


1                MS. AKERS:    Which is why this is irrelevant and

2      misleading to the jury.

3                THE COURT:    How -- I mean, if you're seeking to

4      introduce this to show that allegedly there was police

5      brutality, how would that be relevant to the actions that he is

6      alleged to have taken at the tunnel or inside the tunnel?

7                MS. WEST:    It goes, Your Honor, to his state of mind

8      as to what he was doing, when he did it and why he went a

9      certain way, which is why I started with the map of the Capitol

10     and I'm going to go back to the map of the Capitol, so he can

11     show us exactly where he was.

12               THE COURT:    You're not answering my question.        Even if

13     what you're saying is accurate and allegedly there was some

14     police brutality at this location, how does that provide a

15     defense regarding what took place right outside of the tunnel

16     and inside of the tunnel, which is what the government is

17     saying is the gravamen of their allegations regarding criminal

18     activity?

19               MS. WEST:    It goes to his state of mind.

20               THE COURT:    How can his state of mind at that point be

21     relevant to what took place later at a different location?

22               MS. WEST:    Because in this area he's being shoved by

23     the police.    And he's going to testify why he moved to the

24     tunnel.   That's what we're trying to lay a foundation for that,

25     Your Honor.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 225 of 284   225

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1                 THE COURT:   Okay.   So he moves to the tunnel allegedly

2      because of this, but then what does he do at the tunnel?

3                 MS. WEST:    I'm going to get to that but I'm not going

4      to tell the government right now.

5                 THE COURT:   Well, you're going to have to tell me if

6      you want to admit this.      Because, again, I didn't see anything.

7      Unless you have something else of what was taking place at the

8      tunnel, inside of the tunnel, that would be a predicate for a

9      self-defense theory.

10                MS. WEST:    Your Honor, we're not going to ask for a

11     self-defense --

12                THE COURT:   Then why is this relevant?

13                MS. WEST:    Because it's relevant as to why he moved

14     forward.

15                THE COURT:   Why is that relevant?

16                MS. WEST:    It's relevant to his state of mind.

17                THE COURT:   So are you saying that he felt he had to

18     move to the location --

19                MS. WEST:    Exactly.

20                THE COURT:   -- where the tunnel was?

21                MS. WEST:    Exactly.

22                THE COURT:   Because of what was happening here?

23                MS. WEST:    Yes, exactly.   And that's what he's going

24     to testify to.

25                THE COURT:   Government?
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1                  MS. AKERS:   I still think it's irrelevant.      But

2      we'll --

3                  THE COURT:   I'll let it in.    Like I say, I don't see

4      how this -- counsel seems to agree -- is going to be a

5      predicate for an allegation of self-defense.         So it's only

6      admitted to show why he moved from this location allegedly to

7      the location of the tunnel.      Okay.

8           (Sidebar concluded.     The following was held in open court:)

9      BY MS. WEST:

10     Q.   Mr. Cook?

11     A.   Yes.

12     Q.   Let's go back to Exhibit 403.       Do you see it there?

13     A.   Yes.

14     Q.   All right.    Now, you testified earlier about where these

15     munitions were being shot.      Do you remember?

16     A.   Yes.

17     Q.   Would you please remind the jury and the Court where they

18     were being shot in relation to where you were standing?

19     A.   From the Lower West Terrace towards where people were on

20     the Capitol lawn.

21     Q.   All right.    And where did those munitions land?

22     A.   Inside of the crowd out standing on the lawn.

23     Q.   And in relation to you, did they land in front of you,

24     behind you, beside you?      Where did they land?

25     A.   Everywhere.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 227 of 284       227

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1      Q.   Okay.   Well, tell us specifically.      Tell the jury

2      specifically.

3      A.   Behind me, to the right of me, to the left of me and in

4      front of me.

5      Q.   All right.   And for what period of time did this go on?

6      A.   Thirty minutes to where I was.

7      Q.   Now, do you know the exact times?

8      A.   Not exact, but around.

9      Q.   So is it fair to say that you're approximating?

10     A.   Yes.

11     Q.   Now, if you would, please, sir, you testified that you saw

12     this before?

13     A.   Yes.

14     Q.   And that it accurately and fairly depicts what happened at

15     that time?

16     A.   Yes.

17                 MS. WEST:    At this time, Your Honor, we would offer

18     Defense Exhibit 403.

19                 THE COURT:   Very well.

20                 MS. AKERS:   For the record, Your Honor, can we state

21     what time she's suggesting this was?

22                 MS. WEST:    I'll ask the witness, Your Honor.      May I,

23     Your Honor?

24                 THE COURT:   Yes.

25     BY MS. WEST:
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1      Q.   Mr. Cook, do you have an approximate time of when this was?

2      A.   Around 2:30.

3                  MS. WEST:    Ms. Cubbage, would you mind playing it.     It

4      just takes a minute.      She's got it.    Thank you, Ms. Hill.

5                  Can we go to the beginning of the video, Ms. Cubbage,

6      please.

7           (Video played.)

8      BY MS. WEST:

9      Q.   Did you see this, Mr. Cook?

10     A.   Yes.

11     Q.   And please describe what you experienced when this

12     happened.

13     A.   Shock, smoke pouring out and a lot of suffering from the

14     crowd.

15     Q.   What do you mean?

16     A.   People screaming, people agitated.

17     Q.   Well, obviously, someone's agitated.       Somebody's flipping

18     somebody the bird there, right?

19                 MS. AKERS:   Objection.

20                 THE COURT:   Sustained.   You can't testify, Counsel.

21                 MS. WEST:    Yes, sir.   You're exactly right.    I

22     apologize.

23     BY MS. WEST:

24     Q.   When you say agitated, describe that for the jury.

25     A.   Well, there's the initial vibrational shake of the earth.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 229 of 284   229

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1      A lot of smoke inhalation, the fire from the immediate vicinity

2      and the nature of the explosive having its effect.

3      Q.   And so after this transpires, what do you do?

4      A.   I'm observing, standing there, trying to help people on

5      occasion.

6      Q.   So in your mind, what is your purpose for being in this

7      general area at this time?

8      A.   I perceive there to be an excessive amount of munitions

9      being thrown at protesters.

10     Q.   And what gives you that idea?

11     A.   That there were many munitions shot at protesters in that

12     area at that time.

13     Q.   And what gives you the idea that it was excessive?

14     A.   The volume, the effect, the fact that many of the people

15     around me had nothing to defend themselves.

16     Q.   What were they doing?

17     A.   Standing.

18     Q.   What else?   Anything?

19     A.   An occasional chant, maybe singing the national anthem.

20                 MS. WEST:   Ms. Cubbage, would you be kind enough to

21     bring up Number 405.

22     BY MS. WEST:

23     Q.   Do you see that, Mr. Cook?

24     A.   Yes.

25     Q.   Do you recognize this photograph?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 230 of 284     230

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1      A.   I do.

2      Q.   And have you seen it before?

3      A.   I have.

4      Q.   What date is it?

5      A.   January 6, 2021.

6      Q.   Can you estimate a time for me?

7      A.   Around 2:30.

8      Q.   Does it fairly and accurately depict what you experienced

9      on the west lawn on January 6th?

10     A.   It does.

11               MS. WEST:    At this time, Your Honor, we would offer

12     Defense Exhibit Number 405.

13               MS. AKERS:    No objection.

14               THE COURT:    Admitted.

15          (Defendant's Exhibit 405 received in evidence.)

16               MS. WEST:    Would you bring up Number 413, Ms. Cubbage.

17               Oh, I'm sorry, I forget.

18               THE COURT:    They can see it now.

19               MS. WEST:    Thank you, Ms. Cubbage.      413.

20     BY MS. WEST:

21     Q.   So before we talk about this, I want to ask you:         You've

22     been here and heard the testimony of the other officers and

23     everybody, right?

24     A.   I have.

25     Q.   But you remember the testimony about the L-RAD system?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 231 of 284   231

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1      A.   I do.

2      Q.   Tell the members of the jury whether or not you heard

3      anything like the L-RAD system or any warning at this time?

4      A.   I did not.

5      Q.   Did you experience anything that made you see -- how do I

6      say this?    Did you experience anything that prohibited you from

7      seeing other areas of the lawn other than where you were

8      standing, other than the fact that you're short?

9      A.   No.

10                MS. AKERS:   Objection.

11                THE COURT:   Sustained.

12     BY MS. WEST:

13     Q.   How tall are you?

14     A.   Five-six.

15     Q.   Describe for the members of the jury, when you were in the

16     crowd, how your visibility was affected, if at all?

17     A.   I had difficulty seeing above me.

18     Q.   And why is that?

19     A.   Because I'm short.

20                MS. WEST:    Do you have 413 for me, Ms. Cubbage?

21     BY MS. WEST:

22     Q.   Do you see that, sir?

23     A.   I do.

24     Q.   What is that?

25     A.   It's a picture of Pennsylvania Avenue towards the Capitol.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 232 of 284   232

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1      Q.   Do you know when this picture was taken?

2      A.   It appears approximately around a little before 2.

3      Q.   Why do you say that?

4      A.   Because that's where the crowd from the speech at the

5      Washington Monument was and was walking down that avenue.

6      Q.   Does it fairly and accurately depict what you experienced

7      on Pennsylvania Avenue that day?

8      A.   Yes.

9                  MS. WEST:    Your Honor, at this time we would offer

10     Defense Exhibit 413.

11                 MS. AKERS:   No objection.

12                 THE COURT:   Admitted.

13          (Defendant's Exhibit 413 received in evidence.)

14     BY MS. WEST:

15     Q.   Mr. Cook?

16     A.   Yes.

17     Q.   I'd like to draw your attention to Government

18     Exhibit 507.1, which is in evidence.

19          Do you recognize this?

20     A.   I do.

21     Q.   Have you seen it before?

22     A.   I have.

23     Q.   What area is it?

24     A.   It is in the upper terrace of the Capitol, before the

25     tunnel.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 233 of 284   233

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1      Q.   I hate --

2                MS. AKERS:    This is not in evidence, Your Honor.

3                MS. WEST:    May we pick up the phone, Your Honor?

4           (The following was held sidebar, outside the hearing of the

5      jury:)

6                MS. WEST:    I believe this exhibit, Your Honor, and

7      she'll correct me if I'm wrong, is the same exhibit that she

8      entered in at the very end of her case.

9                MS. AKERS:    No.   That was 507.    You just pulled up

10     507.1.

11               MS. WEST:    Yeah, this is a part of 507.

12               MS. AKERS:    It's not in evidence, though.

13               THE COURT:    If it's not in evidence, you have to

14     somehow admit it yourself, if it's not in evidence.

15               MS. WEST:    It is in evidence because she used it in

16     part of her side-by-side exhibits.

17               THE COURT:    I don't know.

18               COURTROOM DEPUTY:      Your Honor, this is the courtroom

19     deputy.   I do have that as admitted.

20               THE COURT:    501.1?

21               COURTROOM DEPUTY:      Yes.

22               MS. AKERS:    We're on 507.1.

23               COURTROOM DEPUTY:      That's correct.    I have you moving

24     it into evidence.

25               MS. AKERS:    I stand corrected.     I apologize.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 234 of 284   234

       Cook - DIRECT


1                  THE COURT:   Okay.

2           (Sidebar concluded.     The following was held in open court:)

3           (Video played.)

4      BY MS. WEST:

5      Q.   Do you remember seeing this, sir?

6      A.   Yes.   I believe this was earlier today.

7      Q.   All right.   Now, you testified earlier that you were on the

8      west part of the lawn for approximately 30 minutes and then

9      made your way up; is that right?

10     A.   Yes.

11     Q.   Tell the members of the jury exactly where you went.

12     A.   Walked a little towards the steps, a little bit past the

13     tower.    I think that was in the area of the main basin in front

14     of the main vertical of the upper terrace for a bit.          And then

15     gradually made my way up the side railing of the left side of

16     the west side of the Capitol.

17     Q.   And what are you doing or where are you at the very

18     beginning of this scene here?

19     A.   I believe I am in the lower area of the steps for the

20     tunnel.

21     Q.   Now, describe that for me -- just one moment.

22                 MS. WEST:    In the interest of time, Your Honor, we're

23     going to press on.

24                 THE COURT:   Very well.

25                 MS. WEST:    Now, Ms. Cubbage, could you please move it
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 235 of 284     235

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1      to timestamp 10:18.

2           (Video played.)

3                  MS. WEST:    If you can go back a second.

4           (Video played.)

5                  MS. AKERS:   Your Honor, to be clear for the record,

6      it's playing a different time than she directed.

7                  MS. WEST:    I'm going to make it --

8                  THE COURT:   We need to make sure it's only being

9      played what's being requested.

10                 MS. WEST:    Right.   Yes, Your Honor.   It's -- instead

11     of 10:18 it's 10:19, for the record.        It's very difficult for

12     her to go backwards on the video.       We don't have the advanced

13     technology that they do.

14                 THE COURT:   Despite that difficulty, they can only be

15     shown what's being asked to be shown.

16                 MS. WEST:    Yes.   So I asked for 10:18.    We're at

17     10:19.

18     BY MS. WEST:

19     Q.   Mr. Cook, do you see yourself?

20     A.   I do.

21     Q.   Could you please tell us the timestamp?

22     A.   10:19.

23     Q.   For the record, this is Government Exhibit 507.1?

24     A.   Yes.

25     Q.   I see you there.     Tell the members of the jury where you're
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 236 of 284   236

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1      standing.

2      A.   More or less at the base of the steps below the tunnel.

3      Q.   And tell the members of the jury approximately how far you

4      are away from the front of the tunnel.

5      A.   I'd say I'm approximately ten feet before the front of the

6      tunnel.

7      Q.   All right.   And what are you doing here?

8      A.   Standing, looking up.

9      Q.   Okay.

10               MS. WEST:    Ms. Cubbage, would you --

11     BY MS. WEST:

12     Q.   Let me ask you one other question:       Describe for the

13     members of the jury what the topography is of this area going

14     into the tunnel.

15     A.   It is very steep.

16     Q.   Now, what do you mean by that?

17     A.   It is a steep incline before making your way to the tunnel.

18     Q.   And what do you hear at this time?

19     A.   A bunch of loud noise.

20     Q.   What kind of loud noise?

21     A.   Different cheering.

22     Q.   And what can you see at this time?

23     A.   People in front of me.

24     Q.   What do you see on those people?

25     A.   Hats, shirts, jackets.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 237 of 284   237

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1      Q.   Can you see beyond them?

2      A.   No.

3                  MS. WEST:   Ms. Cubbage, would you be kind enough to go

4      to 13:25 timestamp on the bottom.       13:23, I would be happy to

5      do that.

6      BY MS. WEST:

7      Q.   Do you see yourself here, Mr. Cook?

8      A.   I do.

9      Q.   The time is 13:23 at the bottom; is that right?

10     A.   Yes.

11     Q.   What is it exactly that you're doing right here?

12     A.   Looking upwards.

13     Q.   Looking upwards towards what?

14     A.   Towards the tunnel.

15     Q.   And can you see inside the tunnel?

16     A.   No.

17     Q.   Why is that?

18     A.   Because there are many people in front of me.

19     Q.   All right.    And what do you hear at this time?

20     A.   More noise.

21     Q.   What kind of noise?

22     A.   Cheering.

23     Q.   Anything else?

24     A.   No.

25     Q.   What can you see?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 238 of 284   238

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1      A.   A person in front of me.

2      Q.   And what else?

3      A.   Others in front of them.

4      Q.   And describe those people that are standing in front of you

5      compared to you, as far as their -- who they are?

6      A.   They're dressed -- one's dressed in camouflage; another is

7      dressed in a hoodie.

8      Q.   How are you dressed, sir?

9      A.   I'm dressed in business attire.

10     Q.   Is it similar -- what do you have on today?

11     A.   It's more or less the same.

12     Q.   Describe for the record what that is.

13     A.   A light pair of khakis and a light shirt.

14     Q.   What kind of shoes were you wearing?

15     A.   Dress shoes.

16     Q.   Were you carrying anything in your hands?

17     A.   I was.

18     Q.   What were you carrying?

19     A.   A vanilla protein chai drink, Bolthouse Farms.

20     Q.   And you carried that with you on the Capitol grounds?

21     A.   Yes, I did.

22               MS. WEST:    Ms. Cubbage, if you'd be kind enough to go

23     to 13:49.

24     BY MS. WEST:

25     Q.   We're stopped at 13:44.     Do you see that, sir?
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 239 of 284   239

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1      A.   Yes.

2                  MS. WEST:   Could you play that few seconds,

3      Ms. Cubbage.

4           (Video played.)

5      BY MS. WEST:

6      Q.   We've stopped at 13:47.       Do you see yourself?

7      A.   I do.

8                  MS. WEST:   Would you play a couple more seconds,

9      Ms. Cubbage.    You can go frame-by-frame.

10          (Video played.)

11     BY MS. WEST:

12     Q.   Now, as Ms. Cubbage moves this frame-by-frame, do you see

13     yourself, Mr. Cook?

14     A.   I do.

15     Q.   What are you doing?

16     A.   I'm trying to look upwards.

17     Q.   What do you see?

18     A.   People coming out.

19                 MS. WEST:   Can we move now to 14:21, Ms. Cubbage.

20                 Okay.   That's fine.

21     BY MS. WEST:

22     Q.   We're stopped at 14:20, Mr. Cook.       Do you see anything?

23     A.   I do.

24     Q.   What do you see?    Do you see yourself?

25     A.   I do.
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       Cook - DIRECT


1      Q.   What do you see?

2      A.   I see myself holding the Bolthouse Farms drink.

3      Q.   What are you doing at this time?

4      A.   Standing.

5      Q.   All right.

6                MS. WEST:    Can we move to 14:26, Ms. Cubbage.

7           (Video played.)

8      BY MS. WEST:

9      Q.   All right.   What are you thinking at this time, Mr. Cook?

10     A.   Not sure what's going on.

11     Q.   All right.   We're going the play a couple more seconds.

12          (Video played.)

13     Q.   Do you see yourself there?

14     A.   I do.

15               MS. WEST:    If we could go back and play it

16     five seconds.     Is that possible?

17          Here we are at 14:26.     Go ahead, Ms. Cubbage, let it play

18     until I tell you to stop.

19          (Video played.)

20               MS. WEST:    Okay.   Stop.

21     BY MS. WEST:

22     Q.   Did you see yourself right there in that video?

23     A.   I did.

24     Q.   And did you see yourself say something?

25     A.   I did.
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1      Q.   And what did you say?

2      A.   I'm getting out of here.

3      Q.   And why is it that you said that?

4      A.   Because I was feeling the effects of tear gas and wanted to

5      exit.

6      Q.   And this is at 14:33?

7      A.   Yes.

8      Q.   On the bottom there.        Okay.

9                  MS. WEST:    Ms. Cubbage, if you'd be kind enough to

10     move to 16:19.    16:18, okay.

11                 At this time, Your Honor, we're going to move

12     frame-by-frame, with the Court's permission.

13                 THE COURT:   This is already in evidence?

14                 MS. WEST:    Yes, sir.

15                 THE COURT:   Fine.

16                 MS. WEST:    Okay, Ms. Cubbage, let's go frame-by-frame

17     until we see Mr. Cook.

18          (Video played.)

19                 MS. WEST:    Stop.   We don't see --

20     BY MS. WEST:

21     Q.   Mr. Cook, do you see yourself here?

22     A.   No.

23     Q.   Do you see anybody you recognize?

24     A.   Yes.

25     Q.   Who do you see?
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       Cook - DIRECT


1      A.   The individual with the scarf.

2      Q.   Why don't you circle him for us.

3      A.   (Witness complies.)

4      Q.   Do you know this individual?

5      A.   His name is Antonio.

6      Q.   Do you know him?

7      A.   No.

8      Q.   Had you seen him before January 6th?

9      A.   No.

10                MS. WEST:   Go ahead, Ms. Cubbage, frame-by-frame.

11          (Video played.)

12     BY MS. WEST:

13     Q.   If you would, please, Mr. Cook, clear your screen.

14     A.   (Witness complies.)

15          (Video played.)

16     Q.   Now, do you see yourself there in the video, Mr. Cook?

17     A.   Not yet.

18     Q.   Okay.   We're at 16:21.

19          (Video played.)

20     Q.   Where are you now, 16:22, Mr. Cook?

21     A.   Just behind the man who's in front of the camera.

22          (Video played.)

23     Q.   Now do you see yourself, Mr. Cook?

24                MS. WEST:   Stop, Ms. Cubbage.

25                THE WITNESS:   I do.
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1      BY MS. WEST:

2      Q.   At frame 16:24; is that right?

3      A.   Yes.

4      Q.   Describe what's going on right here.       What do you see?

5      A.   People coming out and people looking towards those people.

6      Q.   And what did you say just a few second before that?

7      A.   I'm getting out of here.

8      Q.   Okay.

9                  MS. WEST:   Go ahead, Ms. Cubbage.

10          (Video played.)

11     BY MS. WEST:

12     Q.   It's 16:25.    Is anybody yelling at you, Mr. Cook?

13     A.   They are.

14     Q.   I'm sorry?

15     A.   Yes, they are.

16     Q.   Who's yelling at you?

17     A.   (Indicates.)

18     Q.   Is that the same individual you pointed out before?

19     A.   Yes.

20     Q.   Please clear your screen.

21                 MS. WEST:   16:26.

22          (Video played.)

23     BY MS. WEST:

24     Q.   How are you feeling at this point, Mr. Cook?

25     A.   That I'm getting pressured and pushed.
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1                 MS. WEST:    Stop the frame, if you would, Ms. Cubbage,

2      at 16:26.

3      BY MS. WEST:

4      Q.   What do you see here, Mr. Cook?       Do you see yourself?

5      A.   Yes, I do.

6      Q.   What's happening?

7      A.   I'm being gripped from behind.

8      Q.   What do you mean?

9      A.   The hand of Antonio is pushing and gripping me from behind.

10     Q.   How did you feel when that happened?

11     A.   There was fear, scared, intimidated.

12     Q.   Describe the difference in size between yourself and

13     Antonio.

14     A.   I think he's approximately 6-foot, 250.        I'm five-six,

15     around 200.

16     Q.   Why does he put his hands on your neck?

17                MS. AKERS:   Objection.

18                THE COURT:   Sustained.

19                THE WITNESS:   To push --

20                MS. WEST:    It's sustained.    You can't answer.

21                THE COURT:   He's not qualified to say why somebody

22     else did something.

23     BY MS. WEST:

24     Q.   So he puts his hand on your neck.       Describe for the members

25     of the jury how he does it.
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 245 of 284    245

       Cook - DIRECT


1      A.   In a grip.

2      Q.   What kind of grip?

3      A.   A death grip.

4      Q.   Did you feel it?

5      A.   Yes.

6      Q.   How did you feel it?

7      A.   From my neck.

8      Q.   How did it make you feel?

9      A.   Fearful, intimidated.

10     Q.   Did you feel any pain?

11     A.   There was a lot of explosives and things going around.          So

12     presumably, yes, but it was part of the greater suffering.

13                 MS. WEST:   Go ahead, Ms. Cubbage, frame-by-frame, if

14     you would, please.

15          (Video played.)

16                 MS. WEST:   Stop.

17     BY MS. WEST:

18     Q.   We're still at 16:27 on the video.       Do you see that?

19     A.   Yes.

20     Q.   Could you approximate how many seconds or how long he keeps

21     his hand on your neck?

22     A.   Approximately five seconds.

23                 MS. WEST:   Go ahead, Ms. Cubbage.

24          (Video played.)

25     BY MS. WEST:
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1      Q.   Do you see yourself on the screen anymore?

2      A.   No.

3      Q.   What's happened to you, Mr. Cook?

4      A.   I was pushed into the tunnel.

5      Q.   By whom?

6      A.   Antonio.   Do you want me to circle him?

7      Q.   Describe for the jury how he did that.

8      A.   He grabbed me and he gripped from behind and pushed me into

9      the tunnel.

10     Q.   How far did he push you?

11     A.   Several feet.

12     Q.   And what did you do as a result of being pushed into the

13     tunnel?

14     A.   I scurried upwards.

15     Q.   How long did he yell at you?

16     A.   Several seconds.

17     Q.   What happened after you went that far to the tunnel?

18     A.   I was trapped, stuck in the crowd.

19     Q.   What can you see once you got in the tunnel?

20     A.   Nothing really, just the walls and the group of the people.

21     Q.   All right.

22                MS. WEST:   Ms. Cubbage, would you be kind enough to

23     move to second 17:00.     Okay.    Thank you.

24     BY MS. WEST:

25     Q.   Do you see this here, Mr. Cook?
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1      A.   I do.

2      Q.   Do you see yourself?

3      A.   I do.

4      Q.   Would you take the green pen and mark where you were at?

5      A.   (Witness complies.)

6      Q.   All right.   Is this where you were pushed into the tunnel?

7      A.   It is.

8      Q.   Would you describe what you can see in front of you at this

9      point?

10     A.   People.

11     Q.   Well, can you give us more description than that?

12     A.   The wall and some people that are taller than me.

13     Q.   All right.   And describe the noise level.

14     A.   Loud.

15     Q.   And how are people behaving?

16     A.   There's some people that are behaving poorly, others that

17     are stuck.     Just an overall variety of what's going on.

18     Q.   And do you know how long you were in the tunnel,

19     approximately?

20     A.   I'd say approximately 10 to 20 seconds.

21     Q.   So what did you do to get out?

22     A.   Eventually was able to turn a little bit out of where I

23     was.

24     Q.   How did you do that?

25     A.   Using some sort of verbal guidance with others and also
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 248 of 284   248

       Cook - DIRECT


1      trying to use my legs to exit.

2      Q.   Okay.   And did you do that?

3      A.   Yes.

4                  MS. WEST:   Ms. Cubbage, would you be kind enough to

5      turn us to 17:51.

6                  I'm sorry, Your Honor, may I confer with Ms. Cubbage?

7           (Off-the-record discussion.)

8      BY MS. WEST:

9      Q.   Would you please clear the screen.       Thank you.

10                 MS. WEST:   Ms. Cubbage, if you would be kind enough

11     here at 17:00 to play until 17:51.

12          (Video played.)

13                 MS. WEST:   Could you stop this for a minute,

14     Ms. Cubbage.

15     BY MS. WEST:

16     Q.   Now, this is on this video, what you're seeing here, right?

17     A.   Yes.

18     Q.   Can you see any of this?

19     A.   Can I seen any of the --

20     Q.   What we're seeing in the video at this time?

21     A.   No.

22                 MS. WEST:   Go ahead, Ms. Cubbage.

23          (Video played.)

24                 MS. WEST:   Stop.   17:15 -- 51, we went right past it.

25          (Video played.)
     Case 1:23-cr-00138-RBW Document 233-6 Filed 08/23/24 Page 249 of 284       249

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1                  MS. WEST:   Okay.

2      BY MS. WEST:

3      Q.   Do you see yourself?

4      A.   I do.

5      Q.   We've stopped at 17:56; is that right?

6      A.   Yes.

7      Q.   Describe what you're feeling at this time.

8      A.   I'm trying to exit in the back, telling people to back up.

9      Q.   Why are you doing that?

10     A.   Because there was overly abundant amount of pressure and it

11     was unsafe.

12     Q.   Are you successful?

13     A.   I am.

14                 MS. WEST:   Keep playing, Ms. Cubbage, for me, please.

15          (Video played.)

16                 MS. WEST:   Stop.   We'll stop at 18:17, Ms. Cubbage, if

17     you'd be kind enough.

18          (Video played.)

19                 MS. WEST:   Stop.

20     BY MS. WEST:

21     Q.   All right.   You've watched these last few seconds.         Would

22     you describe -- you're out of the tunnel now; is that right?

23     A.   Yes.

24     Q.   Would you describe for the members of the jury how the

25     people are situated right outside the tunnel.
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1      A.   They're directly on the steps outside the tunnel.

2      Q.   So how do you get out?

3      A.   I tell them small steps, careful, as we gradually try to

4      avoid any kind of tumbling.

5      Q.   And why did you say small steps?

6      A.   Because I knew that the steps were steep and small and was

7      concerned for their well-being.

8                MS. WEST:    Can we go back, Ms. Cubbage, to 17:56 --

9                THE COURT:    We're going to have to recess for the day.

10     I'll need to have counsel here at 9:00 so we can have some

11     discussions about the instructions.        I hope they won't take

12     long.   So I'd ask the jury to be here by 9:30.        Hopefully,

13     we'll be finished with those discussions by then, so we can get

14     started on time.

15               Remember all the instructions I've previously given.

16     Please comply with them and we'll see you tomorrow at 9:30.

17          (Jury exits the courtroom at 4:55 PM)

18               THE COURT:    How much longer is it anticipated Mr. Cook

19     is going to be on direct?

20               MS. WEST:    Perhaps 30 minutes.

21               THE COURT:    And the government, how long do you think

22     you cross -- I'm not trying to hold you to it but how long do

23     you think your cross is going to be?

24               MS. AKERS:    I'd estimate an hour.

25               THE COURT:    Will there be other defense witnesses?
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1                MS. WEST:    We let them go, didn't we, Ms. Cubbage?

2      Yeah, we let them go.

3                THE COURT:    That will be it then.

4                MS. WEST:    There may be one witness based on -- no,

5      I'm sorry, I'm going to recall Special Agent Anderson to get in

6      a few exhibits.

7                THE COURT:    How long do you think his testimony will

8      be?

9                MS. WEST:    Fifteen, 20 minutes.

10               THE COURT:    Would the government then anticipate any

11     rebuttal?

12               MS. AKERS:    Yes, Your Honor.

13               THE COURT:    At least at this point, how long do you

14     think that rebuttal will be?       I'm just trying to find out

15     because I'm trying to make sure I'm going to be able to leave

16     on Monday morning for California.       If I'm not, then I obviously

17     have to let the military know, so they can cancel my travel

18     plans.

19               MS. AKERS:    I think, Your Honor -- I mean, we'll do it

20     as efficiently as possible.

21               THE COURT:    I'm not trying to rush you.       If I have to

22     cancel, I'll cancel.

23               MS. AKERS:    We'll try to be efficient either way for

24     the jury's sake.     I think an hour would be the outer bounds.

25     We'll try our best to make it less than that.
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1                THE COURT:    If all that happens, then I hope we will

2      be able to get closing arguments in at least by the end of the

3      day tomorrow.    I doubt we'd get the instructions in, maybe, but

4      probably the instructions Friday morning.         If that happens,

5      then I don't think there would be a problem with me being able

6      to leave on Monday morning.

7                MS. AKERS:    We'll be prepared to close tomorrow.

8                THE COURT:    Okay.   Thank you.

9          (Proceedings concluded at 4:58 PM)

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                          C E R T I F I C A T E



            I, Stacy Johns, certify that the foregoing is an

            accurate transcription of the proceedings in the

            above-entitled matter.




             /s/ Stacy Johns                    Date: July 31, 2024

             Stacy Johns, RPR
             Official Court Reporter
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